Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 1 of 172




                       EXHIBIT 1
                                                                                                                                           E-FILED IN OFFICE - MX
                          Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 2 of 172                                                      TIANA P. GARNER
                                                                                                                                       CLERK OF SUPERIOR COURT
                                                                                                                                      GWINNETT COUNTY, GEORGIA
                                   General Civil and Domestic Relations Case Filing Information Form                                             21-A-02388-3
                                                                                                                                           3/30/2021 10:19 AM
                                        ☐ Superior or ☐ State Court of ______________________________
                                          ■                            Gwinnett                       County

              For Clerk Use Only
                                                                                                          21-A-02388-3
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Fishel-Brown, Benjamin                                                         __________________________________________________
                                                                                     State Farm Fire and Casualty Company
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________
      Fishel-Brown, Stephanie                                                        __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix

      Plaintiff’s Attorney ________________________________________
                           Michael D. Turner, Esq.                                       Bar Number __________________
                                                                                                     216414                    Self-Represented ☐

                                                               Check One Case Type in One Box

              General Civil Cases                                                             Domestic Relations Cases
              ☐           Automobile Tort                                                     ☐            Adoption
              ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
              ☐
              ■
                          Contract                                                                         Maintenance
              ☐           Garnishment                                                         ☐            Family Violence Petition
              ☐           General Tort                                                        ☐            Paternity/Legitimation
              ☐           Habeas Corpus                                                       ☐            Support – IV-D
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
              ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
              ☐           Medical Malpractice Tort
              ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
              ☐           Real Property                                                       ☐   Contempt
              ☐           Restraining Petition                                                  ☐ Non-payment of child support,
              ☐           Other General Civil                                                      medical support, or alimony
                                                                                              ☐   Modification
                                                                                              ☐   Other/Administrative

      ☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐
      ■
              I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

      ☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                        Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
              _________________________________________________________________________________________________________________________
              _________________________________________________________________________________________________________________________
                                                                                                                                                 Version 1.1.18



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  Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 3 of 172




This page inserted to separate pleadings
                                                                                                         E-FILED IN OFFICE - MX
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 4 of 172                          TIANA P. GARNER
                                                                                                     CLERK OF SUPERIOR COURT
                                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                                              21-A-02388-3
                                                                                                        3/30/2021 10:19 AM
                              IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                           STATE OF GEORGIA

             BENJAMIN FISHEL-BROWN and                            )
             STEPHANIE FISHEL-BROWN,                              )
                                                                  )
                    Plaintiffs,                                   )
                                                                  )      CIVIL ACTION FILE NO.:
             v.                                                   )      _______________________
                                                                  )
                                                                               21-A-02388-3
             STATE FARM FIRE AND CASUALTY                         )
             COMPANY,                                             )
             a foreign corporation,                               )
                                                                  )
                    Defendant.                                    )

                                                      COMPLAINT

                    COMES NOW Plaintiffs Benjamin Fishel-Brown and Stephanie Fishel-Brown, by and

             through counsel, and files this Complaint for breach of first party property insurance contract and

             bad faith denial of insurance coverage against Defendant, STATE FARM FIRE AND

             CASUALTY COMPANY, and in support hereof, states as follows:

                                                         PARTIES

                                                             1.

                    Plaintiffs are adult resident citizens of Cherokee County, Georgia.

                                                             2.

                    Upon information and belief, Defendant is a foreign insurance company, registered to

             transact business in, and in fact transacts business in, the State of Georgia. Defendant is in the

             business of insuring risks and properties located throughout the United States, including

             Georgia. Defendant maintains an office at 40 Technology Parkway South, Suite 300, Norcross,

             GA 30092 where it may be served with process through its registered agent, Corporation Service

             Company, as identified by the state of Georgia Secretary of State registry.




Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 5 of 172




                                             JURISDICTION AND VENUE

                                                              3.

                     This Court has subject matter jurisdiction over this action for breach of contract and bad

             faith denial of insurance claim, and the Court has personal jurisdiction over Defendant because

             Defendant is transacting business and insuring properties in the State of Georgia, and has appointed

             a registered agent for service of process in Georgia pursuant to O.C.G.A. § 33-4-1 and O.C.G.A.

             § 33-4-4.

                                                              4.

                    Venue is proper in this Court because Defendant has a registered agent doing business in

             Gwinnett County pursuant O.C.G.A. § 33-4-1, O.C.G.A. § 33-4-4.

                                                              5.

                    In addition, by virtue of the express terms of the insurance policy at issue, Defendant has

             consented to jurisdiction and venue of this Court.

                                                      THE POLICY

                                                              6.

                     In consideration of the premiums paid to Defendant by the Plaintiffs, Defendant issued its

             Policy No. 11EPY5264 (the “Policy”). A true and accurate copy of the Policy is attached hereto

             as Exhibit “A.” The Policy insures against property damage to Plaintiffs’ home located at 602

             Bentley Falls Ct, Canton, GA 30114 (the “Insured Property” or the “home”), and the Policy

             likewise insures against loss of wind and hail damage. Specifically, the Policy provides coverage

             for “Dwelling including attached structures” and “Personal property owned or used by an insured

             person” with a deductible of $3,449.00 per occurrence. See Exhibit “A”.




                                                              2


Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 6 of 172




                                                             7.

                    The Policy covers property repairs on a full replacement cost basis, “the whole amount of

             loss for property covered”. See Exhibit “A”. The Policy is an all-perils policy providing coverage

             for all “sudden and accidental direct physical loss to property”. See Exhibit “A.”

                                                             8.

                     The Policy covers various types of expenses, including mitigating expenses for the

             reasonable and necessary costs incurred for temporary repairs to protect covered property from

             further imminent covered loss. See Exhibit “A.”

                                 STORM DAMAGE TO THE INSURED PROPERTY

                                                             9.

                    On, or about October 29, 2020, a severe storm caused direct physical loss of, or damage

             to, the Plaintiffs’ home. The Policy was in effect at the time of the above-referenced storm.

                                                            10.

                    Plaintiffs promptly and timely notified Defendant of the storm damage to their home as a

             result of the wind and hail storm, and made a claim pursuant to the Policy. As a result, Defendant

             assigned Brandon Waller (“Waller”) to investigate Plaintiffs’ claim for loss of damage. Waller

             was authorized as Defendant’s representative and agent for purposes of the storm-related claim.

                                                            11.

                     At all times, Plaintiffs made themselves or their home available to, and fully cooperated

             with the Defendant and its representative and agent to inspect and investigate the damages caused

             by the storm.




                                                             3


Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 7 of 172




                                                             12.

                     Defendant, through its authorized representative and agent, Waller, performed a site

             inspection of Plaintiffs’ home.

                                                             13.

                     Defendant’s authorized representative and agent, Waller, incurred the duty of acting with

             due diligence in achieving a proper disposition of the Plaintiffs’ claim when he undertook the

             handling of the disposition of the claim.

                                                             14.

                    Defendant, through its authorized representative and agent, Williams, grossly

             underestimated the scope of damages sustained to the Plaintiffs’ property as a result of the wind

             and hail event. Defendant failed to properly investigate the damages and estimated Plaintiffs’ total

             property damage to be $24,740.66. Plaintiffs’ deductible is $3,449.00 per occurrence; thus, after

             the deductible and depreciation Plaintiffs were due $19,412.62 for the damage to their property.

             A true and accurate copy of the Defendant’s estimate is attached hereto as Exhibit “B.”

                                                             15.

                    As a result of Defendant’s gross underestimation, Plaintiffs requested multiple times that

             Defendant reconsider its position regarding Defendant’s estimate. Defendant refused to comply

             with the Plaintiffs’ requests and continued to frivolously and baselessly deny any additional

             payment on Plaintiffs’ claim. Furthermore, the Defendant continued to ignore the opinions of the

             Plaintiffs’ experts as to the amount of damage and the amount it will cost the Plaintiffs in order to

             be placed in the same position they were in prior to the storm.




                                                              4


Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 8 of 172




                                                             16.

                     Plaintiffs made repeated requests for payment of the claim, including written demand sent

             to Defendant on January 4, 2021. A true and accurate copy of the written demand is attached

             hereto as Exhibit “C.” Despite this demand for $71,445.79 less all previous payments, Defendant

             has continued to frivolously deny Plaintiffs’ claim without just cause when the obligation to settle

             the claim has become reasonably clear, under one or more portions of the insurance policy

             coverage.

                                                             17.

                     The Plaintiffs’ January 4, 2021, correspondence (Exhibit “C”) to Defendant was a formal

             60-Day demand, pursuant to O.C.G.A. §33-4-6 guidelines. After putting Defendant on notice of

             a potential lawsuit, through the formal 60-Day demand, the Defendant continued to frivolously

             and baselessly deny Plaintiffs’ claim without just cause.

                                                             18.

                      Defendant did not act fairly and honestly toward the Plaintiffs with due regard to the

             Plaintiffs’ claim when the Defendant failed to compensate the Plaintiffs for their damages in direct

             breach of the terms and conditions of the Policy when under all of the circumstances, it could and

             should have done so, had it acted fairly and honestly toward the Plaintiffs, and with due regard for

             their interests.

                                                             19.

                      Plaintiffs have fulfilled all conditions precedent and contractual obligations under the

             Policy prior to this lawsuit, or the same were waived.




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Copy from re:SearchGA
                      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 9 of 172




                                                               20.

                      There exists a genuine, justifiable controversy between the Plaintiffs and Defendant as to

             whether Defendant is responsible for coverage for the replacement cost of the actual physical

             damage to Plaintiffs’ home caused by the severe storm that occurred on October 29,

             2020. Plaintiffs have exhausted every reasonable means possible to resolve this dispute with the

             Defendant. With no other option, Plaintiffs were constrained to hire legal counsel, incurring

             additional expenses, and file this lawsuit.

                                                               21.

                      Plaintiffs have suffered physical damage to their home in an amount to be determined at

             trial.

                                           COUNT I: BREACH OF CONTRACT

                                                               22.

                      Plaintiffs adopt, re-allege, and incorporate their allegations set forth in Paragraphs 1-21 of

             this Complaint as if fully set forth herein.

                                                               23.

                      Plaintiffs have performed all conditions to the Defendant’s obligation to perform under the

             Policy, including without limitation, the timely payment of premiums, timely notice of the claim,

             mitigated the property, and or the Defendant has waived any and all other conditions.

                                                               24.

                      Defendant is required to compensate the Plaintiffs for all direct physical losses under the

             terms of the Policy.




                                                                6


Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 10 of 172




                                                              25.

                     Despite Plaintiffs’ timely written demand that Defendant pay the covered losses, Defendant

             has frivolously and baselessly failed, and refused to pay Plaintiffs’ claim under the terms of the

             Policy, causing further delay in restoring Plaintiffs’ property to its pre-loss condition.

                                                              26.

                     Defendant has failed to act in good faith and fair dealing under the terms of the Policy by

             refusing to properly investigate and pay Plaintiffs’ claim according to the terms of the Policy.

                                                              27.

                      Defendant has used the tactic of denying compensation to the Plaintiffs for their covered

             losses that were sustained due to the wind and hail storm. Further, Defendant has used the tactic

             of delaying payment to the Plaintiffs in an effort to misrepresent the language of the Policy.

                                                              28.

                     As a result of the Defendant’s tactic of denying and delaying Plaintiffs’ claim, the Plaintiffs

             have sustained covered losses from direct physical damage to the insured property in an amount

             to be determined at trial. In addition, Plaintiffs have further covered losses from mitigation and

             temporary repairs in an amount to be determined at trial.

                                                              29.

                     As a direct result of Defendant’s breaches of its respective insurance contract, Plaintiffs

             have been damaged and continues to suffer significant damages.

                                                              30.

                     All of the foregoing conduct constitutes a breach of contract that has resulted in damages

             to the Plaintiffs.




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Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 11 of 172




                                                              31.

                     WHEREFORE, Plaintiffs pray for this Court to enter an award, in Plaintiffs’ favor, of

             compensatory damages, attorneys’ fees, pre- and post-judgment interest, and such other and further

             relief as the Court may deem just and proper.

                                                  COUNT II: BAD FAITH

                                                              32.

                     Plaintiffs adopt, reallege, and incorporate their allegations set forth in Paragraphs 1-31 of

             this Complaint as if fully set forth herein.

                                                              33.

                     Defendant has acted frivolously and without a reasonable basis or justification in

             contravention of its duty of good faith and faith dealing to achieve a proper disposition of the

             Plaintiffs’ claim.

                                                              34.

                     Defendant has not attempted in good faith to settle the Plaintiffs’ claim when, under all

             the circumstances it could and should have done so had it acted fairly and honestly toward the

             Plaintiffs and with due regard for their interests, namely, but not limited to:

                 (1) Knowingly misrepresenting to claimants and insureds relevant facts or policy provisions

                     relating to coverages at issue. See O.C.G.A. § 33-6-34(1);

                 (2) Failing to acknowledge with reasonable promptness pertinent communications with

                     respect to claims arising under its policies. See O.C.G.A. § 33-6-34(2);

                 (3) Failing to adopt and implement procedures for the prompt investigation and settlement of

                     claims arising under its policies. See O.C.G.A. § 33-6-34(3);




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Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 12 of 172




                (4) Not attempting in good faith to effectuate prompt, fair, and equitable settlement of claims

                    submitted in which liability has become reasonable clear. See O.C.G.A. § 33-6-34(4);

                (5) Compelling insureds or beneficiaries to institute suits to recover amounts due under its

                    policies by offering substantially less than the amounts ultimately recovered in suits

                    brought by them. See O.C.G.A. § 33-6-34(5);

                (6) Refusing to pay claims without conducting a reasonable investigation. See O.C.G.A. § 33-

                    6-34(6);

                (7) When requested by the insured in writing, failing to affirm or deny coverage of claims

                    within a reasonable time after having completed its investigation related to such claim or

                    claims. See O.C.G.A. § 33-6-34(7); and

                (8) When requested by the insured in writing, failing in the case of claim denial or offers of

                    compromise settlement to provide promptly a reasonable and accurate explanation of the

                    basis for such action. In the case of claims denials, such denials shall be in writing. See

                    O.C.G.A. § 33-6-34(10).

                                                            35.

                    The above and foregoing actions of Defendant give rise to a cause of action for bad faith

             as the Defendant has frivolously and without a reasonable basis refused to pay Plaintiffs’ covered

             loss within sixty (60) days after Plaintiffs’ timely written demand (Exhibit “C”) for payment

             according to O.C.G.A § 33-4-6.

                                                            36.

                    Defendant has frivolously and without a reasonable basis used the tactic of denying

             compensation to the Plaintiffs for their covered loss that was sustained due to the wind and hail




                                                             9


Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 13 of 172




             storm. Further, Defendant has frivolously and without a reasonable basis used the tactic of

             delaying payment to pay the Plaintiffs in an effort to misrepresent the language of the Policy.

                                                              37.

                    Defendant’s refusal to pay Plaintiffs’ covered losses was done frivolously, without a

             reasonable basis, and otherwise, in bad faith.

                                                              38.

                    Defendant’s breach of the Policy it sold to the Plaintiffs is in bad faith, and, pursuant to

             O.C.G.A. § 33-4-6, Defendant is obligated in bad faith, and, as such, Plaintiffs are entitled to all

             damages, whether foreseeable or not, that are a direct result of Defendant’s intentional failure to

             perform, including a penalty of an additional fifty percent (50%) of the value of the claim,

             attorneys’ fees, and Plaintiffs’ consultant and expert fees.

                                                              39.

                    Pursuant to O.C.G.A. § 33-4-6, Defendant is obligated to pay any amounts owed to the

             Plaintiffs within sixty (60) days of receipt of formal demand and have failed to do so. As a result

             of that frivolous failure – which was arbitrary, capricious, and without a reasonable basis –

             Defendant is liable for all amounts due under its respective policy plus fifty percent (50%),

             pursuant to O.C.G.A. § 33-4-6.

                                                              40.

                    Pursuant to O.C.G.A. § 33-6-34, Defendant owed Plaintiffs a duty of good faith and fair

             dealing and had an affirmative duty to adjust Plaintiffs’ claim fairly and promptly and to make a

             reasonable effort to settle claims with the insured when, under all the circumstances it could and

             should have done so had it acted fairly and honestly. Because Defendant has breached these duties,




                                                              10


Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 14 of 172




             it is liable to Plaintiffs for all damages as a result of the breach, including but not limited to those

             specified in O.C.G.A. § 33-4-6.

                                                                41.

                     Pursuant to O.C.G.A. § 33-6-34, Defendant breached its duty of good faith and fair dealing

             and its affirmative duty to adjust claims fairly and promptly when it failed to pay the Plaintiffs

             when it refused to conduct a reasonable investigation of Plaintiffs’ claim. Moreover, such failure

             was arbitrary, capricious, and without probable cause.

                                                                42.

                     As a result, pursuant to O.C.G.A. § 33-4-6, Defendant is liable for penalties in the amount

             of “not more than fifty percent (50%) of the liability of the insurer for the loss, or $5,000.00,

             whichever is greater, and all reasonable attorneys’ fees for the prosecution of the action against

             the Insurer.” Plaintiffs are entitled, in addition to their covered losses set forth herein, to a statutory

             award of reasonable attorneys’ fees in prosecuting this action, along with a statutory award in an

             amount of fifty percent (50%) of the total compensatory damages awarded or $5,000.00,

             whichever is greater, under O.C.G.A. § 33-4-6 for Defendant’s unfair claims settlement practices

             and bad faith refusal to pay Plaintiffs’ loss claim when it could and should have done so, had it

             acted fairly and reasonably toward the insured.

                                              COUNT III: ATTORNEY’S FEES

                                                                43.

                     Plaintiffs adopt, reallege, and incorporate their allegations set forth in Paragraphs 1-42 of

             this Complaint as if fully set forth herein.




                                                                 11


Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 15 of 172




                                                             44.

                    Defendant has acted in bad faith, and has been stubbornly and maliciously litigious and has

             caused Plaintiffs unnecessary trouble and expense.

                                                             45.

                    Under the circumstances, Defendant is liable to Plaintiffs for all of Plaintiffs’ costs and

             expenses of litigation, including reasonable attorney’s fees, pursuant to O.C.G.A. § 9-15-14,

             O.C.G.A. § 13-6-11.

                                              DEMAND FOR JURY TRIAL

                                                             46.

                    Plaintiffs request a trial by Jury on all counts of the Complaint.

                                                  PRAYER FOR RELIEF

                                                             47.

                    WHEREFORE, Plaintiffs request that after due proceedings are had, all appropriate

             penalties be assessed against the Defendant and that the Plaintiffs receive any and all damages at

             law to which they are justly entitled, and thus pray for judgment against the Defendant, as follows:

                a. That this Court grant judgment in favor of the Plaintiffs and against Defendant in an amount

                    to be determined at trial for breach of insurance contract.

                b. Compensatory damages, including all damages to the Plaintiffs by the Defendant and any

                    resulting expenses and temporary repairs.

                c. Bad faith damages in an amount of fifty percent (50%) of the total compensatory damages

                    awarded or $5,000.00, whichever is greater, for Defendant’s bad faith delay, denial, and its

                    intentional, frivolous failure to conduct a reasonable investigation of the Plaintiffs’ claim

                    without a reasonable basis;



                                                              12


Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 16 of 172




                d. Plaintiffs’ attorneys’ fees and costs of suit in this action;

                e. Plaintiffs’ consultant and expert fees;

                f. Pre- and post-judgment interest in the maximum amount allowed by law;

                g. All statutory penalties;

                h. Any and all applicable multipliers; and,

                i. Any and all other relief that the Court may deem just and proper, whether such relief sounds

                    in law or equity.



                    Dated, this the 30th day of March, 2 0 2 1.

                    RESPECTFULLY SUBMITTED,

                                                             For THE HUGGINS LAW FIRM, LLC


                                                             By: _____________________________
                                                             J. Remington Huggins, Esq.
                                                             Georgia Bar No.: 348736
                                                             Michael D. Turner, Esq.
                                                             Georgia Bar No.: 216414
                                                             Foster L. Peebles, Esq.
                                                             Georgia Bar No.: 410852
                                                             Attorneys for the Plaintiffs
                                                             110 Norcross Street
                                                             Roswell, GA 30075
                                                             (o) (770) 913-6229
                                                             (e) remington@lawhuggins.com
                                                             (e) mdturner@lawhuggins.com
                                                             (e) fpeebles@lawhuggins.com




                                                               13


Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 17 of 172




                        EXHIBIT A




Copy from re:SearchGA
                                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 18 of 172



                 State Farm Fire and Casualty Company
                 A Stock Company With Home Offices in Bloomington, Illinois

                 PO Box 88049
                 Atlanta GA 30356-9901

                 AT2                   H-27-2435-FB93 F H W
                           006384
                 FISHEL-BROWN, STEPHANIE &
                                          3200
                                            3200
                                                                                   RENEWAL DECLARATIONS
                 BENJAMIN
                 602 BENTLEY FALLS CT
                 CANTON GA 30114-6839
                                                                                   AMOUNT DUE:                                      enoN
                                                                                                                                                      ____
                                                                                   Payment is due by TO BE PAID BY MORTGAGEE                          ____
____                                                                                                                                                  ____
                                                                                   Policy Number:          11-EP-Y526-4
0105-0000




                                                                                   Policy Period: 12 Months
                                                                                   Effective Dates: JUN 29 2020 to JUN 29 2021
ST-




                                                                                   The policy period begins and ends at 12:01 am standard
                                                                                   time at the residence premises.



            Homeowners Policy                                                      Your State Farm Agent
                                                                                   LINDSAY MULLEN
            Location of Residence Premises                                         2250 N DRUID RD NE STE 145
            602 BENTLEY FALLS CT                                                   ATLANTA GA          30329-3118
            CANTON GA 30114-6839




                                                                                                                                                       3200 27
                                                                                   Phone: (404) 728-1000
            Construction:                Masonry Veneer                            Roof Material: Wood Shake/Shingle
            Year Built:                  1995                                      Roof Installation Year: 2000
            Automatic Renewal




                                                                                                                                                       006384 H
            If the POLICY PERIOD is shown as 12 MONTHS, this policy will be renewed automatically subject to the premiums, rules,

            and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the Mortgagee/Lien-




                                                                                                                                                       20
            holder written notice in compliance with the policy provisions or as required by law.




            IMPORTANT MESSAGES
            NOTICE: Information concerning changes in your policy language is included. Please call your agent with any questions.

            Please help us update the data used to determine your premium. Contact your agent with the year each of
            your home's utilities (heating/cooling, plumbing, or electrical) and roof were last updated.


            PREMIUM
            Annual Premium                                                                                                          00.737,1$

            Your premium has already been adjusted by the following:
            Home/Auto Discount                             Claim Record Discount




            Total Premium                                                                                                             00.737,1$




            Prepared MAY 05 2020                                                                                                        Page 1 of 4
            HO-2000
            035778 420                                                                                                    (o1F1080B) 04-04-2016
            N     GB,DR,6T,R7,G5




Copy from re:SearchGA
                                  Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 19 of 172




           NAMED INSURED                                             MORTGAGEE AND ADDITIONAL INTERESTS
           FISHEL-BROWN, STEPHANIE &                                 Mortgagee
           BENJAMIN                                                  NATIONSTAR MORTGAGE LLC ISAOA        Loan Number :
                                                                     DBA MR COOPER                        0638317859
                                                                     PO BOX 7729
                                                                     SPRINGFIELD OH 45501-7729



           SECTION I - PROPERTY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability
           A Dwelling                                                                                      $        009,986
           Other Structures                                                                                $        099,86
           B Personal Property                                                                             $        524,715
           C Loss of Use                                                                                   $        079,602
           Fungus (including Mold) Limited Coverage                                                        $        000,01
           Additional Coverages
           Arson Reward                                                           000,1$
           Credit Card, Bank Fund Transfer Card, Forgery, and Counterfeit Money   000,1$
           Debris Removal                                                         sirbed eert 000,1$/elbaliava %5 lanoitiddA
           Fire Department Service Charge                                         ecnerrucco rep 005$
           Fuel Oil Release                                                       000,01$
           Locks and Remote Devices                                               000,1$




                                                                                                                                 MAY 05 2020
           Trees, Shrubs, and Landscaping                                         meti rep 057$/tnuoma A egarevoC fo %5
           SECTION II - LIABILITY COVERAGES AND LIMITS
           Coverage                                                                                        Limit of Liability
           L Personal Liability (Each Occurrence)                                                          $        000,003
           Damage to the Property of Others                                                                $        000,1
           M Medical Payments to Others (Each Person)                                                      $        000,1
           INFLATION
o1F1081A




           Inflation Coverage Index: 259.5
           DEDUCTIBLES
           Section I Deductible                                                                         Deductible Amount
           All Losses 1/2%                                                                                 $           944,3
           LOSS SETTLEMENT PROVISIONS
           A1 Replacement Cost - Similar Construction
           B1 Limited Replacement Cost - Coverage B




           HO-2000
                                                                                                                   Page 2 of 4




Copy from re:SearchGA
                                       Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 20 of 172




                       11-EP-Y526-4
                       FORMS, OPTIONS, AND ENDORSEMENTS
                       HW-2111                    Homeowners Policy
                       Option ID                  Increase Dwlg up to $137,980
                       Option OL                  Ordinance/Law 10%/ $68,990
                       Option JF                  Jewelry and Furs $1,500 Each
                                                   Article/$2,500 Aggregate
                       HO-2465                    Fungus (Incl Mold) Liability
                       HO-2584                    Fungus (Incl Mold) Limited Cov
                       HO-2444                    Back-Up Of Sewer Or Drain -
                                                   5% of Coverage A/$ 34,495
    0205-0000




                       HO-2231                   *Amendatory Endorsement
                                                 *New Form Attached
    ST-




                       ADDITIONAL MESSAGES
                       State Farm® works hard to offer you the best combination of price, service, and protection. The amount you pay for
                       homeowners insurance is determined by many factors such as the coverages you have, the type of construction, the
                       likelihood of future claims, and information from consumers reports.


                                                 Other limits and exclusions may apply - refer to your policy
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                Prepared MAY 05 2020                                                                                           Page 3 of 4
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 21 of 172




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           HO-2000
                                                                           Page 4 of 4




Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 22 of 172




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Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 23 of 172




Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 24 of 172




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Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 25 of 172




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Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 26 of 172




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Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 27 of 172




Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 28 of 172
                                                                                                                                    HO-2465
                                                                                                                                  Page 1 of 1

        HO-2465 FUNGUS (INCLUDING MOLD) LIMITATION OF LIABILITY COVERAGE
        ENDORSEMENT ($50,000)
        This endorsement modifies insurance provided under the following: HOMEOWNERS POLICY, CONDOMINIUM UNITOWNERS
        POLICY, and RENTERS POLICY
        Except for the coverage provided by this endorsement, the                  (1) request, demand, order, or statutory or regulatory
        policy to which this endorsement is attached does not apply                    requirement that any insured or others test for,
        to any claim or suit for damages because of bodily injury or                   monitor, clean up, remove, contain, treat, detoxify,
        property damage arising out of or resulting from fungus.                       neutralize, remediate, dispose of, or in any way re-
                                                                                       spond to or assess the effects of fungus; or
        SECTION II – LIABILITY COVERAGES                                           (2) claim or suit for damages because of testing for,
        COVERAGE L – PERSONAL LIABILITY is amended to                                  monitoring, cleaning up, removing, containing, treat-
        include the following:                                                         ing, detoxifying, neutralizing, remediating, disposing
                                                                                       of, or in any way responding to or assessing the ef-
            We will pay up to our limit of liability all sums that the                 fects of fungus.
            insured is legally obligated to pay as damages because           LIMIT OF LIABILITY
            of bodily injury or property damage arising out of or
            resulting from the actual, alleged or threatened inhala-         Regardless of the number of insureds under this coverage
            tion of, ingestion of, contact with, exposure to, existence      or number of claims made or suits brought, the most we will
            of, or presence of any fungus at or from any source or           pay under this coverage for all claims for damages in any
                                                                             one occurrence is $50,000. This limit is also the most we
            location.                                                        will pay for the sum of all claims arising from all occurrences
            However, we do not cover any loss, cost, or expense              during each policy period.
            arising out of any:                                              All other policy provisions apply.
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 29 of 172
                                                                                                                                    HO-2584
                                                                                                                                  Page 1 of 2


        HO-2584 FUNGUS (INCLUDING MOLD) LIMITED COVERAGE ENDORSEMENT
        This endorsement modifies insurance provided under the following: HOMEOWNERS POLICY, CONDOMINIUM UNITOWNERS
        POLICY, and RENTERS POLICY
        SECTION I – LOSSES NOT INSURED 2.g., Fungus (SEC-                                       vi. trickling; and
        TION I – LOSSES NOT INSURED 1.g. if you have a                                      (b) from a:
        RENTERS POLICY), does not apply to the extent coverage is
        provided by this endorsement.                                                           i.    heating, air conditioning, or automatic
                                                                                                      fire protective sprinkler system;
        SECTION I – ADDITIONAL COVERAGES
                                                                                                ii.   household appliance; or
        The following is added:
                                                                                                iii. plumbing system, including from,
            Remediation of Fungus.                                                                   within or around any shower stall,
            a. If fungus is the result of a loss insured other than                                  shower bath, tub installation, or other
               fire or lightning, we will pay for:                                                   plumbing fixture, including their walls,
                (1) any loss of use or delay in rebuilding, repairing,                               ceilings, or floors.
                    or replacing covered property, including any as-                   We also will not pay for losses arising from conden-
                    sociated cost or expense, due to interference at                   sation or the presence of humidity, moisture, or vapor
                    the residence premises or location of the re-                      that occurs or develops over a period of time.
                    building, repair, or replacement of that property,                 Item b. does not apply if the seepage or leakage of
                    by fungus;                                                         water, steam, or sewage is hidden from view within
                (2) any remediation of fungus, including the cost or                   the walls, ceilings, or floors, and unknown by the in-
                    expense to:                                                        sured.
                    (a) remove the fungus from covered property                        (2) defect, weakness, inadequacy, fault, or un-
                         or to repair, restore, or replace that prop-                      soundness in:
                         erty;
                                                                                            (a) planning, zoning, development, surveying,
                    (b) tear out and replace any part of the build-                             or siting;
                         ing structure or other property as needed
                         to gain access to the fungus; or                                   (b) design, specifications, workmanship, re-
                    (c) contain, treat, detoxify, neutralize, or dis-                           pair, construction, renovation, remodeling,
                         pose of or in any way respond to or assess                             grading, or compaction;
                         the effects of the fungus; or                                      (c) materials used in repair, construction, reno-
                (3) the cost of any testing or monitoring of air or                             vation, remodeling, grading, or compaction;
                    property to confirm the type, absence, pres-                                or
                    ence, or level of fungus, whether performed                             (d) maintenance;
                    prior to, during, or after removal, repair, restora-
                    tion, or replacement of covered property.                               of any property (including land, structures, or
            b. We do not cover fungus that is the result of:                                improvements of any kind) whether on or off the
                                                                                            residence premises.
                (1) seepage or leakage of water, steam, or sewage
                    that occurs or develops over a period of time:                c. This coverage applies only if:

                     (a) and is:                                                       (1) we receive immediate notice of the occurrence
                                                                                           of the loss insured that is alleged to have re-
                         i.    continuous;                                                 sulted in fungus, and remediation begins as
                         ii.   repeating;                                                  soon as possible; and
                         iii. gradual;                                                 (2) all reasonable means were used to save and
                                                                                           preserve the property from further damage at
                         iv. intermittent;                                                 the time of and after the occurrence of the loss
                         v.    slow; or                                                    insured.

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Copy from re:SearchGA
                       Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 30 of 172
                                                                                                                                      HO-2584
                                                                                                                                    Page 2 of 2

            d. The most we will pay for this coverage, in any one                       (2) the number of claims made during the policy pe-
               policy period, is the limit of insurance shown on the                         riod.
               Declarations for this endorsement. This limit applies                    This limit includes any payments for SECTION I –
               only to fungus resulting from a loss insured other                       ADDITIONAL COVERAGES and COVERAGE C –
               than fire or lightning regardless of:                                    LOSS OF USE. Any payments made for this cover-
                                                                                        age are part of and not in addition to the limit of in-
                  (1) the number of losses insured that combine or                      surance that applies to covered property.
                      contribute to the presence of resulting fungus; or      All other policy provisions apply.
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Copy from re:SearchGA
                      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 31 of 172
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        This endorsement modifies insurance provided under the HOMEOWNERS POLICY
        DEFINITIONS                                                        Nonrenewal is replaced by the following:
        The definition of “occurrence” is replaced by the following:            Nonrenewal. We may elect not to renew this policy. If
             “occurrence”, when used in Section II of this policy,              we elect not to renew, a written notice will be delivered to
             means an accident, including accidental exposure to con-           you, or mailed to the last mailing address known to us.
             ditions, which first results in:                                   The   notice will be mailed or delivered at least 30 days
                                                                                before the expiration date of this policy. Proof of mailing
             a. bodily injury; or                                               will be sufficient proof of notice.
             b. property damage;                                                If we elect not to renew this policy, we will notify any mort-
             during the policy period. All bodily injury and property           gagee    shown in this policy in accordance with Georgia
             damage resulting from one accident, series of related ac-          state  insurance    law.
             cidents, or from continuous or repeated exposure to the       OPTIONAL POLICY PROVISIONS
             same general conditions is considered to be one occur-
             rence.                                                        Option ID is replaced by the following:
        SECTION I AND SECTION II – CONDITIONS                                   Option ID – Increased Dwelling Limit. We will settle
                                                                                losses to damaged building structures covered under
        Under Cancellation, paragraph 5.a. and the first paragraph              COVERAGE A – DWELLING according to the Loss Set-
        of 5.b. are replaced by the following:                                  tlement Provision shown in the Declarations.
             a. You may cancel this policy at any time by giving us             1. If the amount you actually and necessarily spend to
                  advance notice of the date cancellation is to take ef-             repair or replace the damaged dwelling exceeds the
                  fect. We may require written, electronic, or other rec-            limit of liability shown in the Declarations for Cover-
                  orded verification of the request for cancellation prior           age A – Dwelling, we will pay the additional amounts
                  to such cancellation taking effect.                                not to exceed the Option ID limit shown in the Dec-
                                                                                     larations.
                  If only your interest is affected, the effective date of
                  cancellation will be the later of:                            2. If the amount you actually and necessarily spend to
                                                                                     repair or replace damaged building structures cov-
                  (1) the date we received your notice of cancella-                  ered under COVERAGE A – DWELLING, Other
                       tion; or                                                      Structures exceeds the limit of liability shown in the
                  (2) the date specified in the notice.                              Declarations for Other Structures, we will pay the
                  If notice must be given to a governmental agency,                  additional amounts not to exceed 10% of the Option
                  mortgagee, or other third party, the effective date of             ID limit shown in the Declarations.
                  cancellation may be extended in order for us to mail          Report Increased Values. You must notify us within 90
                  or deliver notice of cancellation to you and the other        days of the start of construction on any new building
                  party at least 10 days before the date cancellation           structure costing $5,000 or more; or any additions to or
                  takes effect.                                                 remodeling of building structures that increase their
             b. We may cancel this policy only for the reasons stated           values by $5,000 or more. You must pay any additional
                  in this condition. We will notify you in writing of the       premium due for the increased value. We will not pay
                  date cancellation takes effect. This cancellation no-         more than the applicable limit of liability shown in the
                  tice may be delivered to you, or mailed to the last           Declarations if you fail to notify us of the increased value
                  mailing address known to us. Proof of mailing will            within 90 days.
                  be sufficient proof of notice:                           All other policy provisions apply.

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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 32 of 172
                                                                                                                             HO-2444
                                                                                                                           Page 1 of 2


        HO-2444 BACK-UP OF SEWER OR DRAIN ENDORSEMENT (Homeowners)
        This endorsement modifies insurance provided under the following: HOMEOWNERS POLICY
        The following is added to SECTION I – ADDITIONAL                         provisions of this policy. This is an additional
        COVERAGES:                                                               amount of insurance.
            Back-up of Sewer or Drain. We will pay for accidental            e. The deductible for each loss under this coverage is
            direct physical loss to the dwelling and covered per-                the amount shown in the Declarations under Sec-
            sonal property located within the dwelling, caused by                tion I Deductible for “Other Losses” or “All Losses”,
            back-up of water or sewage, subject to the following:                whichever applies.
            a. The back-up must be directly and immediately              For purposes of this endorsement only:
                 caused solely by water or sewage:                       a. SECTION I – LOSSES INSURED, item 12.b.(2) is deleted
                 (1) from outside the residence premises plumb-              from the policy.
                      ing system that enters through a sewer or drain    b. SECTION I – LOSSES NOT INSURED, Water is re-
                      located inside the interior of the dwelling; or        placed by:
                 (2) that enters into and overflows from within a                Water, meaning:
                      sump pump, sump pump well, or any other sys-
                      tem located inside the interior of the dwelling            (1) flood;
                      designed to remove subsurface water drained                (2) surface water. This does not include water
                      from the foundation area.                                       solely caused by the release of water from a
            b. Coverage does not apply to:                                            swimming pool, spigot, sprinkler system, hose,
                                                                                      or hydrant;
                 (1) losses resulting from your failure to:
                      (a) keep a sump pump or its related equip-                 (3) waves (including tidal wave, tsunami, and
                            ment in proper working condition; or                      seiche);
                      (b) perform the routine maintenance or repair              (4) tides or tidal water;
                            necessary to keep a sewer or drain free              (5) overflow of any body of water (including any
                            from obstructions; or                                     release, escape, or rising of any body of water,
                 (2) losses that occur or are in progress within the                  or any water held, contained, controlled, or di-
                      first 5 days of the inception of this endorse-                  verted by a dam, levee, dike, or any type of wa-
                      ment. This limitation does not apply when:                      ter containment, diversion, or flood control
                                                                                      device);
                      (a) this endorsement is attached to a newly
                            issued policy; or                                    (6) spray or surge from any of the items c.(1)
                                                                                      through c.(5) described above, all whether
                      (b) this endorsement is attached to replace                     driven by wind or not;
                            another Back-Up of Sewer or Drain En-
                            dorsement. However, if this endorse-                 (7) water or sewage from outside the residence
                            ment’s coverage limits are higher than                    premises plumbing system that enters through
                            those of the endorsement it replaces, then                sewers or drains, or water or sewage that en-
                            the limitation described in (2) above ap-                 ters into and overflows from within a sump
                            plies only to the increase in coverage lim-               pump, sump pump well, or any other system
                            its.                                                      designed to remove subsurface water that is
            c. If you request an increase to the coverage limit for                   drained from the foundation area;
                 this endorsement, the increased coverage limit                  except as specifically provided in SECTION I –
                 does not apply to losses that occur or are in pro-              ADDITIONAL COVERAGES, Back-Up of Sewer
                 gress within the first 5 days of your request.
                                                                                 or Drain.
            d. The total limit of insurance provided by this en-
                 dorsement will not exceed the amount determined                 (8) water or sewage below the surface of the
                 by applying the Back-Up Of Sewer Or Drain per-                       ground, including water or sewage that exerts
                 centage (%) shown in the Declarations to the                         pressure on, or seeps or leaks through a build-
                 COVERAGE A – DWELLING limit shown in the                             ing structure, sidewalk, driveway, swimming
                 Declarations, as adjusted by the inflation coverage                  pool, or other structure; or

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Copy from re:SearchGA
                       Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 33 of 172
                                                                                                                             HO-2444
                                                                                                                           Page 2 of 2

                  (9) material carried or otherwise moved by any of         c.    SECTION I – CONDITIONS, Other Insurance is re-
                       the water or sewage, as described in items                 placed by:
                       c.(1) through c.(8) above.
                  However, we will pay for any accidental direct physical              Other Insurance. This coverage is excess over
                  loss by fire, explosion, or theft resulting from water,              other valid and collectible insurance.
                  provided the resulting loss is itself a loss insured.       All other policy provisions apply.
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Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 34 of 172




   This policy is one of the broadest
   forms available today, and provides
   you with outstanding value for your in-
   surance dollars. However, we want
   to point out that every policy contains
   limitations and exclusions.      Please
   read your policy carefully, especially
   “Losses Not Insured” and all exclusions.


                                                          State Farm®
                                                          Homeowners
                                                          Policy




                                                          Georgia
                                                          HW-2111




Copy from re:SearchGA
                      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 35 of 172




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                AGREEMENT ................................................................. 1          INFLATION COVERAGE ......................................... 11
                DEFINITIONS ................................................................. 1     SECTION I – LOSSES INSURED ................................ 12
                DEDUCTIBLE ................................................................. 5         COVERAGE A – DWELLING ................................... 12
                SECTION I – PROPERTY COVERAGES ...................... 5                                COVERAGE B – PERSONAL PROPERTY ............. 12
                   COVERAGE A – DWELLING..................................... 5                     SECTION I – LOSSES NOT INSURED ........................ 14
                      Dwelling ............................................................... 5    SECTION I – LOSS SETTLEMENT ............................. 18
                      Other Structures .................................................. 5            COVERAGE A – DWELLING ................................... 18
                      Property Not Covered.......................................... 5                    A1 – Replacement Cost Loss Settlement –
                   COVERAGE B – PERSONAL PROPERTY ............... 5                                       Similar Construction ......................................... 18
                      Property Covered ............................................... 5                  A2 – Replacement Cost Loss Settlement –
                      Special Limits of Liability .................................... 6                  Common Construction ...................................... 19
                      Property Not Covered .......................................... 6                COVERAGE B – PERSONAL PROPERTY ............. 19
                   COVERAGE C – LOSS OF USE................................ 8                             B1 – Limited Replacement Cost Loss
                                                                                                          Settlement ........................................................ 19
                       Additional Living Expense .................................. 8
                                                                                                          B2 – Depreciated Loss Settlement ................... 20
                       Fair Rental Value................................................ 8
                                                                                                    SECTION I – CONDITIONS.......................................... 20
                       Prohibited Use ..................................................... 8
                   SECTION I – ADDITIONAL COVERAGES ................ 8                                       Insurable Interest and Limit of Liability .............. 20
                       Debris Removal .................................................. 8                   Your Duties After Loss ...................................... 20
                       Temporary Repairs............................................. 9                       Loss to a Pair or Set ......................................... 21
                       Trees, Shrubs, and Landscaping ....................... 9                               Appraisal........................................................... 21
                       Fire Department Service Charge........................ 9                               Other Insurance ................................................ 22
                       Property Removed ............................................. 9                       Suit Against Us ................................................. 22
                       Credit Card, Bank Fund Transfer Card,                                                  Our Option ........................................................ 22
                       Forgery, and Counterfeit Money......................... 9                              Loss Payment ................................................... 22
                       Power Interruption ............................................ 10                     Abandonment of Property................................. 22
                       Refrigerated Products ...................................... 10                        Mortgagee Clause ............................................ 22
                       Arson Reward................................................... 10                     No Benefit to Bailee .......................................... 23
                       Volcanic Action ................................................. 10                   Recovered Property.......................................... 23
                       Collapse ........................................................... 10                Assignment of Claim......................................... 23
                          Locks and Remote Devices.............................. 11                 SECTION II – LIABILITY COVERAGES ...................... 23
                          Fuel Oil Release ............................................... 11          COVERAGE L – PERSONAL LIABILITY ................ 23
                          Tear Out ........................................................... 11      COVERAGE M – MEDICAL PAYMENTS TO
                          Home Certification ............................................ 11           OTHERS ................................................................... 23

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                HW-2111




Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 36 of 172




                   SECTION II – ADDITIONAL COVERAGES ............. 24                                         Subrogation and Reimbursement ..................... 31
                       Claim Expenses ............................................... 24                      Death ................................................................ 31
                       First Aid Expenses ........................................... 24                      Conformity to State Law ................................... 31
                       Damage to Property of Others ......................... 24                              Premium ........................................................... 31
                SECTION II – EXCLUSIONS........................................ 25                            Right to Inspect................................................. 32
                SECTION II – CONDITIONS ........................................ 28                           Joint and Individual Interests ............................ 32
                          Limit of Liability ................................................. 28             Change of Policy Address ................................ 32
                          Severability of Insurance .................................. 28                     Electronic Delivery ............................................ 32
                          Duties After Loss .............................................. 28                 Our Rights Regarding Claim Information.......... 32
                          Coverage M Requirements .............................. 29                           Duties Regarding Claim Information................. 33
                          Payment of Claim – Coverage M or Damage
                          to Property of Others ....................................... 29          OPTIONAL POLICY PROVISIONS .............................. 33
                          Suit Against Us ................................................. 29                Option AI – Additional Insured .......................... 33
                          Bankruptcy of an Insured ................................. 29                       Option BP – Business Property ........................ 33
                          Other Insurance – Coverage L ......................... 29
                                                                                                              Option BU – Business Pursuits ........................ 33
                SECTION I AND SECTION II – CONDITIONS ............. 29
                                                                                                              Option FA – Firearms ....................................... 34
                          Policy Period .................................................... 29
                                                                                                              Option ID – Increased Dwelling Limit ............... 34
                          Concealment or Fraud...................................... 29
                          Liberalization Clause ........................................ 30                   Option IO – Incidental Business ....................... 35
                          Waiver or Change of Policy Provisions ............ 30                               Option JF – Jewelry and Furs........................... 35
                          Cancellation...................................................... 30               Option OL – Building Ordinance or Law ........... 36
                          Nonrenewal ...................................................... 30                Option SG – Silverware and Goldwar7
                          Assignment of Policy ........................................ 31                    Theft ................................................................. 37




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                HW-2111




Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 37 of 172




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                We agree to provide the insurance described in this policy:           3.     we insure you on the basis your statements are
                                                                                             true; and
                1.   based on your payment of premium, in a form ac-
                     ceptable to us, for the coverages you chose;                     4.     this policy contains all of the agreements between
                                                                                             you and us and any of our agents.
                2.   based on your compliance with all applicable provi-
                     sions of this policy; and                                        Unless otherwise indicated in the application, you state
                                                                                      that during the five years preceding the time of your
                3.   based on the information you have given us and                   application for this insurance you have not had any losses,
                     your statements in this agreement.                               insured or not.
                You agree, by acceptance of this policy, that:                        When you request changes to this policy, or the infor-
                                                                                      mation or factors used to calculate the premium for this
                1.   you will pay premiums when due and comply with
                                                                                      policy changes during the policy period, we may adjust
                     the provisions of this policy;                                   the premium in accordance with the change during the
                2.   the statements in this agreement are your state-                 policy period and you must pay any additional premium
                     ments and are true;                                              due within the time we specify.

                                                                       '(),1,7,216
                We define the following words and phrases for use                            of the damaged part of the property.
                throughout this policy. These definitions apply to the                2.     “bodily injury” means physical injury, sickness, or
                singular, plural, and possessive forms of these words and                    disease to a person. This includes required care,
                phrases. Defined words and phrases are printed in bold                       loss of services, and death resulting therefrom.
                italics.                                                                     Bodily injury does not include:
                1.   “actual cash value” means the value of the dam-                         a. any of the following which are communicable:
                     aged part of the property at the time of loss, calcu-                        disease, bacteria, parasite, virus, or other
                     lated as the estimated cost to repair or replace such                        organism, any of which are transmitted by any
                     property, less a deduction to account for pre-loss                           insured to any other person;
                     depreciation. For this calculation, all components of                   b. the actual or alleged exposure to any such disease,
                     this estimated cost including, but not limited to:                           bacteria, parasite, virus, or other organism by
                     a. materials, including any tax;                                             any insured to any other person; or
                     b. labor, including any tax; and                                        c. emotional distress, mental anguish, humiliation,
                                                                                                  mental distress, mental injury, or any similar in-
                     c. overhead and profit;                                                      jury unless it arises out of actual physical injury
                     are subject to depreciation.                                                 to some person.
                     The depreciation deduction may include such con-                 3.     “building structure” means a structure fully en-
                     siderations as:                                                         closed with permanent walls and a roof. A perma-
                     a.   age;                                                               nent wall or roof does not include any kind of
                                                                                             temporary materials including but not limited to
                     b.   condition;                                                         tarps, plastic sheeting, or other similar material. A
                     c.   reduction in useful life;                                          structure that is otherwise fully enclosed with per-
                                                                                             manent walls and a roof, that is undergoing repairs
                     d.   obsolescence; and                                                  due to a recent loss insured, using materials such
                     e.   any pre-loss damage including wear, tear, or                       as tarps, plastic sheeting, or other similar material,
                          deterioration;                                                     is still considered a building structure.
                                                                                    1                                                        HW-2111
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 38 of 172




                     A building structure includes:                                                 the actual electrical power usage by the resi-
                                                                                                    dence premises in the 12-month period prior
                     a.   the foundation supporting the structure, includ-
                          ing:                                                                      to the date of the loss; or
                                                                                              e.    ownership of the residence premises by the
                          (1) slabs;
                                                                                                    person or organization shown in the Declara-
                          (2) basement walls;                                                       tions as Additional Insured.
                          (3) crawl space walls;                                       5.     “Declarations” means the policy Declarations, any
                          (4) footings; and                                                   amended Declarations, the most recent renewal
                                                                                              Declarations, an Evidence of Insurance form, or
                          (5) gravel, stone, or sand, used as fill material                   any endorsement changing any of these.
                              and located not more than 12 inches di-
                              rectly below a slab described in item a.(1),             6.     “diminution in value” means any reduction in the
                              including water supply lines, domestic wa-                      value of any covered property prior to or following
                              ter pipes, and sewer pipes located within                       repair or replacement as compared to the value of
                              this fill material; and                                         that property immediately before the loss.

                     b.   wall-to-wall carpeting attached to the structure.            7.     “dwelling” means the building structure on the
                                                                                              residence premises used as the primary private
                4.   “business” means any full-time or part-time activity,                    residence and includes structures attached to the
                     trade, profession, employment, or occupation or a                        dwelling.
                     commercial, mercantile, or industrial undertaking                 8.     “fungus” means any type or form of fungus, in-
                     of an economic nature. It does not matter whether                        cluding mold, mildew, mycotoxins, spores, scents, or
                     it is continuous or regular, is a secondary or                           byproducts produced or released by fungi.
                     supplemental source of income, or is an insured's
                                                                                       9.     “insured” means:
                     principal means of livelihood. Profit and profit motive
                     are irrelevant.                                                          a.    you;
                     Business does not include:                                               b.    your relatives; and
                     a.   volunteer activities for a not-for-profit or non-                   c.    any other person under the age of 21 in the
                          profit organization or public agency for which                            care of a person described above.
                          no money is received other than payment of                          Under Section II, insured also means:
                          expenses;
                                                                                              d.    the person or organization legally responsible
                     b.   incidental and infrequent personal economic                               for animals or watercraft to which this policy
                          activity such as a hobby, garage or yard sale,                            applies. However, the animal or watercraft
                          or traditional farm activities when the farm                              must be owned by you or a person included in
                          products are intended only for the personal use                           9.b. or 9.c. above. A person or organization
                          of the insured;                                                           using or having custody of these animals or
                     c.   any occasional or part-time self-employed activity                        watercraft in the course of a business, or with-
                          by a person under 19 years of age that involves                           out permission of the owner, is not an insured;
                          no employees or subcontracted independent                                 and
                          contractors and is a type of activity normally per-                 e.    with respect to any vehicle to which this policy
                          formed by persons under 19 years of age, in-
                                                                                                    applies, any person while engaged in your
                          cluding but not limited to, child care, lawn                              employment or the employment of a person in-
                          mowing, or paper delivery;                                                cluded in 9.b. or 9.c. above.
                     d.   the ownership, maintenance, or use of systems
                          and equipment used to generate electrical                    10. “insured location” means:
                          power up to but not exceeding 125 percent of                        a.    the residence premises;

                                                                                     2                                                       HW-2111
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                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 39 of 172




                    b.   the part of any other premises, other structures,                  c.    a “recreational or utility vehicle” while off an in-
                         and grounds used by you as a residence. This                             sured location. “Recreational or utility vehicle”
                         includes premises, structures, and grounds                               means a motorized vehicle designed for rec-
                         you acquire while this policy is in effect for                           reation or utility purposes, used principally off
                         your use as a residence;                                                 public roads, and that is owned or leased by an
                    c.   any premises used by you in connection with                              insured. This includes, but is not limited to, a
                         the premises included in 10.a. or 10.b. above;                           motorized all-terrain vehicle, side-by-side vehi-
                                                                                                  cle, utility work vehicle, amphibious vehicle,
                    d.   any part of a premises not owned by an in-                               dune buggy, go-cart, golf cart, snowmobile,
                         sured but where an insured is temporarily re-                            trailbike, minibike, and personal assistive mo-
                         siding;                                                                  bility device. “Leased” does not include tempo-
                    e.   land owned by or rented to an insured on                                 rary rental;
                         which a one or two family dwelling is being                        d.    a “locomotive” while off an insured location.
                         constructed as a residence for an insured;                               “Locomotive” means a self-propelled vehicle for
                    f.   individual or family cemetery plots or burial                            pulling or pushing freight or passenger cars on
                         vaults owned by an insured;                                              tracks that is large enough to carry a person
                                                                                                  and is owned or leased by an insured.
                    g.   any part of a premises occasionally rented to                            “Leased” does not include temporary rental;
                         an insured for purposes other than business;
                                                                                            e.    a bulldozer, track loader, backhoe, high-hoe,
                    h.   vacant land owned by or rented to an insured.                            trencher, grader, crane, self-propelled scraper,
                         For the purposes of this definition, vacant land                         excavator, pipe-layer, cherry picker, tele-
                         does not include:                                                        handler, logging vehicle, mining vehicle, or
                         (1) farm land;                                                           road building vehicle that is owned or leased by
                         (2) land containing a residence; or                                      an insured while off an insured location.
                                                                                                  “Leased” does not include temporary rental;
                         (3) land containing fences, corrals, boat                                and
                             docks, tool sheds, barns, grain bins, and
                             similar structures, unless they are used                       f.    any vehicle while being towed or pushed by or
                             solely for the personal use of the insured;                          carried on a vehicle included in 12.a. through
                             or                                                                   12.e. above.
                    i.   farm land (without buildings), rented or held for                 The following are not motor vehicles:
                         rental to others, but not to exceed a total of 500                 a.    a boat, camper, home, or utility trailer not being
                         acres, regardless of the number of locations.                            towed or pushed by or carried on a vehicle in-
                11. “loss insured” means a loss as described under                                cluded in 12.a. through 12.e. above;
                    SECTION I – LOSSES INSURED, COVERAGE A –                                b.    a motorized land vehicle in storage on an in-
                    DWELLING and SECTION I – LOSSES INSURED,                                      sured location not intended to be operated for
                    COVERAGE B – PERSONAL PROPERTY.                                               an extended period of time and rendered inop-
                12. “motor vehicle”, when used in Section II of this                              erable by placing the vehicle on blocks or re-
                    policy, means:                                                                moving parts essential for its operation;
                    a.   a land motor vehicle designed for travel on                        c.    a motorized golf cart while used for golfing pur-
                         public roads or subject to motor vehicle regis-                          poses;
                         tration;
                                                                                            d.    a motorized vehicle or trailer designed to assist
                    b.   a trailer or semi-trailer designed for travel on                         persons with disabilities that is not designed for
                         public roads and subject to motor vehicle regis-                         travel on public roads or subject to motor vehi-
                         tration;                                                                 cle registration; or

                                                                                   3                                                          HW-2111
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                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 40 of 172




                     e.   a commercially manufactured two, three, or                          b.    that part of any other building structure;
                          four wheeled personal conveyance powered
                                                                                              where you reside and which is shown in the Decla-
                          only by or assisted by an unmodified motor or                       rations.
                          engine with a manufacturer’s power rating of no
                          more than 1 horsepower and capable of a top                  18. “State Farm Companies” means one or more of
                          speed of no more than 20 miles per hour.                         the following:
                13. “occurrence”, when used in Section II of this poli-                       a.    State Farm Mutual Automobile Insurance
                    cy, means an accident, including accidental expo-                               Company;
                    sure to conditions, which first results in:                               b.    State Farm Fire and Casualty Company; and
                     a.   bodily injury; or                                                   c.    subsidiaries or affiliates of either 18.a. or 18.b.
                     b.   property damage;                                                          above.
                     during the policy period. All bodily injury and prop-             19. “vacant dwelling” means:
                     erty damage resulting from one accident, series of                       a.    a dwelling:
                     related accidents, or from continuous and repeated
                     exposure to the same general conditions is consid-                             (1) that has not been occupied as a residence
                     ered to be one occurrence.                                                         for more than 30 consecutive days imme-
                                                                                                        diately before the loss; and
                14. “property damage” means physical damage to or
                    destruction of tangible property, including loss of use                         (2) where a predominant amount of personal
                    of this property. Theft or conversion of property by                                property has been removed or is absent
                    any insured is not property damage.                                                 such that the dwelling is not functional as
                                                                                                        a habitual place of residence.
                15. “relative” means any person related to you by:
                                                                                                    A dwelling will be considered occupied only if it
                     a.   blood;                                                                    is being used as a habitual place of residence
                     b.   adoption;                                                                 with your knowledge and approval.
                     c.   marriage; or                                                        b.    A dwelling that is under active construction will
                                                                                                    not be considered a vacant dwelling. A dwell-
                     d.   civil union, domestic partnership, or other sub-
                                                                                                    ing is under active construction when it is:
                          stantially similar legal relationship that is rec-
                          ognized and valid in the state where, and at the                          (1) being built as a new structure;
                          time when, the legal relationship was estab-                              (2) being repaired due to damage otherwise
                          lished;
                                                                                                        covered by this policy; or
                     and who resides primarily with you.
                                                                                                    (3) undergoing substantial improvements,
                16. “residence employee” means an employee of an                                        renovations, remodeling, or modifications;
                    insured, or an employee leased to an insured by a
                                                                                                    and the construction results in substantial con-
                    labor leasing firm under an agreement between an
                    insured and the labor leasing firm, who performs                                tinuing activities by persons associated with the
                    duties, including household or domestic services, in                            construction project at the premises during the
                                                                                                    relevant time periods.
                    connection with the maintenance or use of the resi-
                    dence premises. This includes employees who per-                   20. “we”, “us”, and “our” mean the Company shown
                    form similar duties elsewhere for you. This does not                   in the Declarations.
                    include employees while performing duties in con-                  21. “you” and “your” mean the person or persons
                    nection with the business of an insured.                               shown as “Named Insured” in the Declarations. If a
                17. “residence premises” means:                                            “Named Insured” shown in the Declarations is a
                     a.   the one, two, three, or four family dwelling, other              human being, then you and your include:
                          structures and grounds; or                                          a.    a spouse of a “Named Insured”;
                                                                                     4                                                         HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 41 of 172




                     b.   a party to a civil union with a “Named Insured”;                   if such relationship is recognized and valid in the
                                                                                             state where, and at the time when, the legal rela-
                     c.   a domestic partner of a “Named Insured”; or
                                                                                             tionship was established, so long as the person in
                     d.   a person in a substantially similar legal rela-                    the above relationship resides primarily with that
                          tionship with a “Named Insured”;                                   “Named Insured”.

                                                                       '('8&7,%/(
                In case of loss under this policy, we will pay, subject to            Declarations. Deductibles will be applied per occur-
                specified policy limits, only that part of the amount of the          rence. Deductibles apply to specific losses as described
                loss that exceeds the deductible amount shown in the                  in this policy.
                                                 6(&7,21,±3523(57<&29(5$*(6
                COVERAGE A – DWELLING                                                 3.     Property Not Covered. We do not cover:
                1.   Dwelling. We cover the dwelling and materials and                       a.    land, including the land necessary to support any
                     supplies located on or adjacent to the residence                              Coverage A property. We also do not cover:
                     premises for use in the construction, alteration, or                          (1) any costs required to replace, rebuild, sta-
                     repair of the dwelling or other structures on the res-
                                                                                                       bilize, or otherwise restore the land; or
                     idence premises.
                                                                                                   (2) the costs of repair techniques designed to
                2.   Other Structures. We cover other structures on the
                                                                                                       compensate for or prevent land instability
                     residence premises, separated from the dwelling                                   to any property, whether or not insured
                     by clear space. Structures connected to the                                       under Coverage A;
                     dwelling by only a fence, utility line, or similar con-
                     nection are considered to be other structures.                          b.    trees, shrubs, live or artificial plants, lawns, or arti-
                                                                                                   ficial grass, except as provided in SECTION I –
                     We do not cover other structures:
                                                                                                   ADDITIONAL COVERAGES, Trees, Shrubs,
                     a.   not permanently attached to or otherwise form-                           and Landscaping; or
                          ing a part of the realty;
                                                                                             c.    systems and equipment used to generate elec-
                     b.   used either completely or in part for business                           trical power exceeding 125 percent of the actual
                          purposes unless such use consists solely of of-                          electrical power usage by the residence prem-
                          fice space for paperwork, computer work, or                              ises in the 12-month period prior to the date of
                          use of a telephone, and consists solely of activ-                        the loss.
                          ities that are:
                                                                                      COVERAGE B – PERSONAL PROPERTY
                          (1) duties of the insured’s employment by                   1.     Property Covered.
                              another; and
                                                                                             a.    We cover personal property owned or used by an
                          (2) performed solely by the insured; or
                                                                                                   insured while it is anywhere in the world. This in-
                     c.   rented or held for rental unless:                                        cludes structures not permanently attached to or
                          (1) rented to a person who is a tenant of the                            otherwise forming a part of the realty. At your
                              dwelling;                                                            request, we will cover personal property:
                          (2) rented for use solely as a private garage;                           (1) owned by others while the property is on
                              or                                                                       the part of the residence premises occu-
                          (3) rented either completely or in part, for ex-                             pied exclusively by an insured;
                              clusive use as a residence, for no more                              (2) owned by a guest or a residence em-
                              than 30 nights in the 12-month period prior                              ployee, while the property is in any other
                              to the date of the loss.                                                 residence occupied by an insured; and

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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 42 of 172




                         (3) owned by roomers, boarders, tenants, and                             and standard media or non-media equipment for
                             other residents, any of whom are related                             use with the above devices;
                             to you.                                                        d.    $1,500 on securities, checks, cashiers checks,
                    b.   We cover personal property usually located at                            travelers checks, money orders, gift certifi-
                         an insured’s residence, other than the resi-                             cates, gift cards, rechargeable debit cards,
                         dence premises, for up to $1,000 or 10% of                               phone cards and other negotiable instruments,
                         the Coverage B limit, whichever is greater.                              accounts, deeds, evidences of debt, letters of
                         This limitation does not apply to personal prop-                         credit, notes other than bank notes, manu-
                         erty:                                                                    scripts, passports, and tickets;
                         (1) in a newly acquired principal residence for                    e.    $1,500 on watercraft of all types and outboard
                             the first 30 days after you start moving the                         motors, including their trailers, furnishings, and
                             property there. If the residence premises is                         equipment;
                             a newly acquired principal residence, per-                     f.    $1,500 on trailers not used with watercraft;
                             sonal property in your immediate past
                             principal residence is not subject to this                     g.    $2,500 on stamps, trading cards, and comic
                             limitation for the first 30 days after the in-                       books, including any of these that are a part of
                             ception of this policy; and                                          a collection;
                         (2) of a student who is an insured while lo-                       h.    $2,500 for loss by theft of firearms;
                             cated at a residence away from the res-                        i.    $2,500 for loss by theft of silverware and
                             idence premises.                                                     goldware;
                    Special Limits of Liability. These limits do not in-                    j.    $5,000 on any one article and $10,000 in the ag-
                    crease the Coverage B limit. The special limit for                            gregate for loss by theft of any rug, carpet (ex-
                    each of the following categories is the total limit for                       cept wall-to-wall carpet), tapestry, wall-hanging,
                    each loss for all property in that category:                                  or other similar article;
                    a.   $200 on money, coins, and medals, including                        k.    $1,000 on commercially manufactured two,
                         any of these that are a part of a collection,                            three, or four wheeled personal conveyances
                         bank notes, bullion, gold other than goldware,                           powered only by or assisted by an unmodified
                         silver other than silverware, and platinum;                              motor or engine with a manufacturer’s power
                    b.   $1,500 on property used or intended for use in                           rating of no more than 1 horsepower and capa-
                         a business, including merchandise held as                                ble of a top speed of no more than 20 miles per
                         samples or for sale or for delivery after sale,                          hour. This does not include such conveyances
                         while on the residence premises. This cover-                             that are:
                         age is limited to $750 on such property away                             (1) designed for assisting persons with
                         from the residence premises.
                                                                                                      disabilities;
                         Electronic data processing system equipment                              (2) not designed for travel on public roads; and
                         or the recording or storage media used with
                         that equipment is not included under this cov-                           (3) not subject to motor vehicle registration; and
                         erage, and is addressed in item c. below;                          l.    $1,000 for loss by theft of jewelry, watches, fur
                    c.   $10,000 on electronic data processing system                             garments and garments trimmed with fur, and
                         equipment used or intended for use in a busi-                            precious and semi-precious stones.
                         ness, including but not limited to computers, tab-
                         lets, mobile personal communication equipment,              2.     Property Not Covered. We do not cover:
                         global positioning systems, mobile personal elec-                  a.    articles separately described and specifically
                         tronic devices used for the reproduction of sound,                       insured in this or any other insurance;

                                                                                   6                                                         HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 43 of 172




                    b.   animals, birds, or fish;                                                   (2) on the residence premises if it is rented,
                                                                                                        either completely or in part, for exclusive
                    c.   any engine-propelled or motor-propelled vehicle
                         or machine, including parts, designed for move-                                use as a residence, for no more than 30
                         ment on land, except as provided in Special                                    nights in the 12-month period prior to the
                                                                                                        date of the loss;
                         Limits of Liability, item k. However, we do
                         cover those vehicles or machines:                                    h.    property rented or held for rental to others
                                                                                                    away from the residence premises;
                         (1) that are:
                              (a) not designed for travel on public                           i.    any radio devices or transmitters, global posi-
                                                                                                    tioning systems, radar or laser detectors, an-
                                  roads; and
                                                                                                    tennas, and all other similar equipment that is
                              (b) not subject to motor vehicle registra-                            permanently installed in or permanently fas-
                                  tion;                                                             tened to an engine-propelled or motor-
                         (2) and that are:                                                          propelled vehicle or that is hard-wired directly
                                                                                                    to the vehicle’s electrical system;
                              (a) used primarily to service the insured
                                  location; or                                                j.    books or records of accounts receivable, ab-
                                                                                                    stracts or other journals, architectural or tech-
                              (b) designed for assisting persons with                               nical drawings, card index systems, or other
                                  disabilities;                                                     records. This does not apply to any recording
                                                                                                    or storage media for electronic data pro-
                    d.   any electronic equipment, devices, or accesso-
                                                                                                    cessing. We will cover the cost of blank books,
                         ries designed for the recording, reproduction, or                          cards, or other blank material plus the cost of
                         storage of audio, video, photos, or other data                             labor you incur for transcribing or copying such
                         that is permanently installed in or permanently                            records;
                         fastened to an engine-propelled or motor-
                                                                                              k.    recording or storage media for electronic data
                         propelled vehicle or hard-wired directly to the
                                                                                                    processing that cannot be replaced with prop-
                         vehicle’s electrical system. We also do not                                erty of like kind and quality on the current retail
                         cover removable products that may be used                                  market;
                         with the equipment or devices described
                         above, including but not limited to tapes, discs,                    l.    purchased or created audio, video, photos, or
                                                                                                    other data that cannot be replaced with like
                         videos, or memory cards while in an engine-
                                                                                                    kind and quality on the current retail market
                         propelled or motor-propelled vehicle;                                      and that is transferred or downloaded onto
                    e.   aircraft and parts. This does not apply to un-                             mobile communication equipment, global posi-
                         manned aircraft systems used as model aircraft                             tioning systems, or electronic devices designed
                         and operated solely for recreational or hobby                              for the recording, reproduction, or storage of
                         purposes;                                                                  audio, video, photos, or other data;
                                                                                              m. contraband, or any property used in the course
                    f.   property of roomers, boarders, tenants, and
                                                                                                 of illegal consumption, possession, import, ex-
                         other residents not related to you;                                     port, or trade;
                    g.   property regularly rented or held for rental to                      n.    outdoor hardscape property used for aesthetic
                         others by an insured. This does not apply to                               purposes except as provided in SECTION I –
                         property of an insured:                                                    ADDITIONAL COVERAGES, Trees, Shrubs,
                         (1) in a sleeping room when the dwelling is                                and Landscaping; or
                             rented in part, for use as a permanent res-                      o.    electronic currency, digital currency, virtual cur-
                             idence, by either one or two full-time                                 rency, crypto-currency, and other similar medi-
                             roomers or boarders; or                                                ums of exchange.

                                                                                     7                                                         HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 44 of 172




                COVERAGE C – LOSS OF USE                                                             if the damage had occurred to property on the
                                                                                                     residence premises;
                The most we will pay for the sum of all losses combined
                under Additional Living Expense, Fair Rental Value,                            b.    the residence premises is within one mile of
                and Prohibited Use is the limit of liability shown in the                            property damaged by a cause of loss identified
                Declarations for Coverage C – Loss of Use.                                           in 3.a. above; and
                1.   Additional Living Expense. When a loss insured                            c.    the action of the civil authority is taken in re-
                     causes the residence premises to become unin-                                   sponse to:
                     habitable, we will pay the reasonable and necessary                             (1) dangerous physical conditions resulting
                     increase in cost incurred by an insured to maintain
                                                                                                         from the continuation of the cause of loss
                     their normal standard of living for up to 24 months.                                identified in 3.a. above;
                     Our payment is limited to incurred costs for the
                     shortest of:                                                                    (2) dangerous physical conditions resulting
                                                                                                         from the damage caused by the cause of
                     a.   the time required to repair or replace the premises;                           loss identified in 3.a. above; or
                     b.   the time required for your household to settle                             (3) the need to gain free access to property
                          elsewhere; or                                                                  damaged by the cause of loss identified in
                     c.   24 months.                                                                     3.a. above.
                     This period of time is not limited by the expiration of                   We will not pay for loss or expense due to cancella-
                     this policy.                                                              tion of a lease or agreement.
                     We will not pay more than the limit of liability shown             SECTION I – ADDITIONAL COVERAGES
                     in the Declarations for Coverage C – Loss of Use.                  The following Additional Coverages are subject to all
                     Any normal expenses that are reduced or discontin-                 the terms, provisions, exclusions, and conditions of
                     ued due to a loss insured will be subtracted from
                                                                                        this policy.
                     any amount owed.
                                                                                        1.     Debris Removal. We will pay the reasonable ex-
                2.   Fair Rental Value. When a loss insured causes
                                                                                               penses you incur in the removal of debris of cov-
                     that part of the residence premises rented to others or                   ered property damaged by a loss insured. This
                     held for rental by you to become uninhabitable, we                        expense is included in the limit applying to the dam-
                     will pay its fair rental value. Payment will be for the
                                                                                               aged property. The following coverages and limits
                     shortest time required to repair or replace the part of                   also apply:
                     the premises rented or held for rental, but not to ex-
                     ceed 12 months. This period of time is not limited by                     a.    When the amount payable for the property dam-
                     the expiration of this policy. Fair rental value will not                       age plus the debris removal exceeds the limit for
                     include any expense that does not continue while                                damaged property, an additional 5% of that limit
                     that part of the residence premises rented or held                              is available for debris removal expense. This
                     for rental is uninhabitable.                                                    additional amount of insurance does not apply to
                                                                                                     SECTION I – ADDITIONAL COVERAGES,
                3.   Prohibited Use. We will pay Additional Living Ex-
                                                                                                     Trees, Shrubs, and Landscaping.
                     pense and Fair Rental Value, for a continuous period
                     not to exceed two weeks, beginning when a civil au-                       b.    We will also pay up to $1,000 total for each
                     thority issues an order of evacuation or prohibits                              loss to cover the reasonable expenses you in-
                     your use of the residence premises, provided that:                              cur in the removal of tree debris and stumps
                                                                                                     from the residence premises, unless other-
                     a.   direct physical damage occurs to any property,
                                                                                                     wise excluded. This coverage applies when:
                          other than covered property located on the res-
                          idence premises, arising from a cause of loss                              (1) the tree has caused a loss insured to
                          that would be a loss insured under this policy                                 Coverage A property; or


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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 45 of 172




                          (2) the tree debris felled by windstorm, hail, or                   for up to 30 days while removed. We will also pay
                              weight of snow or ice blocks:                                   for reasonable expenses incurred by you for the
                               (a) the driveway, on the residence prem-                       removal and return of the covered property. This
                                   ises, and prevents land motor vehicle                      coverage does not increase the limit applying to the
                                                                                              property being removed.
                                   access to or from the dwelling; or
                               (b) a ramp designed to assist persons                   6.     Credit Card, Bank Fund Transfer Card, Forgery,
                                                                                              and Counterfeit Money.
                                   with disabilities, on the residence
                                   premises, and prevents access to or                        a.    We will pay up to $1,000 for:
                                   from a building structure.
                                                                                                    (1) the legal obligation of an insured to pay
                2.   Temporary Repairs. If damage is caused by a loss                                   because of the theft or unauthorized use
                     insured, we will pay the reasonable and necessary                                  of credit cards and bank fund transfer
                     cost you incur for temporary repairs to covered property                           cards issued to or registered in an in-
                     to protect the property from further immediate damage                              sured’s name. If an insured has not
                     or loss. This coverage does not increase the limit ap-                             complied with all terms and conditions un-
                     plying to the property being repaired.                                             der which the cards are issued, we will not
                3.   Trees, Shrubs, and Landscaping. We will pay for                                    pay for use by an insured or anyone else;
                     accidental direct physical loss to outdoor:                                    (2) loss to an insured caused by forgery or
                     a.   trees, shrubs, live or artificial plants, and lawns;                          alteration of any check or negotiable in-
                                                                                                        strument; and
                     b.   artificial grass; and
                                                                                                    (3) loss to an insured through acceptance in
                     c.   hardscape property used for aesthetic purposes                                good faith of counterfeit United States or
                          not permanently affixed to realty;                                            Canadian paper currency.
                     on the residence premises, caused by the follow-                               No deductible applies to this coverage.
                     ing perils: Fire or lightning, Explosion, Riot or
                     civil commotion, Aircraft, Vehicles (not owned or                              We will not pay more than the limit stated above
                     operated by a resident of the residence premises),                             for forgery or alteration committed by any one
                     Vandalism or malicious mischief, or Theft.                                     person. This limit applies when the forgery or al-
                                                                                                    teration involves one or more instruments in the
                     The limit for this coverage, including the removal of                          same loss.
                     debris, will not exceed 5% of the amount shown in
                     the Declarations for COVERAGE A – DWELLING.                              b.    We will not pay for loss arising out of business
                     We will not pay more than $750 for any one outdoor                             pursuits or dishonesty of an insured.
                     tree, shrub, plant, or hardscape item, including de-                     c.    Defense:
                     bris removal expense. This coverage may increase
                     the limit otherwise applicable. We will not pay for                            (1) We may make any investigation and settle
                     any loss to property grown for business purposes.                                  any claim or suit that we decide is appro-
                                                                                                        priate. Our obligation to defend claims or
                4.   Fire Department Service Charge. We will pay up                                     suits ends when the amount we pay for
                     to $500 per occurrence for fire department charges                                 the loss equals our limit of liability.
                     incurred when the fire department is called to save
                     or protect Coverage A property from fire, lightning, or                        (2) If claim is made or a suit is brought against
                     explosion. No deductible applies to this coverage. This                            an insured for liability under the Credit Card
                     coverage may increase the limit otherwise applicable.                              or Bank Fund Transfer Card coverage, we
                                                                                                        will provide a defense. This defense is at
                5.   Property Removed. We will pay for any accidental                                   our expense by counsel of our choice.
                     direct physical loss to covered property while being
                     removed from a premises endangered by a loss in-                               (3) We have the option to defend at our ex-
                     sured. This coverage also applies to the property                                  pense an insured or an insured’s bank

                                                                                     9                                                        HW-2111
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Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 46 of 172




                                against any suit for the enforcement of                      All volcanic eruptions that occur within any 168-hour
                                payment under the Forgery coverage.                          period will be considered one volcanic eruption.
                7. Power Interruption. We will pay for accidental                            This coverage does not increase the limit applying
                    direct physical loss caused directly or indirectly by a                  to the damaged property.
                    change of temperature that results from power inter-              11. Collapse. We will pay for accidental direct physical
                    ruption that takes place on the residence premises.                   loss to covered property involving the abrupt, entire
                    The power interruption must be caused by a loss                       collapse of a building structure or any part of a
                    insured occurring on the residence premises. The                      building structure.
                    power lines off the residence premises must re-
                                                                                             a.    Collapse means the abrupt and entire falling
                    main energized. This coverage does not increase                                down, caving in, or falling into pieces of a
                    the limit applying to the damaged property.                                    building structure or any part of a building
                8. Refrigerated Products. Coverage B is extended to                                structure. Collapse does not include any of
                    cover the contents of deep freeze or refrigerated                              the following:
                    units on the residence premises for loss due to                                (1) settling, cracking, crumbling, deterioration,
                    power failure or mechanical failure. If mechanical                                 shrinking, bulging, expansion, sagging,
                    failure or power failure is known to you, all reasonable                           bowing, leaning, or bending;
                    means must be used to protect the property insured                             (2) substantial structural impairment;
                    from further damage or this coverage is void. Power
                    failure or mechanical failure does not include:                                (3) imminent or threatened collapse;
                    a. removal of a plug from an electrical outlet; or                             (4) a building structure or any part of a
                    b. turning off an electrical switch unless caused                                  building structure that is in danger of
                          by a loss insured.                                                           falling down or caving in; or
                    This coverage does not increase the limit applying                             (5) a part of a building structure that is
                    to the damaged property.                                                           standing even if:
                9. Arson Reward. We will pay $1,000 for information                                       (a) it has separated from another part of
                    that leads to an arson conviction in connection with                                      the building structure; or
                    a fire loss to property covered by this policy. This                                  (b) it shows evidence of settling, cracking,
                    coverage may increase the limit otherwise applica-                                        crumbling, deterioration, shrinking,
                    ble. However, the $1,000 limit will not be increased                                      bulging, expansion, sagging, bowing,
                    regardless of the number of persons providing in-                                         leaning, or bending.
                    formation.                                                               b.    The collapse must be directly and immediately
                10. Volcanic Action. We will pay for accidental direct                             caused by one or more of the following:
                    physical loss to a covered building structure or                               (1) perils described in SECTION I – LOSSES
                    covered property contained in a building structure                                 INSURED, COVERAGE B – PERSONAL
                    resulting from the eruption of a volcano when the                                  PROPERTY. These perils apply to build-
                    loss is directly and immediately caused by:                                        ing structures covered under Coverage
                    a. airborne volcanic shock waves;                                                  A or Coverage B for loss insured by this
                                                                                                       Additional Coverage;
                    b. ash, dust, or particulate matter; or
                    c. lava flow.                                                                  (2) decay or deterioration of, or damage from
                                                                                                       animals, birds, or insects to:
                    We will also pay for the removal of that ash, dust, or
                    particulate matter that has caused accidental direct                                  (a) a connector; or
                    physical loss to a covered building structure or                                      (b) a structural member of a building
                    covered property contained in a building structure.                                       structure;

                                                                                    10                                                         HW-2111
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                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 47 of 172




                               The decay, deterioration, or damage must                      This coverage includes surface clean up only. We
                               be hidden from view and unknown to all                        will not pay for:
                               insureds prior to the collapse;                               a.    the cost to repair or replace the fuel oil tank,
                          (3) weight of contents, equipment, animals, or                           apparatus, and pipes; or
                              people;                                                        b.    the cost of testing, monitoring, removing, treat-
                          (4) weight of ice, snow, sleet, or rain that col-                        ing, or detoxifying of soil, air, or water.
                              lects on a roof, porch, or deck; or                            This coverage does not increase the limit applying
                          (5) use of defective material or methods in the                    to the damaged property.
                              construction (includes remodeling or reno-              14. Tear Out. If a loss insured to Coverage A property
                              vation) of the building structure, if the                   is caused by water, steam, or sewage escaping from
                              collapse occurs during the course of the                    a system or appliance, we will also pay the reason-
                              construction of the building structure.                     able cost you incur to tear out and replace only that
                          Loss to awnings, fences, patios, pavement,                      particular part of the building structure necessary
                          swimming pools, underground pipes, flues,                       to gain access to the specific point of that system or
                          drains, cesspools, septic tanks, foundations                    appliance from which the water, steam, or sewage
                          (including slabs, basement walls, and crawl                     escaped. We will not pay for the cost of repairing or
                          space walls), retaining walls, bulkheads, piers,                replacing the system or appliance itself. This cover-
                          wharfs, docks, trellises, or antennas and their                 age does not increase the limit applying to Cover-
                          supporting structures is not included under                     age A property.
                          items (2), (3), and (4) immediately above un-               15. Home Certification. If damage to covered property
                          less the loss is the direct and immediate result                is caused by a loss insured, we will pay the rea-
                          of the collapse of a building structure or any                  sonable increase in cost to repair or replace only the
                          part of a building structure.                                   damaged property to maintain the dwelling’s FOR-
                     This coverage does not increase the limit applying                   TIFIED HOME or FORTIFIED FOR SAFER LIVING
                     to the damaged property.                                             certification in place at the time of the loss. This
                                                                                          coverage does not increase the limit applying to the
                12. Locks and Remote Devices. We will pay up to                           damaged property.
                    $1,000 for each loss for the reasonable expenses
                    you incur to rekey, replace, recode, program, or re-                     We will not pay:
                    program locks on exterior doors to the dwelling or                       a.    any increase in cost until the repair or replace-
                    other structures located on the residence premises                             ment of the property is complete; or
                    when the keys or remote devices used with those
                    doors are part of a covered theft loss. This cover-                      b.    for increased costs resulting from enforcement of
                    age includes remote devices designed solely for                                any ordinance or law regulating the construction
                                                                                                   or repair of the dwelling except as provided un-
                    locking, unlocking, opening, or closing doors, includ-
                    ing garage doors and gates.                                                    der OPTIONAL POLICY PROVISIONS, Option
                                                                                                   OL – Building Ordinance or Law.
                     No deductible applies to this coverage.
                                                                                             This coverage does not apply if Loss Settlement
                13. Fuel Oil Release. We will pay up to $10,000 for                          provision A2 – Replacement Cost Loss Settlement –
                    each loss for accidental direct physical loss to cov-                    Common Construction is shown in the Declara-
                    ered property caused by the abrupt and accidental                        tions.
                    escape of liquid fuel oil from a fixed household tank,
                                                                                      INFLATION COVERAGE
                    apparatus, or pipes that are part of a heating unit for
                    the dwelling. This includes damage to covered                     The limits of liability shown in the Declarations for Cov-
                    property resulting from an accidental spill or overflow           erage A, Coverage B, and when applicable, Option ID will
                    of fuel oil in the course of filling a fixed household            be increased at the same rate as the increase in the
                    tank.                                                             Inflation Coverage Index shown in the Declarations.

                                                                                    11                                                       HW-2111
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 48 of 172




                To find the limits on a given date:                                      The limits of liability will not be reduced to less than the
                                                                                         amounts shown in the Declarations.
                1.   divide the Index on that date by the Index as of the effec-
                     tive date of this Inflation Coverage provision; then                If during the term of this policy the Coverage A limit of
                                                                                         liability is changed at your request, the effective date of
                2.   multiply the resulting factor by the limits of liability for        this Inflation Coverage provision is changed to coincide
                     Coverage A, Coverage B, and Option ID separately.                   with the effective date of such change.

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                COVERAGE A – DWELLING                                                                 (2) an object propelled from the tire or body of
                We will pay for accidental direct physical loss to the                                    a vehicle;
                property described in Coverage A, unless the loss is                                  (3) the upset or collision of a vehicle with a
                excluded or limited in SECTION I – LOSSES NOT IN-                                         stationary object or other vehicle, includ-
                SURED or otherwise excluded or limited in this policy.                                    ing damage to personal property carried
                However, loss does not include and we will not pay for,                                   on the exterior of the vehicle; or
                any diminution in value.                                                              (4) a vehicle door or trunk lid being closed on
                COVERAGE B – PERSONAL PROPERTY                                                            personal property.
                We will pay for accidental direct physical loss to the prop-                    b.    This peril does not include loss:
                erty described in Coverage B caused by the following per-
                ils, unless the loss is excluded or limited in SECTION I –                            (1) to personal property that falls off a vehicle
                LOSSES NOT INSURED or otherwise excluded or lim-                                          and strikes the ground, any other surface,
                                                                                                          or any object;
                ited in this policy. However, loss does not include and
                we will not pay for, any diminution in value.                                         (2) caused by shifting of the load being car-
                                                                                                          ried in or on a vehicle; or
                1.   Fire or lightning.
                2.   Windstorm or hail. This peril does not include loss                              (3) to the vehicle itself unless the vehicle is
                     to property contained in a structure caused by rain,                                 property covered under COVERAGE B –
                     snow, sleet, sand, or dust. This limitation does not                                 PERSONAL PROPERTY and the loss is
                     apply when the direct force of wind or hail damages                                  caused by the weight, force, power, or
                     the structure causing an opening in a roof or wall                                   movement of another vehicle.
                     and the rain, snow, sleet, sand, or dust enters                     7.     Smoke, meaning abrupt and accidental damage
                     through this opening.
                                                                                                from smoke.
                     This peril includes loss to watercraft of all types and                    This peril does not include loss caused by smoke
                     their trailers, furnishings, equipment, and outboard
                                                                                                from agricultural smudging or industrial operations.
                     motors, only while inside a building structure.
                                                                                         8.     Vandalism or malicious mischief, meaning only
                3.   Explosion.
                                                                                                willful and malicious damage to or destruction of
                4.   Riot or civil commotion.                                                   property.
                5.   Aircraft, including self-propelled missiles and                     9.     Theft, including attempted theft and loss of property
                     spacecraft.                                                                from a known location when it is probable that the
                                                                                                property has been stolen.
                6.   Vehicles, meaning accidental direct physical loss to
                     covered property caused by the weight, force, power,                       This peril does not include:
                     or movement of a vehicle.
                                                                                                a.    loss of a precious or semi-precious stone from
                     a.   This includes:                                                              its setting;
                          (1) the impact of a vehicle;                                          b.    loss caused by theft:

                                                                                       12                                                       HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 49 of 172




                         (1) committed by an insured or by any other                              (2) watercraft of all types, including their fur-
                             person regularly residing on the insured                                 nishings, equipment, and outboard mo-
                             location. Property of a student who is an                                tors; or
                             insured is covered while located at a res-                           (3) trailers and campers designed to be pulled
                             idence away from the residence premises,
                                                                                                      by or carried on a vehicle.
                             if the theft is committed by a person who
                             is not an insured;                                                   If the residence premises is a newly acquired
                                                                                                  principal residence, property in the immediate
                         (2) in or to a dwelling under construction or of                         past principal residence will not be considered
                             materials and supplies for use in the con-                           property away from the residence premises
                             struction until the dwelling is completed and                        for the first 30 days after the inception of this
                             occupied; or                                                         policy.
                         (3) from the part of a residence premises                   10. Falling objects. This peril does not include loss to
                             rented to others:                                           property contained in a structure unless the roof or
                              (a) caused by a tenant, members of the                     an exterior wall of the structure is first damaged by a
                                  tenant’s household, or the tenant’s                    falling object. Damage to the falling object itself is
                                  employees unless the residence                         not included.
                                  premises is rented, either completely              11. Weight of ice, snow, or sleet that causes damage
                                  or in part, for exclusive use as a resi-               to property contained in a structure.
                                  dence, for no more than 30 nights in
                                  the 12-month period prior to the date              12. Abrupt and accidental discharge or overflow of
                                  of the loss;                                           water, steam, or sewage from within a plumbing,
                                                                                         heating, air conditioning, or automatic fire protective
                              (b) of money, bank notes, bullion, gold,                   sprinkler system, or from within a household appliance.
                                  goldware, silver, silverware, pewter-                     This peril does not include loss:
                                  ware, platinum, coins, and medals;
                                                                                            a.    to the system or appliance from which the water,
                              (c) of securities, checks, cashiers                                 steam, or sewage escaped;
                                  checks, travelers checks, money or-
                                  ders, gift certificates, gift cards, re-                  b.    caused by or resulting from:
                                  chargeable debit cards, phone cards,                            (1) freezing;
                                  and other negotiable instruments, ac-
                                  counts, deeds, evidences of debt, let-                          (2) water or sewage from outside the resi-
                                  ters of credit, notes other than bank                               dence premises plumbing system that
                                  notes, manuscripts, passports, tick-                                enters through sewers or drains, or water
                                  ets, and stamps; or                                                 that enters into and overflows from within
                                                                                                      a sump pump, sump pump well, or any
                              (d) of jewelry, watches, fur garments and                               other system designed to remove subsur-
                                  garments trimmed with fur, and pre-                                 face water that is drained from the founda-
                                  cious and semi-precious stones; or                                  tion area; or
                    c.   loss caused by theft that occurs away from the                           (3) the pressure from or presence of tree,
                         residence premises of:                                                       shrub, or plant roots; or
                         (1) property while at any other residence                          c.    that occurs or develops over a period of time
                             owned, rented to, or occupied by an in-                              and is caused by or resulting from:
                             sured, except while an insured is tempo-
                             rarily residing there. Property of a student                         (1) condensation or the presence of humidity,
                             who is an insured is covered while at a                                  moisture, or vapor; or
                             residence away from the residence                                    (2) seepage or leakage of water, steam, or
                             premises;                                                                sewage that is:
                                                                                   13                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 50 of 172




                               (a) continuous;                                               This peril does not include:
                               (b) repeating;                                                a.    loss to a portable hot tub or portable spa unless
                               (c) gradual;                                                        you have used reasonable care to prevent
                               (d) intermittent;                                                   freezing; or
                               (e) slow; or                                                  b.    loss on the residence premises unless you
                               (f) trickling.                                                      have used reasonable care to:
                13. Abrupt and accidental tearing asunder, cracking,                               (1) maintain heat in the building structure at
                    burning, or bulging of a steam or hot water                                        55 degrees Fahrenheit or higher; or
                    heating system, an air conditioning system, an                                 (2) shut off the water supply and drain the
                    automatic fire protective sprinkler system, or an ap-                              system and appliances of water.
                    pliance for heating water.
                                                                                                   However, if the building structure is protected
                    This peril does not include loss:
                                                                                                   by an automatic fire protective sprinkler system,
                    a. caused by or resulting from freezing; or                                    you must use reasonable care to continue the
                    b. that occurs or develops over a period of time                               water supply and maintain heat in the building
                         and is caused by or resulting from:                                       structure at 55 degrees Fahrenheit or higher
                         (1) condensation or the presence of humidity,                             for coverage to apply.
                               moisture, or vapor; or
                                                                                      15. Abrupt and accidental damage to electrical appli-
                         (2) seepage or leakage of water or steam that                    ances, devices, fixtures, and wiring from an increase
                               is:
                                                                                          or decrease of artificially generated electrical current.
                               (a) continuous;                                            We will pay up to $3,000 under this peril for each
                               (b) repeating;                                             damaged item described above.
                               (c) gradual;                                           16. Breakage of glass, meaning damage to personal
                               (d) intermittent;                                          property caused by breakage of glass that is a part
                               (e) slow; or                                               of a structure on the residence premises. We will
                               (f) trickling.                                             not pay for loss or damage to the glass.
                14. Freezing of a plumbing, heating, air conditioning, or             17. Wild bears or deer, meaning damage caused by
                    automatic fire protective sprinkler system, or of a                   wild bears or deer to property located in a building
                    household appliance.                                                  structure.

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                1.   We will not pay for any loss to the property de-                              of a household appliance; or discharge, leak-
                     scribed in Coverage A that consists of, or is directly                        age, or overflow from within the system or ap-
                     and immediately caused by, one or more of the per-                            pliance caused by freezing. This does not apply
                     ils listed in items a. through m. below, regardless of                        if you have used reasonable care to:
                     whether the loss occurs abruptly or gradually, in-
                                                                                                   (1) maintain heat in the building structure at
                     volves isolated or widespread damage, arises from
                     natural or external forces, or occurs as a result of                              55 degrees Fahrenheit or higher; or
                     any combination of these:                                                     (2) shut off the water supply and drain the
                     a.   collapse, except as specifically provided in                                 system and appliances of water.
                          SECTION I – ADDITIONAL COVERAGES,                                        However, if the building structure is protected
                          Collapse;                                                                by an automatic fire protective sprinkler sys-
                     b.   freezing of a plumbing, heating, air conditioning,                       tem, you must use reasonable care to continue
                          or automatic fire protective sprinkler system or                         the water supply and maintain heat in the
                                                                                    14                                                       HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 51 of 172




                         building structure at 55 degrees Fahrenheit                                 Item f. does not apply if the seepage or leak-
                         or higher for coverage to apply;                                            age of water, steam, or sewage is hidden from
                    c.   freezing, thawing, pressure, or weight of water,                            view within the walls, ceilings, or floors, and
                         ice, snow, or sleet, whether driven by wind or                              unknown by the insured;
                         not, to:                                                              g.    wear, tear, decay, marring, scratching, deterio-
                         (1) a swimming pool, hot tub, or spa, includ-                               ration, inherent vice, latent defect, or mechanical
                                                                                                     breakdown;
                             ing their covers, filtration, and circulation
                             systems; or                                                       h.    corrosion, electrolysis, or rust;
                         (2) an awning, fence, pavement, patio, foun-                          i.    wet or dry rot;
                             dation (including slabs, basement walls,                          j.    contamination or pollution, meaning the pres-
                             crawl space walls, and footings), retaining
                                                                                                     ence, discharge, dispersal, seepage, migration,
                             wall, bulkhead, pier, wharf, or dock;                                   release, or escape of contaminants or pollu-
                    d.   theft in or to a dwelling under construction, or of                         tants at or from any source. This does not apply if
                         materials and supplies for use in the construction,                         the presence, discharge, dispersal, seepage,
                         until the dwelling is completed and occupied;                               migration, release, or escape is itself caused by
                                                                                                     a peril described in SECTION I – LOSSES IN-
                    e.   theft, vandalism, malicious mischief, or breakage
                         of glass and safety glazing materials if the                                SURED, COVERAGE B – PERSONAL
                         dwelling is a vacant dwelling;                                              PROPERTY.

                    f.   seepage or leakage of water, steam, or sewage                               (1) Contaminants and pollutants include but
                         that occurs or develops over a period of time:                                  are not limited to any:

                         (1) and is:                                                                        (a) solid, liquid, gaseous, or thermal irritant,
                                                                                                                including smoke from agricultural
                              (a) continuous;                                                                   smudging or industrial operations,
                              (b) repeating;                                                                    smog, soot, vapor, fumes, acids, al-
                                                                                                                kalis, chemicals, pathogens, noxious
                              (c) gradual;                                                                      substances, asbestos, or lead;
                              (d) intermittent;                                                             (b) contaminants or pollutants resulting
                              (e) slow; or                                                                      from any natural resource extraction
                                                                                                                activities; or
                              (f)   trickling; and
                                                                                                            (c) fuel oil except as specifically provided
                         (2) from a:                                                                            in SECTION I – ADDITIONAL
                              (a) heating, air conditioning, or automatic                                       COVERAGES, Fuel Oil Release.
                                  fire protective sprinkler system;                                  (2) We also will not pay for:
                              (b) household appliance; or                                                   (a) losses arising from contamination or
                              (c) plumbing system, including from,                                              pollution caused by or resulting from
                                  within or around any shower stall,                                            defective building materials, nuclear
                                  shower bath, tub installation, or other                                       substances, and waste. Waste in-
                                                                                                                cludes materials to be recycled, re-
                                  plumbing fixture, including their walls,
                                                                                                                conditioned, or reclaimed;
                                  ceilings, or floors.
                                                                                                            (b) the cost to extract contaminants or
                         We also will not pay for losses arising from                                           pollutants from land, water, or air, or
                         condensation or the presence of humidity,                                              the cost to remove, restore, or re-
                         moisture, or vapor that occurs or develops over                                        place contaminated or polluted land,
                         a period of time.                                                                      water, or air; or

                                                                                      15                                                            HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 52 of 172




                               (c) the cost of testing, monitoring, clean-                     a.    Ordinance or Law, meaning enforcement of
                                   ing, removing, containing, treating,                              any ordinance or law regulating the construction,
                                   detoxifying, neutralizing, remediating,                           repair, or demolition of a building structure or
                                   disposing of, or assessing the effects                            other structure.
                                   of contaminants or pollutants;
                                                                                               b.    Earth Movement, meaning the sinking, rising,
                     k.   settling, cracking, shrinking, bulging, or expan-                          shifting, expanding, or contracting of earth, all
                          sion of pavements, patios, foundations (includ-                            regardless of whether combined with water,
                          ing slabs, basement walls, crawl space walls,                              sewage, or any material carried by, or other-
                          and footings), walls, floors, roofs, or ceilings;                          wise moved by the earth. Earth movement in-
                                                                                                     cludes but is not limited to:
                     l.   all animals, birds, or insects.
                          (1) This includes:                                                         (1) earthquake;

                               (a) nesting, infestation, gnawing, feeding,                           (2) landslide, mudslide, or mudflow;
                                   breeding, or discharge or release of                              (3) sinkhole or subsidence;
                                   waste products or secretions by ani-                              (4) movement resulting from:
                                   mals, birds, or insects;
                                                                                                            (a) improper compaction;
                               (b) costs to remove animals, birds, or in-
                                   sects from the covered property; and                                     (b) site selection;
                               (c) costs to prevent the animals, birds, or                                  (c) natural resource extraction activities; or
                                   insects from returning to the property;                                  (d) excavation;
                          (2) However, we will pay for:                                              (5) erosion;
                               (a) losses caused by wild bears or deer;                              (6) pressure by surface or subsurface earth or
                                   and                                                                   fill; or
                               (b) the breakage of glass or safety glaz-                             (7) any volcanic activity, except as specifically
                                   ing material that is a part of a build-                               provided in SECTION I – ADDITIONAL
                                   ing structure, when caused by                                         COVERAGES, Volcanic Action.
                                   animals, birds, or insects; or
                                                                                                     However, we will pay for any accidental direct
                     m. pressure from or presence of tree, shrub, or                                 physical loss by fire, explosion other than ex-
                        plant roots.                                                                 plosion of a volcano, or theft resulting from
                     However, we will pay for any resulting loss from                                earth movement, provided the resulting loss is
                     items a. through l. unless the resulting loss is itself a                       itself a loss insured.
                     Loss Not Insured as described in this Section.                            c.    Water, meaning:
                2.   We will not pay for, under any part of this policy, any                         (1) flood;
                     loss that would not have occurred in the absence of
                     one or more of the following excluded events. We                                (2) surface water. This does not include wa-
                     will not pay for such loss regardless of: (a) the                                   ter solely caused by the release of water
                     cause of the excluded event; or (b) other causes of                                 from a swimming pool, spigot, sprinkler
                     the loss; or (c) whether other causes acted concur-                                 system, hose, or hydrant;
                     rently or in any sequence with the excluded event to                            (3) waves (including tidal wave, tsunami, and
                     produce the loss; or (d) whether the event occurs                                   seiche);
                     abruptly or gradually, involves isolated or wide-
                                                                                                     (4) tides or tidal water;
                     spread damage, occurs on or off the residence
                     premises, arises from any natural or external forces,                           (5) overflow of any body of water (including
                     or occurs as a result of any combination of these:                                  any release, escape, or rising of any body

                                                                                      16                                                            HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 53 of 172




                              of water, or any water held, contained, con-                         considered loss caused by fire, explosion, or
                              trolled, or diverted by a dam, levee, dike, or                       smoke.
                              any type of water containment, diversion,                            However, we will pay for any accidental direct
                              or flood control device);                                            physical loss by fire resulting from the nuclear
                         (6) spray or surge from any of the items c.(1)                            hazard, provided the resulting fire loss is itself a
                             through c.(5) described above, all whether                            loss insured.
                             driven by wind or not;
                                                                                             g.    Fungus, including:
                         (7) water or sewage from outside the resi-
                             dence premises plumbing system that                                   (1) any loss of use or delay in rebuilding,
                             enters through sewers or drains, or water                                 repairing, or replacing covered property,
                             or sewage that enters into and overflows                                  including any associated cost or expense,
                             from within a sump pump, sump pump                                        due to interference at the residence
                             well, or any other system designed to re-                                 premises or location of the rebuilding, re-
                             move subsurface water that is drained                                     pair, or replacement of that property, by
                             from the foundation area;                                                 fungus;
                         (8) water or sewage below the surface of the                              (2) any remediation of fungus, including the
                             ground, including water or sewage that                                    cost or expense to:
                             exerts pressure on, or seeps or leaks
                             through a building structure, sidewalk,                                      (a) remove the fungus from covered
                             driveway, swimming pool, or other struc-                                         property or to repair, restore, or re-
                             ture; or                                                                         place that property;

                         (9) material carried or otherwise moved by                                       (b) tear out and replace any part of the
                             any of the water or sewage, as described                                         building structure or other property
                             in items c.(1) through c.(8) above.                                              as needed to gain access to the
                                                                                                              fungus; or
                         However, we will pay for any accidental direct
                         physical loss by fire, explosion, or theft result-                               (c) contain, treat, detoxify, neutralize or
                         ing from water, provided the resulting loss is it-                                   dispose of or in any way respond to
                         self a loss insured.                                                                 or assess the effects of the fungus;
                    d.   Neglect, meaning neglect of the insured to                                           or
                         use all reasonable means to save and preserve                             (3) the cost of any testing or monitoring of air
                         property at and after the time of a loss, or when                             or property to confirm the type, absence,
                         property is endangered.                                                       presence, or level of fungus, whether per-
                    e.   War, including any undeclared war, civil war,                                 formed prior to, during, or after removal,
                         insurrection, rebellion, revolution, warlike act by                           repair, restoration, or replacement of cov-
                         a military force or military personnel, destruc-                              ered property.
                         tion or seizure or use for a military purpose,                            However, item g. does not apply if fungus re-
                         and including any consequence of any of                                   sults from an accidental direct physical loss
                         these. Discharge of a nuclear weapon will be                              caused by fire or lightning.
                         considered a warlike act even if accidental.
                                                                                             h.    Intentional Losses. If any insured intention-
                    f.   Nuclear Hazard, meaning any nuclear reac-                                 ally causes or procures a loss to property
                         tion, radiation, or radioactive contamination, all                        covered under this policy, we will not pay any
                         whether controlled or uncontrolled or however                             insured for this loss. This applies regardless
                         caused, or any consequence of any of these.                               of whether the insured is charged with or con-
                         Loss caused by the nuclear hazard will not be                             victed of a crime.
                                                                                    17                                                         HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 54 of 172




                          This does not apply to:                                                   body whether intentional, wrongful, negligent,
                                                                                                    or without fault;
                          (1) an insured who did not participate in, co-
                              operate in, or contribute to causing or pro-                    b.    defect, weakness, inadequacy, fault, or un-
                              curing the loss; or                                                   soundness in:
                          (2) a claim of an innocent insured, to the ex-                            (1) planning, zoning, development, surveying,
                              tent of the innocent insured’s interest in                                or siting;
                              the covered property, if the loss:                                    (2) design, specifications, workmanship, re-
                               (a) arises out of family violence against                                pair, construction, renovation, remodeling,
                                   an innocent insured; and                                             grading, or compaction;
                               (b) is caused by an intentional act of an                            (3) materials used in repair, construction,
                                   insured against whom a family vio-                                   renovation, remodeling, grading, or com-
                                   lence complaint is brought.                                          paction; or
                3.   We will not pay for, under any part of this policy, any                        (4) maintenance;
                     loss consisting of one or more of the items below.                             of any property (including land, structures, or
                     Further, we will not pay for any loss described in
                                                                                                    improvements of any kind) whether on or off
                     paragraphs 1. and 2. immediately above regardless                              the residence premises; or
                     of whether one or more of the following: (a) directly
                     or indirectly cause, contribute to, or aggravate the                     c.    weather conditions.
                     loss; or (b) occur before, at the same time, or after                    However, we will pay for any resulting loss from
                     the loss or any other cause of the loss:                                 items 3.a., 3.b., and 3.c. unless the resulting loss is
                     a.   conduct, act, failure to act, or decision of any                    itself a Loss Not Insured as described in this Sec-
                          person, group, organization, or governmental                        tion.


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                Only the Loss Settlement Provisions shown in the                                           in the Declarations, not to exceed the
                Declarations apply. We will settle covered property                                        cost to repair or replace the damaged part
                losses according to the following. However, the valuation                                  of the property;
                of any covered property losses does not include, and we
                will not pay, any amount for diminution in value.                                   (2) when the repair or replacement is actually
                                                                                                        completed, we will pay the covered addi-
                COVERAGE A – DWELLING                                                                   tional amount you actually and necessarily
                1.   A1 – Replacement Cost Loss Settlement – Simi-                                      spend to repair or replace the damaged
                     lar Construction.                                                                  part of the property, or an amount up to
                                                                                                        the applicable limit of liability shown in the
                     a.   We will pay the cost to repair or replace with                                Declarations, whichever is less;
                          similar construction and for the same use on
                          the premises shown in the Declarations, the                               (3) to receive any additional payments on a
                          damaged part of the property covered under                                    replacement cost basis, you must com-
                          SECTION I – PROPERTY COVERAGES,                                               plete the actual repair or replacement of
                          COVERAGE A – DWELLING, except for wood                                        the damaged part of the property within
                          fences, subject to the following:                                             two years after the date of loss, and notify
                                                                                                        us within 30 days after the work has been
                          (1) until actual repair or replacement is com-                                completed; and
                              pleted, we will pay only the actual cash
                              value of the damaged part of the property,                            (4) we will not pay for increased costs result-
                              up to the applicable limit of liability shown                             ing from enforcement of any ordinance or
                                                                                     18                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 55 of 172




                               law regulating the construction, repair, or                                 two years after the date of loss, and notify
                               demolition of a building structure or other                                 us within 30 days after the work has been
                               structure, except as provided under OP-                                     completed; and
                               TIONAL POLICY PROVISIONS, Option                                     (5) we will not pay for increased costs result-
                               OL – Building Ordinance or Law.
                                                                                                        ing from enforcement of any ordinance or
                     b.   Wood Fences: We will pay the actual cash                                      law regulating the construction, repair, or
                          value for loss or damage to wood fences, not to                               demolition of a building structure or other
                          exceed the limit of liability shown in the Declara-                           structure, except as provided under OP-
                          tions for COVERAGE A – Other Structures.                                      TIONAL POLICY PROVISIONS, Option
                                                                                                        OL – Building Ordinance or Law.
                2.   A2 – Replacement Cost Loss Settlement –
                     Common Construction.                                                     b.    Wood Fences: We will pay the actual cash
                                                                                                    value for loss or damage to wood fences, not
                     a.   We will pay the cost to repair or replace with
                          common construction and for the same use on                               to exceed the limit of liability shown in the Dec-
                          the premises shown in the Declarations, the                               larations for COVERAGE A – Other Struc-
                                                                                                    tures.
                          damaged part of the property covered under
                          SECTION I – PROPERTY COVERAGES,                              COVERAGE B – PERSONAL PROPERTY
                          COVERAGE A – DWELLING, except for wood
                          fences, subject to the following:                            1.     B1 – Limited Replacement Cost Loss Settlement.

                          (1) we will pay only for repair or replacement                      a.    We will pay the cost to repair or replace property
                              of the damaged part of the property with                              covered under SECTION I – PROPERTY
                              common construction techniques and ma-                                COVERAGES, COVERAGE B – PERSONAL
                              terials commonly used by the building                                 PROPERTY, except for property listed in item
                              trades in standard new construction. We                               b. below, subject to the following:
                              will not pay the cost to repair or replace
                              obsolete, antique, or custom construction                             (1) until repair or replacement is completed,
                                                                                                        we will pay only the actual cash value of
                              with like kind and quality;
                                                                                                        the damaged property;
                          (2) until actual repair or replacement is com-
                                                                                                    (2) after repair or replacement is completed,
                              pleted, we will pay only the actual cash
                              value of the damaged part of the property,                                we will pay the difference between the ac-
                              up to the applicable limit of liability shown                             tual cash value and the cost you have
                                                                                                        actually and necessarily spent to repair or
                              in the Declarations, not to exceed the
                              cost to repair or replace the damaged part                                replace the property; and
                              of the property as described in a.(1)                                 (3) if property is not repaired or replaced with-
                              above;                                                                    in two years after the date of loss, we will
                          (3) when the repair or replacement is actually                                pay only the actual cash value.
                              completed as described in a.(1) above, we                       b.    We will pay market value at the time of loss for:
                              will pay the covered additional amount
                              you actually and necessarily spend to re-                             (1) antiques, fine arts, paintings, statuary, and
                                                                                                        similar articles which by their inherent na-
                              pair or replace the damaged part of the
                              property, or an amount up to the applica-                                 ture cannot be replaced with new articles;
                              ble limit of liability shown in the Declara-                          (2) articles whose age or history contribute sub-
                              tions, whichever is less;                                                 stantially to their value including, but not
                          (4) to receive any additional payments on a                                   limited to, memorabilia, souvenirs, and
                                                                                                        collectors items; and
                              replacement cost basis, you must com-
                              plete the actual repair or replacement of                             (3) property not useful for its intended pur-
                              the damaged part of the property within                                   pose.
                                                                                     19                                                         HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 56 of 172




                     However, we will not pay an amount exceeding the                                (1) antiques, fine arts, paintings, statuary, and
                     smallest of the following for items a. and b. above:                                similar articles which by their inherent na-
                          (1) our cost to replace at the time of loss;                                   ture cannot be replaced with new articles;
                                                                                                     (2) articles whose age or history contribute
                          (2) the full cost of repair;
                                                                                                         substantially to their value including, but
                          (3) any special limit of liability described in                                not limited to, memorabilia, souvenirs, and
                              this policy; or                                                            collectors items; and
                          (4) any applicable Coverage B limit of liability.                          (3) property not useful for its intended purpose.
                2.   B2 – Depreciated Loss Settlement.                                         However, we will not pay an amount exceeding the
                                                                                               smallest of the following for items a. and b. above:
                     a.   We will pay the actual cash value for property
                          covered under SECTION I – PROPERTY                                         (1) our cost to replace at the time of loss;
                          COVERAGES, COVERAGE B – PERSONAL                                           (2) the full cost of repair;
                          PROPERTY, except for property listed in item                               (3) any special limit of liability described in
                          b. below.                                                                      this policy; or
                     b.   We will pay market value at the time of loss for:                          (4) any applicable Coverage B limit of liability.


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                1.   Insurable Interest and Limit of Liability. Even if                        c.    prepare an inventory of damaged or stolen per-
                     more than one person has an insurable interest in                               sonal property:
                     the property covered, we will not be liable:                                    (1) showing in detail the quantity, description,
                     a.   to the insured for an amount greater than the                                  age, replacement cost, and amount of
                          insured’s interest; or                                                         loss; and
                     b.   for more than the applicable limit of liability.                           (2) attaching all bills, receipts, and related
                2.   Your Duties After Loss. After a loss to which this                                  documents that substantiate the figures in
                     insurance may apply, you must cooperate with us in                                  the inventory;
                     the investigation of the claim and also see that the                      d.    as often as we reasonably require:
                     following duties are performed:                                                 (1) exhibit the damaged property;
                     a.   give immediate notice to us or our agent and                               (2) provide us with any requested records and
                          also notify:                                                                   documents and allow us to make copies;
                          (1) the police if the loss is caused by theft,                             (3) while not in the presence of any other insured:
                              vandalism, or any other criminal act; and
                                                                                                            (a) give statements; and
                          (2) the credit card company or bank if the loss
                              involves a credit card or bank fund trans-                                    (b) submit to examinations under oath; and
                              fer card;                                                              (4) produce employees, members of the in-
                     b.   protect the property from further damage or                                    sured’s household, or others for examina-
                          loss and also:                                                                 tion under oath to the extent it is within the
                                                                                                         insured’s power to do so; and
                          (1) make reasonable and necessary temporary
                              repairs required to protect the property; and                    e.    submit to us, within 60 days after the loss,
                                                                                                     your signed, sworn proof of loss that sets forth,
                          (2) keep an accurate record of repair expenses;                            to the best of your knowledge and belief:

                                                                                      20                                                         HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 57 of 172




                          (1) the time and cause of loss;                                          the appraiser’s identity within 20 days of re-
                                                                                                   ceipt of the written demand for appraisal.
                          (2) interest of the insured and all others in
                              the property involved and all encumbrances                     b.    The appraisers will then attempt to set the
                              on the property;                                                     amount of the loss of each item in dispute as
                          (3) other insurance that may cover the loss;                             specified by each party, and jointly submit to
                                                                                                   each party a written report of agreement signed
                          (4) changes in title or occupancy of the prop-
                                                                                                   by them. In all instances the written report of
                              erty during the term of this policy;
                                                                                                   agreement will be itemized and state separately
                          (5) specifications of any damaged structure                              the actual cash value, replacement cost, and
                              and detailed estimates for repair of the                             if applicable, the market value of each item in
                              damage;                                                              dispute.
                          (6) an inventory of damaged or stolen per-                               The written report of agreement will set the
                              sonal property described in 2.c.;
                                                                                                   amount of the loss of each item in dispute.
                          (7) receipts for additional living expenses in-
                                                                                             c.    If the two appraisers fail to agree upon the
                              curred and records supporting the fair
                              rental value loss; and                                               amount of the loss within 30 days, unless the
                                                                                                   period of time is extended by mutual agreement,
                          (8) evidence or affidavit supporting a claim                             they will select a competent, disinterested umpire
                              under SECTION I – ADDITIONAL COV-                                    and will submit their differences to the umpire.
                              ERAGES, Credit Card, Bank Fund
                                                                                                   If the appraisers are unable to agree upon an
                              Transfer Card, Forgery, and Counterfeit
                              Money coverage, stating the amount and                               umpire within 15 days:
                              cause of loss.                                                       (1) you or we may make a written application
                3.   Loss to a Pair or Set. In case of loss to a pair or                               for a judge of a court of record in the same
                     set, we may choose to:                                                            state and county (or city if the city is not
                                                                                                       within a county) where the residence
                     a.   repair or replace any part to restore the pair or                            premises is located to select an umpire;
                          set to its value before the loss; or
                                                                                                   (2) the party requesting the selection described
                     b.   pay the difference between the depreciated
                          value of the property before the loss and the                                in item c.(1) must provide the other party:
                          depreciated value of the property after the loss.                               (a) written notice of the intent to file,
                4.   Appraisal. If you and we fail to agree on the                                            identifying the specific location and
                     amount of loss, either party can demand that the                                         identity of the court at least 10 days
                     amount of the loss be set by appraisal. Only you or                                      prior to submission of the written ap-
                     we may demand appraisal. A demand for appraisal                                          plication; and
                     must be in writing. You must comply with SEC-                                        (b) a copy of the written application; and
                     TION I – CONDITIONS, Your Duties After Loss be-
                     fore making a demand for appraisal. At least 10 days                          (3) a written report of agreement, as required
                                                                                                       in item b., signed by any two (appraisers
                     before demanding appraisal, the party seeking ap-
                     praisal must provide the other party with written,                                or appraiser and umpire) will set the
                     itemized documentation of a specific dispute as to                                amount of the loss of each item in dispute.
                                                                                                       In all instances the written report of
                     the amount of the loss, identifying separately each
                     item being disputed.                                                              agreement will be itemized and state sep-
                                                                                                       arately the actual cash value, replace-
                     a.   Each party will select a competent, disinter-                                ment cost, and if applicable, the market
                          ested appraiser and notify the other party of                                value of each item in dispute.


                                                                                    21                                                        HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 58 of 172




                    d.   To qualify as an appraiser or umpire for a loss                    i.    Appraisal is a non-judicial proceeding and does
                         to property described in COVERAGE A –                                    not provide for or require arbitration. Neither
                         DWELLING, a person must be one of the fol-                               party will be awarded attorney fees. The ap-
                         lowing and be licensed or certified as required                          praisal award may not be entered as a judg-
                         by the applicable jurisdiction:                                          ment in a court.
                         (1) an engineer or architect with experience                       j.    A party may not demand appraisal after that
                             and training in building construction, re-                           party brings suit or action against the other party
                             pair, estimating, or investigation of the                            relating to the amount of loss.
                             type of property damage in dispute;                     5.     Other Insurance. If a loss covered by this policy is
                         (2) an adjuster or public adjuster with experi-                    also covered by other insurance, we will pay only
                             ence and training in estimating the type of                    our share of the loss. Our share is the proportion of
                             property damage in dispute; or                                 the loss that the applicable limit under this policy
                         (3) a contractor with experience and training                      bears to the total amount of insurance covering the loss.
                             in the construction, repair, and estimating             6.     Suit Against Us. No action will be brought against
                             of the type of property damage in dispute.                     us unless there has been full compliance with all of
                    e.   A person may not serve as an appraiser or                          the policy provisions. Any action by any party must
                                                                                            be started within one year after the date of loss or
                         umpire if that person, any employee of that
                         person, that person’s employer, or any em-                         damage.
                         ployee of their employer:                                          However, if the action results from a loss caused by
                                                                                            fire or lightning, the action must be started within
                         (1) has performed services for either party
                                                                                            two years after the date of loss or damage.
                             with respect to the claim at issue in the
                             appraisal; or                                           7.     Our Option. We may repair or replace any part of
                                                                                            the property damaged or stolen with similar property.
                         (2) has a financial interest in the outcome of                     Any property we pay for or replace becomes our
                             the claim at issue in the appraisal.                           property.
                    f.   Each party will be responsible for the compen-              8.     Loss Payment. We will adjust all losses with you.
                         sation of their selected appraiser. Reasonable                     We will pay you unless some other person is named
                         expenses of the appraisal and the reasonable                       in the policy or is legally entitled to receive payment.
                         compensation of the umpire will be paid equally                    Loss will be payable 60 days after we receive your
                         by you and us.                                                     proof of loss and:
                    g.   You and we do not waive any rights by de-                          a.    reach agreement with you;
                         manding or submitting to an appraisal, and re-
                         tain all contractual rights to determine if                        b.    there is an entry of a final judgment; or
                         coverage applies to each item in dispute.                          c.    there is a filing of an appraisal award with us.
                    h.   Appraisal is only available to determine the                9.     Abandonment of Property. We need not accept
                         amount of the loss of each item in dispute. The                    any property abandoned by an insured.
                         appraisers and the umpire have no authority to
                         decide:                                                     10. Mortgagee Clause. The word “mortgagee” includes
                                                                                         trustee.
                         (1) any other questions of fact;
                                                                                            a.    If a mortgagee is named in this policy, any loss
                         (2) questions of law;                                                    payable under Coverage A will be paid to the
                         (3) questions of coverage;                                               mortgagee and you, as interests appear. If
                                                                                                  more than one mortgagee is named, the order
                         (4) other contractual issues; or                                         of payment will be the same as the order of
                         (5) to conduct appraisal on a class-wide basis.                          precedence of the mortgages.

                                                                                   22                                                         HW-2111
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                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 59 of 172




                     b.   If we deny your claim that denial will not apply                                  plus any accrued interest. In this event,
                          to a valid claim of the mortgagee, if the mort-                                   we will receive a full assignment and
                          gagee:                                                                            transfer of the mortgage and all securities
                          (1) notifies us of any change in ownership,                                       held as collateral to the mortgage debt.
                              occupancy, or substantial change in risk of                      e.    Subrogation does not impair the right of the
                              which the mortgagee is aware;                                          mortgagee to recover the full amount of the
                                                                                                     mortgagee’s claim.
                          (2) pays on demand any premium due under
                              this policy, if you have not paid the pre-                11. No Benefit to Bailee. We will not recognize an
                              mium; and                                                     assignment or grant coverage for the benefit of a
                                                                                            person or organization holding, storing, or transport-
                          (3) submits a signed, sworn statement of loss                     ing property for a fee. This applies regardless of any
                              within 60 days after receiving notice from                    other provision of this policy.
                              us of your failure to do so. Policy condi-
                              tions relating to Appraisal, Suit Against                 12. Recovered Property. If either you or we recover
                              Us, and Loss Payment apply to the mort-                       any property after loss settlement, that party must
                              gagee.                                                        give the other prompt notice. At your option, you
                                                                                            may keep the property or we will return it to you.
                     c.   If we cancel this policy, the mortgagee will be                   Otherwise, it will become our property. If you
                          notified at least 10 days before the date cancel-                 choose to keep the property, the loss payment will
                          lation takes effect. Proof of mailing will be                     be adjusted based on the amount you received for
                          proof of notice.                                                  the recovered property.
                     d.   If we pay the mortgagee for any loss and deny                 13. Assignment of Claim. Assignment to another party
                          payment to you:                                                   of any of your rights or duties under this policy re-
                          (1) we are subrogated to all the rights of the                    garding any claim, or any part of any claim, will be
                              mortgagee granted under the mortgage on                       void and we will not recognize any such assign-
                              the property; or                                              ment, unless we give our written consent. However,
                                                                                            once you have complied with all policy provisions,
                          (2) at our option, we may pay to the mortga-                      you may assign to another party, in writing, payment
                              gee the whole principal on the mortgage                       of claim proceeds otherwise payable to you.
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                COVERAGE L – PERSONAL LIABILITY                                         COVERAGE M – MEDICAL PAYMENTS TO OTHERS
                If a claim is made or a suit is brought against an insured              We will pay the necessary medical expenses incurred or
                for damages because of bodily injury or property dam-                   medically ascertained within three years from the date of
                age to which this coverage applies, caused by an occur-                 an accident causing bodily injury. Medical expenses
                rence, we will:                                                         means reasonable charges for medical, surgical, x-ray,
                1. pay up to our limit of liability for the damages for                 dental, ambulance, hospital, professional nursing,
                      which the insured is legally liable. We will not pay              rehabilitation, pharmaceuticals, orthopedic devices,
                      for criminal restitution; and                                     prosthetic devices, and funeral services. This coverage
                2. provide a defense at our expense by counsel of our                   applies only:
                      choice. We may make any investigation and settle                  1.     to a person on the insured location with the per-
                      any claim or suit that we decide is appropriate. Our                     mission of an insured;
                      obligation to defend any suit ends when the amount
                      we pay for damages, to effect settlement or satisfy a             2.     to a person off the insured location, if the bodily
                      judgment resulting from the occurrence, equals our                       injury:
                      limit of liability. We will not provide a defense to any                 a. arises out of a condition on the insured loca-
                      insured for criminal prosecution or proceedings.                              tion or the ways immediately adjoining;
                                                                                      23                                                        HW-2111
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                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 60 of 172




                     b.      is caused by the activities of an insured;                        covered under this policy. We will not pay for first
                     c.      is caused by a residence employee in the                          aid to you or any other insured.
                             course of the residence employee’s employ-                 3.     Damage to Property of Others.
                             ment by an insured; or                                            a. We will pay for property damage to property of
                       d. is caused by an animal owned by or in the care                             others caused by the activities of an insured.
                             of an insured; or                                                 b. We will not pay more than the smallest of the
                3. to a residence employee if the occurrence caus-                                   following amounts:
                       ing bodily injury occurs off the insured location                             (1) replacement cost at the time of loss;
                       and arises out of or in the course of the residence
                       employee’s employment by an insured.                                          (2) full cost of repair; or
                SECTION II – ADDITIONAL COVERAGES                                                    (3) the limit of liability shown in the Declara-
                                                                                                           tions for Damage to Property of Others
                The following Additional Coverages are subject to all the                                  for any one occurrence.
                terms, provisions, exclusions, and conditions of this policy.
                                                                                               c. We will not pay for property damage:
                We will pay for the following in addition to the limits of
                liability:                                                                           (1) for a loss that is recoverable under Sec-
                                                                                                           tion I of this policy. We also will not pay
                1. Claim Expenses. We will pay:                                                            for any applicable deductible regardless of
                       a. expenses we incur and costs taxed against an                                     whether the amount of the loss exceeds
                             insured in suits we defend. Taxed costs do                                    the deductible;
                             not include attorney fees;                                              (2) caused intentionally by an insured 13
                       b. premiums on bonds required in suits we de-                                     years of age or older;
                             fend, but not for bond amounts greater than the
                             Coverage L limit. We are not obligated to apply                         (3) to property, other than a rented golf cart,
                             for or furnish any bond;                                                    owned by, or rented to an insured, a ten-
                                                                                                         ant of an insured, or a resident in your
                       c. reasonable expenses an insured incurs at our                                   household;
                             request. This includes actual loss of earnings
                             (but not loss of other income) up to $250 per                           (4) arising out of:
                             day for aiding us in the investigation or defense                           (a) business pursuits;
                             of claims or suits;                                                            (b) any act or omission in connection with
                       d. interest the insured is legally liable to pay on                                      a premises an insured owns, rents, or
                             damages payable under Coverage L above be-                                         controls, other than the insured
                             fore a judgment, but only the interest on the                                      location;
                             lesser of:
                                                                                                            (c) a condition on the insured location
                             (1) that part of the damages we pay; or                                            or the ways immediately adjoining; or
                             (2) the Coverage L limit; and                                               (d) the ownership, maintenance, or use
                       e. interest on the entire judgment that accrues af-                                     of a motor vehicle, aircraft, or wa-
                             ter entry of the judgment and before we pay or                                    tercraft, including airboat, air cushion,
                             tender, or deposit in court that part of the judg-                                personal watercraft, sail board, or
                             ment that does not exceed the limit of liability                                  similar type watercraft; or
                             that applies.                                                           (5) if a payment is made under COVERAGE
                2. First Aid Expenses. We will pay expenses for first                                    L – PERSONAL LIABILITY for the same
                       aid to others incurred by an insured for bodily injury                            property damage.



                                                                                      24                                                        HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 61 of 172




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                1.   Coverage L and Coverage M do not apply to:                                                  nights in the 12-month period prior to
                     a. bodily injury or property damage that:                                                   the date of the loss;
                         (1) was a result of a:                                                            (b) in part, for use as a permanent resi-
                             (a) willful and malicious; or                                                     dence, by either one or two full-time
                             (b) criminal;                                                                     roomers or boarders; or
                             act or omission of the insured;                                               (c) in part, as an office, school, studio, or
                         (2) was intended by the insured; or                                                   private garage;
                         (3) would have been expected by the insured                                (2) when the dwelling on the residence
                             based on a reasonable person standard.                                     premises is a two, three, or four family
                          However, exclusions a.(2) and a.(3) above do                                  dwelling and you occupy one part and
                          not apply to bodily injury or property damage                                 rent the other part to others;
                          resulting from the use of reasonable force to                             (3) to farm land (without buildings), rented to
                          protect persons or property.                                                  others, but not to exceed a total of 500
                          Exclusions a.(1), a.(2), and a.(3) above apply to                             acres, regardless of the number of loca-
                          all bodily injury or property damage even if                                  tions; or
                          the:                                                                      (4) to activities that are ordinarily incident to
                          (1) bodily injury or property damage was                                      non-business pursuits;
                              sustained by a different person, entity, or                     d.    bodily injury or property damage arising out
                              property than was expected or intended;                               of the rendering or failing to render professional
                          (2) bodily injury or property damage was of                               services;
                              a different kind, quality, or degree than                       e.    bodily injury or property damage arising out
                              was expected or intended;                                             of any premises currently owned or rented to
                          (3) insured lacked the mental capacity to                                 any insured which is not an insured location.
                              control his or her conduct;                                           This exclusion does not apply to bodily injury
                                                                                                    to a residence employee arising out of and in
                          (4) insured was not charged with or con-                                  the course of the residence employee’s em-
                              victed of a criminal act or omission; or                              ployment by an insured;
                          (5) insured was impaired by drugs or alcohol;                       f.    bodily injury or property damage arising out
                                                                                                    of the ownership, maintenance, use, loading, or
                     b.   bodily injury or property damage arising out                              unloading of:
                          of business pursuits of any insured, except as
                          provided in item c. below. This exclusion does                            (1) an aircraft. This exclusion does not apply
                          not apply to activities that are ordinarily incident                          to the ownership, maintenance, use, load-
                          to non-business pursuits;                                                     ing, or unloading of unmanned aircraft
                                                                                                        systems used as model aircraft:
                     c.   bodily injury or property damage arising out
                          of the rental of any part of any premises by any                                 (a) solely for recreational or hobby pur-
                          insured. This exclusion does not apply:                                              poses;
                                                                                                           (b) designed to be operated within the
                          (1) to the rental of the residence premises:
                                                                                                               visual line of sight of the operator and
                               (a) either completely or in part, for exclu-                                    operated within the visual line of sight
                                   sive use as a residence, for up to 30                                       of the operator; and
                                                                                     25                                                         HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 62 of 172




                              (c) weighing not more than 55 pounds at                               (2) the supervision by any insured of any
                                  the time of operation;                                                person;
                              unless the ownership, maintenance, use,                               (3) any liability statutorily imposed on any in-
                              loading, or unloading of such aircraft results in:                        sured; or

                              (a) property damage to any aircraft; or                               (4) any liability assumed through an unwritten
                                                                                                        or written agreement by any insured;
                              (b) bodily injury or property damage
                                                                                                    with regard to the ownership, maintenance, or
                                  resulting from interference with an                               use of any aircraft, watercraft, or motor vehi-
                                  aircraft carrying people regardless of                            cle not covered under Section II of this policy;
                                  whether the bodily injury or prop-
                                  erty damage is sustained by people                          h.    bodily injury or property damage caused di-
                                                                                                    rectly or indirectly by war, including undeclared
                                  or property on the aircraft or not;
                                                                                                    war, or any warlike act including destruction,
                         (2) a motor vehicle owned or operated by or                                seizure, or use for a military purpose, or any
                             rented or loaned to any insured; or                                    consequence of these. Discharge of a nuclear
                                                                                                    weapon will be considered a warlike act even if
                         (3) a watercraft:                                                          accidental;
                              (a) owned by or rented to any insured if                        i.    bodily injury to any insured within the mean-
                                  it has inboard or inboard-outdrive mo-                            ing of part 9.a., 9.b., or 9.c. of the definition of
                                  tor power of more than 50 horsepower;                             insured.
                              (b) owned by or rented to any insured if                              This exclusion also applies to any claim made
                                  it is a sailing vessel, with or without                           or suit brought against any insured within the
                                  auxiliary power, 26 feet or more in                               meaning of part 9.a., 9.b., or 9.c. of the defini-
                                  overall length;                                                   tion of insured to share damages with or repay
                                                                                                    someone else who may be obligated to pay
                              (c) powered by one or more outboard                                   damages because of the bodily injury sus-
                                  motors with more than 25 total                                    tained by any insured within the meaning of
                                  horsepower owned by any insured;                                  part 9.a., 9.b., or 9.c. of the definition of in-
                                                                                                    sured;
                              (d) designated as an airboat, air cushion,
                                  or similar type of craft; or                                j.    any claim made or suit brought against any in-
                                                                                                    sured by:
                              (e) owned by any insured if it is a per-
                                  sonal watercraft using a water jet                                (1) any person in the care of any insured be-
                                  pump powered by an internal com-                                      cause of child care services provided by
                                  bustion engine as the primary source                                  or at the direction of:
                                  of propulsion.                                                        (a) any insured;
                         This exclusion does not apply to bodily injury                                 (b) any employee of any insured; or
                         to a residence employee arising out of and in
                                                                                                        (c) any other person actually or appar-
                         the course of the residence employee’s em-                                          ently acting on behalf of any insured;
                         ployment by an insured. Exclusion f.(3) does                                        or
                         not apply while the watercraft is on the resi-
                                                                                                    (2) any person who makes a claim because
                         dence premises;
                                                                                                        of bodily injury to any person in the care
                    g.   bodily injury or property damage arising out of:                               of any insured because of child care ser-
                         (1) the entrustment by any insured to any                                      vices provided by or at the direction of:
                             person;                                                                       (a) any insured;

                                                                                     26                                                         HW-2111
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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 63 of 172




                              (b) any employee of any insured; or                                  (1) request, demand, order, or statutory or
                                                                                                       regulatory requirement that any insured
                              (c) any other person actually or appar-
                                  ently acting on behalf of any insured.                               or others test for, monitor, clean up, re-
                                                                                                       move, contain, treat, detoxify, neutralize,
                         This exclusion does not apply to the occasional                               remediate, dispose of, or in any way re-
                         child care services provided by any insured, or                               spond to or assess the effects of fungus;
                         to the part-time child care services provided by                              or
                         any insured under 19 years of age;
                                                                                                   (2) claim or suit for damages because of test-
                    k.   bodily injury or property damage arising out                                  ing for, monitoring, cleaning up, removing,
                         of an insured’s participation in, or preparation                              containing, treating, detoxifying, neutraliz-
                         or practice for, any prearranged or organized                                 ing, remediating, disposing of, or in any
                         race, speed or demolition contest, or similar
                                                                                                       way responding to or assessing the ef-
                         competition involving a motorized land vehicle
                         or motorized watercraft. This exclusion does                                  fects of fungus; or
                         not apply to a sailing vessel less than 26 feet in                  o.    bodily injury or property damage arising out
                         overall length with or without auxiliary power;                           of the ownership, maintenance, or use of sys-
                    l.   bodily injury or property damage arising out                              tems and equipment used to generate electrical
                         of the use, sale, manufacture, distribution, de-                          power exceeding 125 percent of the actual
                         livery, transfer, or possession, by any insured,                          electrical power usage by the residence prem-
                         of any substance that is illegal or is a controlled                       ises in the 12-month period prior to the date of
                         substance under either federal or state law.                              the loss.
                         This exclusion does not apply to:                            2.     Coverage L does not apply to:
                         (1) the legitimate use of legally prescribed                        a.    liability:
                             drugs, under either federal or state law, by
                             a person following orders of a licensed                               (1) for your share of any loss assessment
                             health care professional; or                                              charged against all members of any type
                                                                                                       of association of property owners; or
                         (2) an insured who did not knowingly partici-
                             pate or cooperate in the acts described in                            (2) imposed on or assumed by any insured
                             paragraph l. above;                                                       through any unwritten or written contract
                    m. bodily injury or property damage arising out                                    or agreement. This exclusion does not
                       of any actual, alleged, or threatened:                                          apply to liability for damages that the in-
                                                                                                       sured would have in absence of the con-
                         (1) sexual harassment, sexual molestation, or                                 tract or agreement;
                             sexual misconduct;
                                                                                             b.    property damage to property owned by any
                         (2) physical or mental abuse; or                                          insured at the time of the occurrence;
                         (3) corporal punishment;                                            c.    property damage to property rented to, used
                         by the insured;                                                           or occupied by, or in the care, custody, or con-
                                                                                                   trol of any insured at the time of the occur-
                    n.   bodily injury or property damage arising out                              rence. This exclusion does not apply to
                         of the actual, alleged, or threatened inhalation                          property damage caused by fire, smoke, ex-
                         of, ingestion of, contact with, exposure to, ex-                          plosion, or abrupt and accidental damage from
                         istence of, or presence of any fungus at or                               water;
                         from any source or location.
                                                                                             d.    bodily injury to a person eligible to receive
                         We also do not cover any loss, cost, or ex-                               any benefits required to be provided or volun-
                         pense arising out of any:                                                 tarily provided by an insured under a workers’

                                                                                    27                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 64 of 172




                          compensation, non-occupational disability, or                                (1) bodily injury arising out of fire, smoke,
                          occupational disease law;                                                        explosion, electrocution, or carbon monox-
                                                                                                           ide poisoning; or
                     e.   bodily injury or property damage for which an
                          insured under this policy is also an insured under                           (2) property damage arising out of fire,
                          a nuclear energy liability policy or would be an in-                             smoke, or explosion.
                          sured but for its termination upon exhaustion of its            3.     Coverage M does not apply to bodily injury:
                          limit of liability. A nuclear energy liability policy is a             a. to a residence employee if it occurs off the in-
                          policy issued by Nuclear Energy Liability Insur-                           sured location and does not arise out of or in
                          ance Association, Mutual Atomic Energy Liability                           the course of the residence employee’s em-
                          Underwriters, Nuclear Insurance Association of                             ployment by an insured;
                          Canada, or any of their successors;
                                                                                                 b.    to a person eligible to receive any benefits re-
                     f.   bodily injury or property damage arising out                                 quired to be provided or voluntarily provided
                          of any real property any insured has sold or                                 under any workers’ compensation, non-
                          transferred. This includes but is not limited to                             occupational disability, or occupational disease
                          bodily injury or property damage arising out                                 law;
                          of known, unknown, hidden, or alleged property                         c.    to a person other than a residence employee
                          conditions, problems, or defects.                                            of an insured, regularly residing on any part of
                                                                                                       the insured location; or
                          This exclusion also applies to any property
                          damage to the sold or transferred real property                        d.    from nuclear reaction, radiation, or radioactive
                          itself.                                                                      contamination, all whether controlled or uncon-
                                                                                                       trolled or however caused, or any consequence
                          However, this exclusion does not apply to:                                   of any of these.


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                1.   Limit of Liability. The Coverage L limit is shown in                        that apply. You must cooperate with us in seeing
                     the Declarations. This is the limit for all damages                         that these duties are performed:
                     from each occurrence for the policy period in which
                                                                                                 a.    give written notice to us or our agent as soon
                     the bodily injury or property damage first occurs,
                     regardless of the number of insureds, claims made,                                as possible, which sets forth:
                     or persons injured. No additional limits or coverage                              (1) the identity of this policy and the insured;
                     will be available for the occurrence under any addi-
                     tional policy periods while this policy remains in force.                         (2) reasonably available information on the
                     The Coverage M limit is shown in the Declarations.                                    time, place, and circumstances of the ac-
                     This is our limit for all medical expenses for bodily                                 cident or occurrence; and
                     injury to one person as the result of one accident.                               (3) names and addresses of any claimants
                2.   Severability of Insurance. This insurance applies                                     and available witnesses;
                     separately to each insured. This condition does not
                     increase our limit of liability for any one occur-                          b.    immediately forward to us every notice, demand,
                     rence.                                                                            summons, or other process relating to the acci-
                                                                                                       dent or occurrence;
                3.   Duties After Loss. In case of an accident or oc-
                     currence, the insured must cooperate with us in                             c.    at our request, assist in:
                     the investigation, settlement, or defense of any
                     claim or suit and also perform the following duties                               (1) making settlement;

                                                                                        28                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 65 of 172




                          (2) the enforcement of any right of contribution                     c.    any authorizations from the injured person as
                              or indemnity against a person or organiza-                             we may require.
                              tion who may be liable to an insured;                     5.     Payment of Claim – Coverage M or Damage to
                          (3) the conduct of suits and attend hearings                         Property of Others. Payment under either of these
                              and trials; and                                                  is not an admission of liability by an insured or us.
                          (4) securing and giving evidence and obtaining                6.     Suit Against Us. No action will be brought against
                              the attendance of witnesses;                                     us unless there has been compliance with the policy
                     d.   under SECTION II – ADDITIONAL COVER-                                 provisions.
                          AGES, Damage to Property of Others, exhibit                          No one will have the right to join us as a party to an
                          the damaged property if within the insured’s                         action against an insured. Further, no action with
                          control; and                                                         respect to Coverage L will be brought against us
                     e.   the insured must not, except at the insured’s                        until the obligation of the insured has been deter-
                          own cost, voluntarily make payments, assume                          mined by final judgment on the merits, after an ac-
                          obligations, or incur expenses. This does not                        tual trial or by an agreement signed by us; but we
                          apply to expense for first aid to others at the                      will not be liable for damages that are not payable
                          time of the bodily injury.                                           under the terms of this policy or that are in excess of
                4.   Coverage M Requirements. We may require the                               the applicable Limit of Liability.
                     following in regard to any Coverage M claim:                       7.     Bankruptcy of an Insured. Bankruptcy or insolvency
                     a.   written proof of claim, under oath if required, as                   of an insured will not relieve us of our obligation under
                          soon as possible from the injured person, or                         this policy.
                          when appropriate, someone acting on behalf of                 8.     Other Insurance – Coverage L. This insurance is
                          that person;                                                         excess over any other valid and collectible insur-
                     b.   the injured person’s submission to physical ex-                      ance except insurance written specifically to cover
                          aminations by a physician selected by us when                        as excess over the limits of liability that apply in this
                          and as often as we reasonably require; and                           policy.


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                1.   Policy Period. This policy applies only to loss under                                  (a) material; or
                     Section I or bodily injury or property damage under                                 (b) made with intent to deceive; or
                     Section II that occurs during the period this policy is in
                                                                                                     (2) that contribute to the loss.
                     effect.
                                                                                               b.    No failure of a policy condition before the loss
                2.   Concealment or Fraud.                                                           and no breach of a promissory warranty affects
                     a.   This policy is void as to you and any other in-                            our obligations under this policy unless such
                          sured if you or any other insured under this                               failure or breach exists at the time of loss and
                          policy has intentionally concealed or misrepre-                            either:
                          sented any material fact or circumstance relat-                            (1) increases the risk at the time of loss; or
                          ing to this insurance, whether before or after a                           (2) contributes to the loss.
                          loss.
                                                                                                     Item 2.b. does not apply to failure to tender
                          However, this condition applies only to facts or                           payment of premium.
                          circumstances:
                                                                                               c.    Violation of this condition by an insured does
                          (1) on which we rely and are either:                                       not apply to a claim of an innocent insured, to
                                                                                      29                                                        HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 66 of 172




                          the extent of the innocent insured’s interest in                                 our agent or under any finance or credit
                          the covered property, if the loss:                                               plan.
                          (1) arises out of family violence against an in-                          (2) When this policy has been in effect for
                              nocent insured; and                                                       less than 60 days and is not a renewal
                          (2) is caused by an intentional act of an in-                                 with us, we may cancel for any reason.
                              sured against whom a family violence                                      We may cancel by notifying you at least
                                                                                                        30 days before the date cancellation takes
                              complaint is brought.
                                                                                                        effect.
                3.   Liberalization Clause. If we adopt any revision
                                                                                                    (3) When this policy has been in effect for 60
                     that would broaden coverage under this policy with-                                days or more, or at any time if it is a re-
                     out additional premium, within 60 days prior to or                                 newal with us, we may cancel:
                     during the period this policy is in effect, the broad-
                     ened coverage will immediately apply to this policy.                                  (a) if there has been a material misrep-
                                                                                                               resentation of fact that, if known to
                4.   Waiver or Change of Policy Provisions. A waiver                                           us, would have caused us not to is-
                     or change of any provision of this policy must be in                                      sue this policy; or
                     writing by us to be valid. Our request for an ap-
                                                                                                           (b) if the risk has changed substantially
                     praisal or examination does not waive any of our
                     rights.                                                                                   since this policy was issued.
                                                                                                           We may cancel this policy by notifying
                5.   Cancellation.
                                                                                                           you at least 30 days before the date can-
                     a.   You may cancel this policy at any time by giv-                                   cellation takes effect.
                          ing us advance written notice of the date can-                            (4) When this policy is written for a period
                          cellation is to take effect. If only your interest                            longer than one year, we may cancel for
                          is affected, the effective date of cancellation will                          any reason at anniversary. We may can-
                          be the later of:                                                              cel by notifying you at least 30 days be-
                          (1) the date we receive your notice of                                        fore the date cancellation takes effect.
                              cancellation; or                                                c.    When this policy is cancelled, the premium for
                          (2) the date specified in the notice.                                     the period from the date of cancellation to the
                                                                                                    expiration date will be refunded. The return
                          However, upon receipt of your notice of can-                              premium will be pro rata.
                          cellation, we may waive the requirement that
                          the notice be in writing by confirming the date                     d.    The return premium may not be refunded with
                          and time of cancellation to you in writing.                               the notice of cancellation or when this policy is
                                                                                                    returned to us. In such cases, we will refund it
                     b.   We may cancel this policy only for the reasons                            within a reasonable time after the date cancel-
                          stated in this condition. We will notify you in                           lation takes effect.
                          writing of the date cancellation takes effect.                      e.    If we cancel this policy, we will notify any mort-
                          This cancellation notice may be delivered to                              gagee shown in this policy in accordance with
                          you, or mailed to you at your mailing address                             Georgia state insurance law.
                          shown in the Declarations. Proof of mailing
                                                                                       6.     Nonrenewal. We may elect not to renew this policy.
                          will be sufficient proof of notice:
                                                                                              If we elect not to renew, a written notice will be de-
                          (1) When you have not paid the premium, we                          livered to you, or mailed to you at your mailing ad-
                              may cancel at any time by notifying you at                      dress shown in the Declarations. The notice will be
                              least 10 days before the date cancellation                      mailed or delivered at least 30 days before the expi-
                              takes effect.    This condition applies                         ration date of this policy. Proof of mailing will be suf-
                              whether the premium is payable to us or                         ficient proof of notice.

                                                                                     30                                                        HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 67 of 172




                     If we elect not to renew this policy, we will notify any                       to the premises and property of the deceased
                     mortgagee shown in this policy in accordance with                              covered under this policy at the time of death;
                     Georgia state insurance law.                                             b.    insured includes:
                7.   Assignment of Policy. Assignment of this policy
                                                                                                    (1) any member of your household who is an
                     will be void and we will not recognize any such as-
                     signment, unless we give our written consent.                                      insured at the time of your death, but only
                                                                                                        while a resident of the residence prem-
                8.   Subrogation and Reimbursement.                                                     ises; and
                     a.   Subrogation.                                                              (2) with respect to your property, the person
                          (1) Applicable to SECTION I:                                                  having proper temporary custody of the
                               If any insured to or for whom we make                                    property until appointment and qualifica-
                               payment under this policy has rights to re-                              tion of a legal representative.
                               cover damages from another, those rights                10. Conformity to State Law. When a policy provision
                               are transferred to us to the extent of our                  is in conflict with the applicable law of the state in
                               payment. That insured must do every-                        which this policy is issued, the law of the state will
                               thing necessary to secure our rights and                    apply.
                               must do nothing after loss to impair them.
                               However before a loss, an insured may                   11. Premium.
                               waive in writing all rights of recovery                        a.    Unless as otherwise provided by an alternative
                               against any person.                                                  payment plan in effect with the State Farm
                          (2) Applicable to SECTION II:                                             Companies with respect to the premium for
                                                                                                    this policy, the premium is due and payable
                               If any insured has rights to recover all or                          in full on or before the first day of the policy
                               part of any payment we have made under                               period shown in the most recently issued Dec-
                               this policy, those rights are transferred to                         larations.
                               us. An insured must do nothing after loss
                                                                                              b.    The renewal premium for this policy will be
                               to impair them. At our request, an in-                               based upon the rates in effect, the coverages
                               sured will bring suit or transfer those                              carried, the applicable limits, deductibles, and
                               rights to us and help us enforce them.                               other elements that affect the premium appli-
                          Subrogation does not apply under Section II to                            cable at the time of renewal.
                          Medical Payments to Others or Damage to                             c.    The premium for this policy may vary based
                          Property of Others.                                                       upon:
                     b.   Reimbursement.                                                            (1) the purchase of other products or services
                          If we make payment under this policy and any                                  from the State Farm Companies;
                          insured to or for whom we make payment re-                                (2) the purchase of products or services from
                          covers or has recovered from another person                                   an organization that has entered into an
                          or organization, then the insured to or for                                   agreement or contract with the State
                          whom we make payment must:                                                    Farm Companies. The State Farm
                          (1) hold in trust for us the proceeds of any re-                              Companies do not warrant the merchant-
                              covery; and                                                               ability, fitness, or quality of any product or
                                                                                                        service offered or provided by that organi-
                          (2) reimburse us to the extent of our payment.                                zation; or
                9.   Death. If you die:                                                             (3) an agreement, concerning the insurance
                     a.   we insure the legal representative of the de-                                 provided by this policy, that the State
                          ceased. This condition applies only with respect                              Farm Companies has with an organization

                                                                                     31                                                       HW-2111
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Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 68 of 172




                              of which you are a member, employee,                          insurance inspections, surveys, reports, or recom-
                              subscriber, licensee, or franchisee.                          mendations on our behalf.
                    d.   Your purchase of this policy may allow:                     13. Joint and Individual Interests. When there are
                         (1) you to purchase or obtain certain coverages,                two or more Named Insureds, each acts for all to
                             coverage options, coverage deductibles,                     cancel or change this policy.
                             coverage limits, or coverage terms on                   14. Change of Policy Address. We may change the
                             other products from the State Farm                          Named Insured’s policy address as shown in the
                             Companies, subject to their applicable el-
                                                                                         Declarations and in our records to the most recent
                             igibility rules; or
                                                                                         address provided to us by:
                         (2) the premium or price for other products or
                             services purchased by you, including non-                      a.    you; or
                             insurance products or services, to vary.                       b.    the United States Postal Service.
                             Such other products or services must be
                             provided by the State Farm Companies                    15. Electronic Delivery. With your consent, we may
                             or by an organization that has entered into                 electronically deliver any document or notice, includ-
                             an agreement or contract with the State                     ing a notice to renew, nonrenew, or cancel, instead
                             Farm Companies. The State Farm Com-                         of mailing it or delivering it by other means. Proof of
                             panies do not warrant the merchantability,                  transmission will be sufficient proof of notice.
                             fitness, or quality of any product or service
                             offered or provided by that organization.               16. Our Rights Regarding Claim Information.
                12. Right to Inspect.                                                       a.    We will collect, receive, obtain, use, and retain
                                                                                                  all the items described in item b.(1) below and
                    a.   We have the right but are not obligated to per-
                                                                                                  use and retain the information described in item
                         form the following:
                                                                                                  b.(3)(b) below, in accordance with applicable
                         (1) make inspections and surveys of the in-                              federal and state laws and regulations and
                             sured location at any time;                                          consistent with the performance of our busi-
                         (2) provide you with reports on conditions we                            ness functions.
                             find; or                                                       b.    Subject to 16.a. above, we will not be restricted
                         (3) recommend changes.                                                   in or prohibited from:
                         Any inspections, surveys, reports, or recom-                             (1) collecting, receiving, or obtaining records,
                         mendations relate only to insurability and the                               receipts, invoices, medical bills, medical
                         premiums to be charged.                                                      records, wage information, salary infor-
                                                                                                      mation, employment information, data,
                    b.   We do not:
                                                                                                      and any other information;
                         (1) make safety inspections;
                                                                                                  (2) using any of the items described in item
                         (2) undertake to perform the duty of any per-                                b.(1) above; or
                             son or organization to provide for the
                                                                                                  (3) retaining:
                             health or safety of workers or the public;
                         (3) warrant that conditions are safe or health-                                 (a) any of the items in item b.(1) above;
                                                                                                             or
                             ful; or
                         (4) warrant that conditions comply with laws,                                   (b) any other information we have in our
                                                                                                             possession as a result of our pro-
                             regulations, codes, or standards.
                                                                                                             cessing, handling, or otherwise re-
                    This condition applies to us and to any rating, advi-                                    solving claims submitted under this
                    sory, rate service, or similar organization that makes                                   policy.

                                                                                   32                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 69 of 172




                     c.   We may disclose any of the items in b.(1)                                (1) authorization related to any claim submit-
                          above and any of the information described in                                ted under this policy; or
                          item b.(3)(b) above:
                                                                                                   (2) act or omission of an insured or a legal
                          (1) to enable performance of our business                                    representative acting on an insured’s be-
                              functions;                                                               half.
                          (2) to meet our reporting obligations to insur-             17. Duties Regarding Claim Information. An insured
                              ance regulators;                                            or a legal representative acting on an insured’s be-
                          (3) to meet our reporting obligations to insur-                 half must provide us with any requested authoriza-
                              ance data consolidators;                                    tions related to the claim. Our rights as set forth
                                                                                          under Our Rights Regarding Claim Information of
                          (4) to meet other obligations required by law;                  this policy will not be impaired by any:
                              and
                                                                                             a.    authorization related to the claim; or
                          (5) as otherwise permitted by law.
                                                                                             b.    act or omission of an insured or a legal repre-
                     d.   Our rights under 16.a., 16.b., and 16.c. above
                          will not be impaired by any:                                             sentative acting on an insured’s behalf.

                                                    237,21$/32/,&<3529,6,216
                Each Optional Policy Provision applies only as shown in               1.     Section II coverage applies to the business pursuits
                the Declarations and is subject to all the terms, provi-                     of an insured who is a:
                sions, exclusions, and conditions of this policy.
                                                                                             a.    clerical office employee, salesperson, collector,
                Option AI – Additional Insured. The definition of in-                              messenger; or
                sured is extended to include the person or organization
                shown in the Declarations as an Additional Insured or                        b.    teacher (except college, university, and profes-
                whose name is on file with us. Coverage is with respect to:                        sional athletic coaches), school principal, or
                                                                                                   school administrator;
                1.   SECTION I – Coverage A, Coverage B, or Cover-
                                                                                             while acting within the scope of the above listed
                     age C; or
                                                                                             occupations.
                2.   SECTION II – Coverage L and Coverage M but only                  2.     However, no coverage is provided:
                     with respect to the residence premises. This cover-
                     age does not apply to bodily injury to an employee                      a.    for bodily injury or property damage arising
                     arising out of or in the course of the employee’s em-                         out of a business owned or financially con-
                     ployment by the person or organization.                                       trolled by the insured or by a partnership of
                                                                                                   which the insured is a partner or member;
                This option applies only with respect to the location
                shown in the Declarations.                                                   b.    for bodily injury or property damage aris-
                                                                                                   ing out of the rendering of or failure to render
                Option BP – Business Property. The COVERAGE B –                                    professional services of any nature (other than
                PERSONAL PROPERTY, Special Limits of Liability,                                    teaching or school administration). This exclu-
                item b., for property used or intended for use in a busi-                          sion includes but is not limited to:
                ness, including merchandise held as samples or for sale                            (1) computer programming, architectural,
                or for delivery after sale, is changed as follows:                                     engineering, or industrial design services;
                     The $1,500 limit is replaced with the amount shown                            (2) medical, surgical, dental, or other services
                     in the Declarations for this option.                                              or treatment conducive to the health of
                Option BU – Business Pursuits. SECTION II – EX-                                        persons or animals; and
                CLUSIONS, item 1.b. is modified as follows:                                        (3) beauty or barber services or treatment;

                                                                                    33                                                       HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 70 of 172




                     c.   for bodily injury to a fellow employee of the                       c.    any process of refinishing, renovating, or repairing;
                          insured injured in the course of employment;
                                                                                              d.    dampness of atmosphere or extremes of tem-
                          or
                                                                                                    peratures;
                     d.   when the insured is a member of the faculty or
                                                                                              e.    inherent defect or faulty manufacture;
                          teaching staff of a school or college:
                          (1) for bodily injury or property damage                            f.    rust, fouling, or explosion of firearms;
                              arising out of the maintenance, use, load-                      g.    breakage, marring, scratching, tearing, or denting
                              ing, or unloading of:                                                 unless caused by fire, thieves, or accidents to
                                                                                                    conveyances; or
                               (a) draft or saddle animals, including ve-
                                   hicles for use with them; or                               h.    infidelity of an insured’s employees or persons
                                                                                                    to whom the insured property may be entrusted
                               (b) aircraft, motor vehicles, recreational
                                   motor vehicles or watercraft, air-                               or rented;
                                   boats, air cushions, or personal wa-                2.     Our limit for loss by any Coverage B peril except
                                   tercraft which use a water jet pump                        theft is the limit shown in the Declarations for Cov-
                                   powered by an internal combustion                          erage B, plus the aggregate limit;
                                   engine as the primary source of pro-
                                                                                       3.     Our limits for loss by theft are those shown in the
                                   pulsion;                                                   Declarations for this option. These limits apply in
                               owned, operated, or hired by or for the in-                    lieu of the Coverage B theft limit; and
                               sured or employer of the insured or used                4.     Our limits for loss by any covered peril except those
                               by the insured for the purpose of instruc-                     in items 2. and 3. above are those shown in the
                               tion in the use thereof; or
                                                                                              Declarations for this option.
                          (2) under Coverage M for bodily injury to a
                                                                                       Option ID – Increased Dwelling Limit. We will settle
                              student arising out of corporal punishment
                              administered by or at the direction of the               losses to damaged building structures covered under
                              insured.                                                 COVERAGE A – DWELLING according to the Loss
                                                                                       Settlement Provision shown in the Declarations.
                Option FA – Firearms. Firearms are covered for acci-
                dental direct physical loss or damage.                                 If the amount you actually and necessarily spend to re-
                                                                                       pair or replace damaged building structures exceeds
                The limits for this option are shown in the Declarations.              the applicable limit of liability shown in the Declarations,
                The first amount is the limit for any one article; the sec-            we will pay the additional amounts not to exceed:
                ond amount is the aggregate limit for each loss.
                                                                                       1.     the Option ID limit of liability shown in the Declara-
                The following additional provisions apply:                                    tions to repair or replace the dwelling; or
                1.   We will not pay for any loss to the property de-                  2.     10% of the Option ID limit of liability to repair or
                     scribed in this option either consisting of, or directly                 replace building structures covered under
                     and immediately caused by, one or more of the
                                                                                              COVERAGE A – DWELLING, Other Structures.
                     following:
                                                                                       Report Increased Values. You must notify us within 90
                     a.   mechanical breakdown, wear and tear, or
                                                                                       days of the start of construction on any new building
                          gradual deterioration;                                       structure costing $5,000 or more; or any additions to or
                     b.   all animals, birds, or insects, including nesting,           remodeling of building structures that increase their
                          infestation, gnawing, feeding, breeding, or dis-             values by $5,000 or more. You must pay any additional
                          charge or release of waste products or secre-                premium due for the increased value. We will not pay
                          tions by animals, birds, or insects. However,                more than the applicable limit of liability shown in the
                          we will pay for losses caused by wild bears or               Declarations if you fail to notify us of the increased
                          deer;                                                        value within 90 days.

                                                                                     34                                                           HW-2111
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                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 71 of 172




                Option IO – Incidental Business. The coverage pro-                           c.    liability arising out of any acts, errors, or omis-
                vided by this option applies only to that incidental busi-                         sions of an insured, or any other person for
                ness occupancy on file with us.                                                    whose acts an insured is liable, resulting from
                1.   COVERAGE A – DWELLING, Other Structures,                                      the preparation or approval of data, plans, de-
                                                                                                   signs, opinions, reports, programs, specifica-
                     item 2.b. is deleted.
                                                                                                   tions, supervisory inspections, or engineering
                2.   COVERAGE B – PERSONAL PROPERTY is extended                                    services in the conduct of an insured’s incidental
                     to include equipment, supplies, and furnishings usual                         business involving data processing, computer
                     and incidental to this business occupancy. This                               consulting, or computer programming; or
                     Optional Policy Provision does not include electronic
                                                                                             d.    any claim made or suit brought against any in-
                     data processing system equipment or the recording or
                     storage media used with that equipment or merchan-                            sured by:
                     dise held as samples or for sale or for delivery after                        (1) any person in the care of any insured
                     sale.                                                                             because of child care services provided
                     The Option IO limits are shown in the Declarations.                               by or at the direction of:
                     The first limit applies to property on the residence                                 (a) any insured;
                     premises. The second limit applies to property                                       (b) any employee of any insured; or
                     while off the residence premises. These limits are
                     in addition to the COVERAGE B – PERSONAL                                             (c) any other person actually or appar-
                     PROPERTY, Special Limits of Liability on property                                        ently acting on behalf of any insured;
                     used or intended for use in a business.                                                  or
                3.   Under Section II, the residence premises is not                               (2) any person who makes a claim because
                     considered business property because an insured                                   of bodily injury to any person in the care
                     occupies a part of it as an incidental business.                                  of any insured because of child care ser-
                                                                                                       vices provided by or at the direction of:
                4.   SECTION II – EXCLUSIONS, item 1.b. is replaced
                     with the following:                                                                  (a) any insured;
                          b.   bodily injury or property damage arising                                   (b) any employee of any insured; or
                               out of business pursuits of any insured,                                   (c) any other person actually or appar-
                               except as provided in item c. below. This                                      ently acting on behalf of any insured.
                               exclusion does not apply to activities that
                                                                                                   Coverage M does not apply to any person indi-
                               are ordinarily incident to non-business                             cated in d.(1) and d.(2) above.
                               pursuits or to business pursuits of an in-
                               sured that are necessary or incidental to                           This exclusion does not apply to the occasional
                               the use of the residence premises as an                             child care services provided by any insured, or
                                                                                                   to the part-time child care services provided by
                               incidental business;
                                                                                                   any insured under 19 years of age.
                5.   This insurance does not apply to:                                Option JF – Jewelry and Furs. Jewelry, watches, fur
                     a.   bodily injury to an employee of an insured                  garments and garments trimmed with fur, precious and
                          arising out of the residence premises as an                 semi-precious stones, gold other than goldware, silver
                          incidental business other than to a residence               other than silverware, and platinum are covered for acci-
                          employee while engaged in the employee’s                    dental direct physical loss or damage.
                          employment by an insured;                                   The limits for this option are shown in the Declarations.
                     b.   bodily injury to a student arising out of corporal          The first amount is the limit for any one article; the
                          punishment administered by or at the direction              second amount is the aggregate limit for each loss.
                          of the insured;                                             All provisions and exclusions of SECTION I – LOSSES


                                                                                    35                                                        HW-2111
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 72 of 172




                INSURED, COVERAGE B – PERSONAL PROPERTY,                                      requirement is in effect at the time the loss insured
                Theft apply to Option JF.                                                     occurs.
                The following additional provisions apply:                             3.     Undamaged Portions of Damaged Building
                                                                                              Structure. When a building structure covered
                1.   We will not pay for any loss to the property described in
                     this option either consisting of, or directly and immedi-                under COVERAGE A – DWELLING is damaged by
                     ately caused by, one or more of the following:                           a loss insured, we will also pay for:

                     a.   mechanical breakdown, wear and tear, or                             a.    the cost to demolish and clear the site of the
                          gradual deterioration;                                                    undamaged portions of the building structure
                                                                                                    caused by the enforcement of a building, zoning,
                     b.   all animals, birds or insects, including nesting,                         or land use ordinance or law if the enforcement
                          infestation, gnawing, feeding, breeding, or dis-                          is directly caused by the same loss insured
                          charge or release of waste products or secre-                             and the requirement is in effect at the time the
                          tions by animals, birds, or insects. However, we                          loss insured occurs; and
                          will pay for losses caused by wild bears or deer;
                                                                                              b.    loss to the undamaged portion of the building
                     c.   inherent vice; or                                                         structure caused by enforcement of any ordi-
                     d.   seizure or destruction under quarantine or cus-                           nance or law if:
                          toms regulations;                                                         (1) the enforcement is directly caused by the
                2.   Our limit for loss by any Coverage B peril except                                  same loss insured;
                     theft is the limit shown in the Declarations for Cov-                          (2) the enforcement requires the demolition of
                     erage B, plus the aggregate limit;                                                 portions of the same building structure
                3.   Our limits for loss by theft are those shown in the                                not damaged by the same loss insured;
                     Declarations for this option. These limits apply in                            (3) the ordinance or law regulates the con-
                     lieu of the Coverage B theft limit; and                                            struction or repair of the building struc-
                4.   Our limits for loss by any covered peril except those                              ture, or establishes zoning or land use
                     in items 2. and 3. above are those shown in the                                    requirements at the described premises;
                     Declarations for this option.                                                      and

                Option OL – Building Ordinance or Law.                                              (4) the ordinance or law is in force at the time
                                                                                                        of the occurrence of the same loss in-
                1.   Coverage Provided. The total limit of insurance                                    sured; or
                     provided by this option will not exceed an amount
                     equal to the Option OL percentage shown in the                           c.    legally required changes to the undamaged
                     Declarations of the Coverage A limit shown in the                              portion of the building structure caused by
                     Declarations at the time of the loss, as adjusted by                           the enforcement of a building, zoning, or land
                     the Inflation Coverage provisions of this policy. This                         use ordinance or law, if:
                     is an additional amount of insurance and applies to                            (1) the enforcement is directly caused by the
                     building structures on the residence premises.                                     same loss insured;
                2.   Damaged Portions of Building Structure. When                                   (2) the requirement is in effect at the time the
                     a building structure covered under COVERAGE                                        loss insured occurs; and
                     A – DWELLING is damaged by a loss insured, we
                     will pay for the increased cost to repair or rebuild the                       (3) the legally required changes are made to
                     physically damaged portion of the building struc-                                  the undamaged portions of specific build-
                     ture caused by the enforcement of a building, zon-                                 ing structure features, systems, or com-
                     ing, or land use ordinance or law if the enforcement                               ponents that have been physically
                     is directly caused by the same loss insured and the                                damaged by the loss insured.


                                                                                     36                                                      HW-2111
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Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 73 of 172




                          We will not pay for legally required changes to                   b.    We will not pay more under this coverage than
                          specific building structure features, systems,                          the amount you actually spend:
                          or components that have not been physically
                          damaged by the loss insured.                                            (1) for the increased cost to repair or rebuild
                                                                                                      the building structure at the same or an-
                4.   Building Ordinance or Law Coverage Limitations.                                  other premises in the same general vicinity
                     a.   We will not pay for any increased cost of con-                              if relocation is required by ordinance or
                          struction:                                                                  law; and
                          (1) until the building structure is actually re-                        (2) to demolish and clear the site of the un-
                              paired or replaced at the same or another                               damaged portions of the building struc-
                              premises in the same general vicinity;                                  ture caused by enforcement of building,
                          (2) unless the repairs or replacement are                                   zoning, or land use ordinance or law.
                              made as soon as reasonably possible
                              after the loss, not to exceed two years;                      We will not pay for more than a building structure
                              and                                                           of the same height, floor area, and style on the
                                                                                            same or similar premises as the building structure,
                          (3) due to any original or subsequent con-                        subject to the limit provided in paragraph 1. Cover-
                              struction, addition, modification, renova-
                                                                                            age Provided of this option.
                              tion, remodel, or repair to a building
                              structure that did not comply with a build-            Option SG – Silverware and Goldware Theft. The
                              ing, zoning, or land use ordinance or law              COVERAGE B – PERSONAL PROPERTY, Special
                              in effect when the construction, addition,             Limits of Liability, item i., for theft of silverware and
                              modification, renovation, remodel, or re-              goldware is increased to be the amount shown in the
                              pair was performed.                                    Declarations for this option.




                                                                                   37                                                     HW-2111
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Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 74 of 172




                        EXHIBIT B




Copy from re:SearchGA
1
                       Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 75 of 172

    FISHEL-BROWN, STEPHANIE                                                                                                11-12Z2-61F




                                                            State Farm
                                                          P.O. Box 106169
                                                      Atlanta, GA 30348-6169
                                                        Fax: 1-844-236-3646
                                                statefarmfireclaims@statefarm.com



                                            Structural Damage Claim Policy


        When you have a covered structural damage claim to your real property, you should know:

            • We want you to receive quality repair work to restore the damages to your property.

            • We will provide you with a detailed estimate of the scope of the damage and costs of repairs. Should the
              contractor you select have questions concerning our estimate, they should contact your claim representative
              directly.

            • Depending upon the complexity of your repair, our estimate may or may not include an allowance for general
              contractor's overhead and profit. If you have questions regarding general contractor's overhead and profit and
              whether general contractor services are appropriate for your loss, please contact your claim representative
              before proceeding with repairs.

            • There may be building codes, ordinances, laws, or regulations that affect the repairs of your property. These
              items may or may not be covered by your policy. Please contact your claim representative if you have any
              questions regarding coverage which may be available under your policy.

            • If you select a contractor whose estimate is the same as or lower than our estimate, based on the same scope of
              damages, we will pay based upon their estimate. If your contractor's estimate is higher than ours, you should
              contact your claim representative prior to beginning repairs.

            • State Farm® cannot authorize any contractor to proceed with work on your property. Repairs should proceed
              only with your authorization.

            • State Farm does not guarantee the quality of the workmanship of any contractor or guarantee that the work will
              be accomplished within any specific time frame.

            • It is understood that the contractor is hired by you, our insured, and that they work for you - not State Farm.

        If you have any questions or need additional information regarding your claim, please contact your claim
        representative immediately.




    Date:    3/8/2021 6:15 PM                                                                        132214.1 06-18-2009        Page: 1


Copy from re:SearchGA
2
                           Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 76 of 172
                                                                                                                                                 11-12Z2-61F

                                             Building Estimate Summary Guide
                    This summary guide is based on a sample estimate and is provided for reference only.
                                           Please refer to the estimate for specifics of your claim.

                                          State Farm Insurance                                               1. Line Item Total – Total value of all line
                                                                                                                items in the estimate plus possible
                Insured: Smith, Joe & Jane                           Estimate:     00-0000-000                  adjustments for labor minimums. Labor
                                                                                                                Minimum is to cover a certain minimum
                Property: 1 Main Street                          Claim number:     00-0000-000                  number of hours for drive-time, set up
                          Anywhere, IL 00000-0000               Policy Number:     00-00-0000-0                 time and applicable administrative
                                                                                                                costs and repairs.
         Type of Loss: Other                                         Price List:   ILBL8F_MAR 13
            Deductible: $1,000.00                                                  Restoration/Service/      2. General Contractor’s Overhead and
                                                                                   Remodel                      Profit – General contractor’s charge for
                                                                                   F = Factored In,             coordinating your repairs.
                                                                                   D = Do Not Apply
                                                                                                             3. Replacement Cost Value (RCV) –
                                          Summary for Dwelling                                                  Estimated cost to repair or replace
                                                                                                                damaged property.
       Line Item Total 1                                                                         5,953.10
                                                                                                             4. Depreciation – The decrease in the
       Material Sales Tax                           @      10.000% x 1,520.00                                   value of property over a period of time
       Subtotal                                                                                  6,105.10       due to wear, tear, condition, and
                                                                                                                obsolescence. A portion or all of this
       General Contractor Overhead 2                @           10.0% x 6,105.10                   610.51       amount may be eligible for replacement
       General Contractor Profit                    @           10.0% x 6,105.10                                cost benefits.
       Replacement Cost Value (Including General Contractor Overhead and Profit 3               7,326.12     5. Deductible – The insurer will pay for
       Less Depreciation (Including Taxes) 4                                                      (832.50)      losses, up to the policy limits, in excess
                                                                                                                of your applicable deductible.
       Less General Contractor Overhead & Profit on Recoverable &
       Non - recoverable Depreciation                                                             (166.50)   6. Net Actual Cash Value Payment
                                                                                                                (ACV) – The repair or replacement cost
       Less Deductible 5                                                                                        of the damaged part of the property
       Net Actual Cash Value Payment 6                                                                          less depreciation and deductible.

                                                                                                             7. Non Recoverable Depreciation –
                   Maximum Additional Amounts Available If Incurred:                                            Depreciation applied to items that are
                                                                                                                not eligible for replacement cost
      Total Line Item Depreciation (Including Taxes) 4                    832.50                                benefits.
      Less Non - recoverable Depreciation (Including Taxes) 7
                                                                                                             8. Total Maximum Additional Amount if
      Subtotal                                                                         312.50                   Incurred – Total amount of
       General Contractor O&P on Depreciation                             166.50                                recoverable depreciation after actual
                                                                                                                repair or replacement of the property.
       Less General Contractor O&P on Non - recoverable Depreciation
       Subtotal                                                                                              9. Total Amount of Claim if Incurred –
                                                                                                                Total amount of the claim, including net
       Total Maximum Additional Amounts Available If Incurred 8                                                 actual cash value payment and total
       Total Amount of Claim If Incurred 9                                                                      maximum additional amount available if
                                                                                                                incurred.




       Claim Representative

       ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND LIMITS OF
       YOUR POLICY.




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      Date:       3/8/2021 6:15 PM                                                                                                                  Page: 2


Copy from re:SearchGA
3
                        Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 77 of 172

                                                                   State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                         11-12Z2-61F
                 Insured:    FISHEL-BROWN, STEPHANIE                                          Estimate:     11-12Z2-61F
                Property:    602 Bentley Falls Ct                                       Claim Number:       1112Z261F
                             Canton, GA 30114                                           Policy Number:      11EPY5264
                Home:        864-506-2156                                                    Price List:    GAAT28_OCT20
               Cellular:     864-506-2156                                                                   Restoration/Service/Remodel
         Type of Loss:       Wind Damage
           Deductible:       $3,449.00
         Date of Loss:       10/29/2020
        Date Inspected:      12/15/2020
                                  Summary for Coverage A - Dwelling - 35 Windstorm and Hail
            Line Item Total                                                                                                    22,054.20
            Material Sales Tax                                                                                                    212.98
            Subtotal                                                                                                           22,267.18
               General Contractor Overhead                                                                                      1,236.74
               General Contractor Profit                                                                                        1,236.74
            Replacement Cost Value (Including General Contractor Overhead and Profit)                                          24,740.66
            Less Depreciation (Including Taxes)                                                                                (1,565.86)
            Less General Contractor Overhead & Profit on Recoverable & Non-recoverable Depreciation                              (313.18)
            Less Deductible                                                                                                    (3,449.00)
            Net Actual Cash Value Payment                                                                                     $19,412.62


                                        Maximum Additional Amounts Available If Incurred:
            Total Line Item Depreciation (Including Taxes)                                     1,565.86

            General Contractor O&P on Depreciation                                               313.18
            Replacement Cost Benefits                                                                         1,879.04
            Total Maximum Additional Amount Available If Incurred                                                               1,879.04
            Total Amount of Claim If Incurred                                                                                 $21,291.66




            Waller, Brandon
            844-458-4300
            Meeks, David Zane

         ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
         LIMITS OF YOUR POLICY.

      The estimate is priced based on estimated market pricing at the time of the loss. Adjustments in market pricing and timing of the
      repairs may impact the final cost of covered repairs. Should you or the contractor you select have questions concerning our estimate,
      contact your claim representative. If your contractor's estimate is higher than ours, you should contact your claim representative prior
      to beginning repairs. State Farm will work with you and your contractor to determine the actual and necessary cost of covered repairs
      at the time repairs will be completed, subject to policy limits.




    Date:    3/8/2021 6:15 PM                                                                                                               Page: 3


Copy from re:SearchGA
4
                          Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 78 of 172

                                                                   State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                         11-12Z2-61F
                 Insured:     FISHEL-BROWN, STEPHANIE                                         Estimate:     11-12Z2-61F
                Property:     602 Bentley Falls Ct                                      Claim Number:       1112Z261F
                              Canton, GA 30114                                          Policy Number:      11EPY5264
                Home:         864-506-2156                                                   Price List:    GAAT28_OCT20
               Cellular:      864-506-2156                                                                  Restoration/Service/Remodel
         Type of Loss:        Wind Damage
           Deductible:        $0.00
         Date of Loss:        10/29/2020
        Date Inspected:       12/15/2020
                              Summary for Coverage A - Dwelling - 35 Windstorm and Hail - BC -
                                                      Code Upgrade
            Line Item Total                                                                                                          0.00
            Replacement Cost Value                                                                                                   0.00
            Less Deductible                                                                                                         (0.00)
            Net Payment                                                                                                            $0.00




            Waller, Brandon
            844-458-4300
            Meeks, David Zane

         ALL AMOUNTS PAYABLE ARE SUBJECT TO THE TERMS, CONDITIONS AND
         LIMITS OF YOUR POLICY.

      The estimate is priced based on estimated market pricing at the time of the loss. Adjustments in market pricing and timing of the
      repairs may impact the final cost of covered repairs. Should you or the contractor you select have questions concerning our estimate,
      contact your claim representative. If your contractor's estimate is higher than ours, you should contact your claim representative prior
      to beginning repairs. State Farm will work with you and your contractor to determine the actual and necessary cost of covered repairs
      at the time repairs will be completed, subject to policy limits.




    Date:    3/8/2021 6:15 PM                                                                                                                Page: 4


Copy from re:SearchGA
5
                         Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 79 of 172
                                Explanation of Building Replacement Cost Benefits
                                                Homeowner Policy
                                 Coverage A - Dwelling - 35 Windstorm and Hail
    To:     Name:                  FISHEL-BROWN, STEPHANIE
            Address:               602 Bentley Falls Ct
            City:                  Canton
            State/Zip:             GA, 30114
    Insured:                 FISHEL-BROWN, STEPHANIE                                 Claim Number:            1112Z261F
    Date of Loss:            10/29/2020                                              Cause of Loss:           WIND
    Your insurance policy provides replacement cost benefits for some or all of the loss or damage to your dwelling or structures. Replacement
    cost benefits pays the actual and necessary cost of repair or replacement, without a deduction for depreciation, subject to your policy’s limit
    of liability. To receive replacement cost benefits you must:

    1. Complete the actual repair or replacement of the damaged part of the property within two years of the date of loss;
    2. Promptly notify us within 30 days after the work has been completed; and
    3. Confirm completion of repair or replacement, by submitting invoices, receipts or other documentation to your agent or claim office.

    Until these requirements have been satisfied, our payment(s) to you will be for the actual cash value of the damaged part of the property,
    which may include a deduction for depreciation.

    Without waiving the above requirements, we will consider paying replacement cost benefits prior to actual repair or replacement if we
    determine repair or replacement costs will be incurred because repairs are substantially under way or you present a signed contract
    acceptable to us.

    The estimate to repair or replace your damaged property is $24,740.66 . The enclosed claim payment to you of $19,412.62 is for the actual
    cash value of the damaged property at the time of loss, less any deductible that may apply. We determined the actual cash value by
    deducting depreciation from the estimated repair or replacement cost. Our estimate details the depreciation applied to your loss. Based on
    our estimate, the additional amount available to you for replacement cost benefits (recoverable depreciation) is $ 1,879.04 .

    If you cannot have the repairs completed for the repair/replacement cost estimated, please contact your claim
    specialist prior to beginning repairs.

    All policy provisions apply to your claim.




    Date:    3/8/2021 6:15 PM                                                                                FC0006615 10/22/2020            Page: 5


Copy from re:SearchGA
6
                                                      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 80 of 172

                                                                                                State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                                                11-12Z2-61F
                                                                                                  Dwelling
      Dwelling

        QUANTITY                                       UNIT PRICE                       TAX        GCO&P              RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                                              CONDITION DEP %
      1. Temporary toilet (per month)
           0.50 MO          106.15                                                      0.00          10.62          63.70                                        63.70

      Total: Dwelling                                                                   0.00          10.62          63.70                        0.00            63.70



                                                                                                    Roof
      Roof

        QUANTITY                                       UNIT PRICE                       TAX        GCO&P              RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                                              CONDITION DEP %
      2. 2" x 8" x 12' #2 & better Fir / Larch (material only)
            6.00 EA           19.94                        7.18                                       25.36         152.18                                    152.18
      3. R&R Sheathing - plywood - 3/8" CDX
          128.00 SF             2.56                       6.60                                       66.86         401.14                                    401.14
      4. R&R Sheathing - plywood - 1/2" CDX
           96.00 SF             2.95                       7.20                                       58.08         348.48                                    348.48

      Total: Roof                                                                      20.98         150.30         901.80                        0.00        901.80

                            30'   20' 3"
                          23' 1" 15' 7"
                       9' 9" 38' 7"
                       7' 6"

                              6"
                      1'6'7"
                      1' 6" 2                                                   Roof
                     2' 7"




                    3
                       2'




                    R28
                      ' 7 (18)  (17)5'
                 3R29
                                                                            "




                   ' 2 2"1'              6"
                                                                         '1




                  F26                     F8 (D)
                       " 4"
                                                                      19


                                                                 7' 7 0"




                       F19                                                             3,260.77 Surface Area                           32.61 Number of Squares
              26'




                        R15 (9)
                                                                     "
                                                     9' 4"9' 4" 9' 1



                                                              7' 11""




                                                       R26 (7)"
        16' 11"




                                                              10' 1
                                                                15'




                                        Roof
                                11" F6 (A)F7 R27     F2 R25
                                                       F12
                                                         (B)(2)'(6)
                                                                 7
          13'




                       F20 4' (B)                        F11
                                                      F1R24 109"(5)"
                                                   R23     (4)
                                                          (A) 8' 6                       191.18 Total Hip Length                       70.57 Total Ridge Length
                                                          7" 1"




                  R30          (19)
                         4'




                      R16
                    F27
                     R213' 4'(16)
                       F23
                                  (12)
                                    5"               F9F10 9'
                                             24' 3"




                             3F18
                                                      18'12'




                     2R19
                       F24
                      'R20     "  (14)
                                    5"            F4 (B)7' 6"
                                                  R4 F5 (3)(C)
                                                    12' 1"




                         23'"R10
                               3'(15)(11)
                       F33  2511"
                                     '2 "
                             13' 2" 2 3' 3




                     R17F32    3''(13)
                                        "
            11' 3"




                      F30
                      R11
                        F282F22    6"
                                   (10)              F3 (A)
                              2' (A)
                                               '2 "
                                             15' 8"




                                         R8 (8)
                                             13 ' 3




                       R18         (1)
                                                  "




                       F31 F15 (A) 28
                                               15




                                         F17 (C)'2
                                                   "
                                          R7 (20)
                                         F14
                                        11" F13(B)
                                                (A)
                                                  11' 5"
                                    14'
                                             8' 1"
                                            34' 4"
        QUANTITY                                       UNIT PRICE                       TAX        GCO&P              RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                                              CONDITION DEP %
      5. Tear off, haul and dispose of comp. shingles - Laminated
            6.24 SQ            51.10                      0.00                                        63.78         382.64                                    382.64
      6. Laminated - comp. shingle rfg. - w/ felt
            8.00 SQ          224.08                      47.85                                       368.10        2,208.59     9/30 yrs      (662.56)      1,546.03
                                                                                                                                  Avg.         30.00%
      7. Asphalt starter - universal starter course
          28.08 LF              1.88                                                    0.98          10.76          64.53      9/20 yrs       (29.04)            35.49
                                                                                                                                  Avg.         45.00%



    Date:             3/8/2021 6:15 PM                                                                                                                             Page: 6


Copy from re:SearchGA
7
                        Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 81 of 172

                                                                  State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                   11-12Z2-61F


                                                                CONTINUED - Roof



       QUANTITY           UNIT PRICE                   TAX          GCO&P                RCV      AGE/LIFE      DEPREC.              ACV
                                                                                                 CONDITION        DEP %
      8. Ridge cap - composition shingles
           28.17 LF           3.63                      1.76            20.82           124.84     9/25 yrs       (44.94)            79.90
                                                                                                     Avg.         36.00%
      9. Remove Additional charge for high roof (2 stories or greater)
            6.24 SQ            4.56                        0.00         5.70             34.15                                       34.15
      10. Additional charge for high roof (2 stories or greater)
            8.00 SQ           16.72                        0.00        26.76            160.52                                      160.52
      11. Remove Additional charge for steep roof - 10/12 - 12/12 slope
            6.24 SQ           19.02                        0.00        23.74            142.42                                      142.42
      12. Additional charge for steep roof - 10/12 - 12/12 slope
            8.00 SQ           59.51                        0.00        95.22            571.30                                      571.30
      13. Drip edge
           28.08 LF            2.13                        1.31        12.22             73.34     9/35 yrs       (18.86)            54.48
                                                                                                     Avg.         25.71%

      Totals: Roof                                     51.90          627.10       3,762.33                       755.40       3,006.93
      Area Totals: Roof
                  3,309.42 Exterior Wall Area
                  3,260.77 Surface Area                          32.61 Number of Squares
                     70.57 Total Ridge Length                   191.18 Total Hip Length

      Total: Roof                                      72.88          777.40       4,664.13                       755.40       3,908.73



                                                                     Exterior

      Front Elevation
                        0.00 SF Walls                              0.00 SF Ceiling                        0.00 SF Walls & Ceiling
                        0.00 SF Floor                              0.00 SF Short Wall                     0.00 LF Floor Perimeter
                        0.00 SF Long Wall                                                                 0.00 LF Ceil. Perimeter

       QUANTITY           UNIT PRICE                    TAX         GCO&P                RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                 CONDITION DEP %
      14. R&R Gutter guard - one piece seamless gutter system
           18.50 LF         27.51                     17.42           105.26            631.62     9/20 yrs      (284.22)           347.40
                                                                                                     Avg.         45.00%
      15. R&R Fascia - 1" x 8" - #1 pine
           18.50 LF           6.80                      2.38            25.64           153.83    25/75 yrs       (51.27)           102.56
                                                                                                    Avg.          33.33%
      16. Prime & paint exterior fascia - wood, 6"- 8" wide
           18.50 LF            1.91                      0.22            7.10            42.66     9/15 yrs       (25.59)            17.07
                                                                                                     Avg.         60.00%
    Date:   3/8/2021 6:15 PM                                                                                                          Page: 7


Copy from re:SearchGA
8
                        Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 82 of 172

                                                                  State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                     11-12Z2-61F


                                                        CONTINUED - Front Elevation



       QUANTITY         UNIT PRICE                      TAX         GCO&P               RCV      AGE/LIFE         DEPREC.             ACV
                                                                                                CONDITION           DEP %
      17. R&R Crown molding - 5 1/4"
           16.50 LF           6.00                       2.56           20.32          121.89                                        121.89
      18. Paint crown molding, oversized - one coat
           16.50 LF           0.96                       0.11            3.18           19.13       9/15 yrs        (11.47)            7.66
                                                                                                      Avg.          60.00%
      19. R&R Soffit - box framing - 2' overhang
           16.50 LF            7.54                      1.86           25.26          151.54                                        151.54
      20. R&R Soffit - wood
           33.00 SF            5.25                      3.64           35.38          212.27                                        212.27
      21. Prime & paint exterior soffit - wood
           33.00 SF            1.99                      0.73           13.28           79.68       9/15 yrs        (47.80)           31.88
                                                                                                      Avg.          60.00%
      22. Soffit vent
            2.00 EA            37.11                       0.43          14.92            89.57                                       89.57
      23. Carpenter - General Framer - per hour
           16.00 HR            82.14                       0.00        262.84         1,577.08                                   1,577.08
      Additional labor to complete soffit, fascia, and framing above 20 lf. Calculation is based on two men eight hours each.
      24. R&R Brick mold - paint grade softwood - finger jointed
           16.50 LF             2.71                       1.36            9.24           55.32                                       55.32
      25. Paint - molding - ornate or multi-member - two coats
           16.50 LF             1.60                       0.14            5.30           31.84      9/15 yrs        (19.10)          12.74
                                                                                                       Avg.         60.00%
      Item used to paint brick molding.
      26. Paint - molding - ornate or multi-member - one coat
            2.00 LF             1.14                       0.02            0.46            2.76      9/15 yrs         (1.66)           1.10
                                                                                                       Avg.         60.00%
      Item used to paint brick molding.
      27. Painter - per hour
           16.00 HR            66.94                       0.00        214.20         1,285.24                                   1,285.24
      Additional labor to paid over 20 LF, two men eight hours each for all exterior painting.
      *****Beginning of Revisions by Jasmine Kincaid (TAN3)*****
      28. Paint door/window trim & jamb - Large - 2 coats (per side)
            1.00 EA            33.03                       0.29            6.66           39.98      9/15 yrs        (23.99)          15.99
                                                                                                       Avg.         60.00%
      *****End of revisions by Jasmine Kincaid*****

      Totals: Front Elevation                           31.16          749.04        4,494.41                        465.10      4,029.31




      Right Elevation
                        0.00 SF Walls                             0.00 SF Ceiling                          0.00 SF Walls & Ceiling
                        0.00 SF Floor                             0.00 SF Short Wall                       0.00 LF Floor Perimeter
                        0.00 SF Long Wall                                                                  0.00 LF Ceil. Perimeter
    Date:   3/8/2021 6:15 PM                                                                                                           Page: 8


Copy from re:SearchGA
9
                        Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 83 of 172

                                                                State Farm
    FISHEL-BROWN, STEPHANIE                                                                                                   11-12Z2-61F
       QUANTITY UNIT PRICE                              TAX         GCO&P                RCV      AGE/LIFE DEPREC.                ACV
                                                                                                 CONDITION DEP %
      29. R&R Fascia - 1" x 8" - #1 pine
           16.67 LF           6.80                      2.14            23.08           138.57    25/75 yrs       (46.19)            92.38
                                                                                                    Avg.          33.33%
      30. Prime & paint exterior fascia - wood, 6"- 8" wide
           16.67 LF            1.91                      0.20            6.40            38.44                                       38.44
      31. R&R Soffit - box framing - 2' overhang
           14.92 LF            7.54                      1.68           22.84           137.02    25/150 yrs      (22.83)           114.19
                                                                                                     Avg.         16.67%
      32. R&R Soffit - wood
           29.83 SF         5.25                        3.29            32.00           191.90    25/150 yrs      (31.99)           159.91
                                                                                                     Avg.         16.67%
      33. Prime & paint exterior soffit - wood
           29.83 SF            1.99                     0.66            12.02            72.04     9/15 yrs       (43.24)            28.80
                                                                                                     Avg.         60.00%
      34. Paint exterior soffit - wood - 1 coat
            1.75 SF               1.29                  0.02             0.46             2.74     9/15 yrs        (1.65)             1.09
                                                                                                     Avg.         60.00%
      35. R&R Gutter guard - one piece seamless gutter system
           16.67 LF         27.51                     15.69             94.86           569.15     9/20 yrs      (256.13)           313.02
                                                                                                     Avg.         45.00%
      36. R&R Brick mold - paint grade softwood - finger jointed
           14.92 LF            2.71                     1.23             8.34            50.00                                       50.00
      37. Paint - molding - ornate or multi-member - two coats
           14.92 LF            1.60                     0.13             4.80            28.80     9/15 yrs       (17.28)            11.52
                                                                                                     Avg.         60.00%
      38. Soffit vent
            2.00 EA            37.11                    0.43            14.92            89.57                                       89.57

      Totals: Right Elevation                          25.47           219.72        1,318.23                     419.31            898.92




      Rear Elevation
                        0.00 SF Walls                              0.00 SF Ceiling                        0.00 SF Walls & Ceiling
                        0.00 SF Floor                              0.00 SF Short Wall                     0.00 LF Floor Perimeter
                        0.00 SF Long Wall                                                                 0.00 LF Ceil. Perimeter

        QUANTITY         UNIT PRICE                     TAX         GCO&P                RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                 CONDITION DEP %
      No storm related damages found upon inspection

      Totals: Rear Elevation                            0.00             0.00             0.00                       0.00             0.00




      Left Elevation
                        0.00 SF Walls                              0.00 SF Ceiling                        0.00 SF Walls & Ceiling

    Date:   3/8/2021 6:15 PM                                                                                                          Page: 9


Copy from re:SearchGA
10
                                             Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 84 of 172

                                                                                      State Farm
     FISHEL-BROWN, STEPHANIE                                                                                                                       11-12Z2-61F
                   0.00 SF Floor                                                       0.00 SF Short Wall                     0.00 LF Floor Perimeter
                   0.00 SF Long Wall                                                                                          0.00 LF Ceil. Perimeter

        QUANTITY                                  UNIT PRICE                  TAX        GCO&P               RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                                     CONDITION DEP %
       No storm related damages found upon inspection

       Totals: Left Elevation                                                  0.00          0.00             0.00                       0.00             0.00
       Area Totals: Exterior

       Total: Exterior                                                        56.63        968.76      5,812.64                        884.41       4,928.23



                                                                                         Interior


                                        12' 1"
                                        11' 5"
                                                                    Bedroom                                                                       Height: 8'
                        6' 1"
                                6' 1"




                                                                               400.14 SF Walls                               147.60 SF Ceiling
                                                                               547.74 SF Walls & Ceiling                     147.60 SF Floor
                                                           12' 8"




                   2' 4"
                                                     12'




                                        Bedroom
          3' 10"
                     3' 5"




                                                                                50.02 LF Ceil. Perimeter                      50.02 LF Floor Perimeter
                    3'
                       7"
             3'




                                         11' 3"
               10
                    "




                                         11' 8"



        QUANTITY                                  UNIT PRICE                  TAX        GCO&P               RCV      AGE/LIFE DEPREC.                   ACV
                                                                                                                     CONDITION DEP %
       CEILING:
       39. R&R Blown-in insulation - 14" depth - R38
           200.00 SF             2.11                     10.08                             86.42           518.50                                   518.50
       40. Drywall tape joint/repair - per LF
            10.00 LF             6.08                       0.18                            12.20            73.18                                       73.18
       41. R&R 1/2" drywall - hung, taped, floated, ready for paint
            12.00 SF             2.28                       0.36                             5.54            33.26                                       33.26
       42. Seal/prime then paint the surface area (2 coats)
            25.00 SF             0.86                       0.26                             4.36            26.12                                       26.12
       43. Paint the ceiling - one coat
           147.60 SF             0.60                       0.97                            17.92           107.45     9/15 yrs       (64.48)            42.97
                                                                                                                         Avg.         60.00%
       WALLS:
       44. Seal/prime then paint the surface area (2 coats)
            24.00 SF             0.86                       0.24                             4.16            25.04                                       25.04
       45. Paint the walls - one coat
           400.14 SF             0.60                       2.64                            48.54           291.26     9/15 yrs      (174.75)        116.51
                                                                                                                         Avg.         60.00%
       46. Mask per square foot for drywall work
           147.60 SF           0.20                                            0.44          5.98            35.94                                       35.94
       47. Content Manipulation charge - per hour
             1.00 HR          36.47                                            0.00          7.30            43.77                                       43.77
       FLOORING: No damage to flooring

     Date:             3/8/2021 6:15 PM                                                                                                                  Page: 10


Copy from re:SearchGA
11
                         Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 85 of 172

                                                                State Farm
     FISHEL-BROWN, STEPHANIE                                                                                              11-12Z2-61F


                                                         CONTINUED - Bedroom



        QUANTITY          UNIT PRICE                   TAX         GCO&P               RCV      AGE/LIFE    DEPREC.              ACV
                                                                                               CONDITION      DEP %
       Totals: Bedroom                                15.17          192.42       1,154.52                    239.23            915.29
       Area Totals: Interior
                      400.14   SF Walls                       147.60 SF Ceiling                      547.74 SF Walls and Ceiling
                      147.60   SF Floor                       164.70 Total Area                       50.02 LF Floor Perimeter
                      147.60   Floor Area                      52.57 Exterior Perimeter               50.02 LF Ceil. Perimeter
                      473.13   Exterior Wall Area                    of Walls                        400.14 Interior Wall Area

       Total: Interior                                15.17          192.42       1,154.52                     239.23           915.29




       Fence
                         0.00 SF Walls                           0.00 SF Ceiling                      0.00 SF Walls & Ceiling
                         0.00 SF Floor                           0.00 SF Short Wall                   0.00 LF Floor Perimeter
                         0.00 SF Long Wall                                                            0.00 LF Ceil. Perimeter

        QUANTITY         UNIT PRICE                    TAX         GCO&P               RCV      AGE/LIFE DEPREC.                 ACV
                                                                                               CONDITION DEP %
       48. R&R Post & rail fence - 3 rail - cedar or equal
            80.00 LF          21.91                       61.34      362.82       2,176.96                                  2,176.96
       49. R&R Welded-wire mesh fence - fabric only - 4' high - 12 gauge
            80.00 LF           3.53                        6.96       57.88           347.24                                    347.24

       Totals: Fence                                  68.30          420.70       2,524.20                       0.00       2,524.20




       Temporary Repairs
                         0.00 SF Walls                           0.00 SF Ceiling                      0.00 SF Walls & Ceiling
                         0.00 SF Floor                           0.00 SF Short Wall                   0.00 LF Floor Perimeter
                         0.00 SF Long Wall                                                            0.00 LF Ceil. Perimeter

        QUANTITY         UNIT PRICE                    TAX         GCO&P               RCV      AGE/LIFE DEPREC.                 ACV
                                                                                               CONDITION DEP %
       * 50. emergency tarp
             1.00 EA         500.00 *EN                0.00            0.00           500.00                                    500.00
       Invoice from Sentinel Exteriors

       Totals: Temporary Repairs                       0.00            0.00           500.00                     0.00           500.00




     Date:     3/8/2021 6:15 PM                                                                                                  Page: 11


Copy from re:SearchGA
12
                         Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 86 of 172

                                                                   State Farm
     FISHEL-BROWN, STEPHANIE                                                                                                 11-12Z2-61F

       Tree Removal
                         0.00 SF Walls                              0.00 SF Ceiling                      0.00 SF Walls & Ceiling
                         0.00 SF Floor                              0.00 SF Short Wall                   0.00 LF Floor Perimeter
                         0.00 SF Long Wall                                                               0.00 LF Ceil. Perimeter

        QUANTITY         UNIT PRICE                      TAX          GCO&P               RCV      AGE/LIFE DEPREC.                 ACV
                                                                                                  CONDITION DEP %
       * 51. Tree Removal Invoice
             1.00 EA       9,400.00 *EN                    0.00            0.00      9,400.00                                  9,400.00
       Invoice from Sentinel Exteriors for tree on dwelling and trees on fence

       Totals: Tree Removal                               0.00             0.00      9,400.00                       0.00       9,400.00




       Debris Removal
                         0.00 SF Walls                              0.00 SF Ceiling                      0.00 SF Walls & Ceiling
                         0.00 SF Floor                              0.00 SF Short Wall                   0.00 LF Floor Perimeter
                         0.00 SF Long Wall                                                               0.00 LF Ceil. Perimeter

        QUANTITY         UNIT PRICE                      TAX          GCO&P               RCV      AGE/LIFE DEPREC.                 ACV
                                                                                                  CONDITION DEP %
       52. Tandem axle dump trailer - per load - including dump fees
             1.00 EA       207.05                         0.00           41.42           248.47                                    248.47

       Totals: Debris Removal                             0.00           41.42           248.47                     0.00           248.47
       Area Totals: Dwelling
                     400.14   SF Walls                           147.60 SF Ceiling                      547.74 SF Walls and Ceiling
                     147.60   SF Floor                           164.70 Total Area                       50.02 LF Floor Perimeter
                     147.60   Floor Area                          52.57 Exterior Perimeter               50.02 LF Ceil. Perimeter
                   3,782.55   Exterior Wall Area                        of Walls                        400.14 Interior Wall Area
                   3,260.77   Surface Area                        32.61 Number of Squares
                      70.57   Total Ridge Length                 191.18 Total Hip Length

       Total: Dwelling                                  212.98         2,411.32     24,367.66                   1,879.04      22,488.62




       Labor Minimums Applied

        QUANTITY         UNIT PRICE                      TAX          GCO&P               RCV      AGE/LIFE DEPREC.                 ACV
                                                                                                  CONDITION DEP %
       53. Finish carpentry labor minimum
             1.00 EA           84.04                      0.00           16.80           100.84                                    100.84
       54. Drywall labor minimum
             1.00 EA          226.80                      0.00           45.36           272.16                                    272.16


     Date:   3/8/2021 6:15 PM                                                                                                       Page: 12


Copy from re:SearchGA
13
                       Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 87 of 172

                                                               State Farm
     FISHEL-BROWN, STEPHANIE                                                                                            11-12Z2-61F


                                                CONTINUED - Labor Minimums Applied



        QUANTITY        UNIT PRICE                  TAX          GCO&P              RCV      AGE/LIFE     DEPREC.              ACV
                                                                                            CONDITION       DEP %
       Totals: Labor Minimums Applied                0.00            62.16         373.00                    0.00            373.00


       Line Item Totals: 11-12Z2-61F               212.98         2,473.48      24,740.66                 1,879.04      22,861.62



       Grand Total Areas:
                   400.14 SF Walls                          147.60 SF Ceiling                    547.74 SF Walls and Ceiling
                   147.60 SF Floor                                                                50.02 LF Floor Perimeter
                                                                                                  50.02 LF Ceil. Perimeter

                    147.60 Floor Area                       164.70 Total Area                    400.14 Interior Wall Area
                  3,782.55 Exterior Wall Area                52.57 Exterior Perimeter of
                                                                   Walls

                  3,260.77 Surface Area                      32.61 Number of Squares
                     70.57 Total Ridge Length               191.18 Total Hip Length




     Date:   3/8/2021 6:15 PM                                                                                                  Page: 13


Copy from re:SearchGA
14
                          Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 88 of 172

                                                                       Trade Summary
                                                Includes all applicable Tax, General Contractor O&P, and Labor Minimums


       DESCRIPTION                                            LINE ITEM        REPL. COST           GCO&P                   ACV     NON-REC. MAX ADDL.
                                                                 QTY             TOTAL                                               DEPREC.   AMT
                                                                                                                                              AVAIL.
       CON        CONTENT MANIPULATION

         Content Manipulation charge - per hour                      1.00 HR           $43.77            $7.30             $43.77       $0.00     $0.00
        TOTAL CONTENT MANIPULATION                                                     $43.77            $7.30             $43.77       $0.00     $0.00

       DMO        GENERAL DEMOLITION

         Tree Removal Invoice                                        1.00 EA        $9,400.00            $0.00       $9,400.00          $0.00     $0.00
         Tandem axle dump trailer - per load - including             1.00 EA          $248.47           $41.42            $248.47       $0.00     $0.00
         dump fees
        TOTAL GENERAL DEMOLITION                                                    $9,648.47           $41.42       $9,648.47          $0.00     $0.00

       DRY        DRYWALL

         R&R 1/2" drywall - hung, taped, floated, ready            12.00 SF            $33.26            $5.54             $33.26       $0.00     $0.00
         for paint
         Mask per square foot for drywall work                    147.60 SF            $35.94            $5.98             $35.94       $0.00     $0.00
         Drywall labor minimum                                       1.00 EA          $272.16           $45.36            $272.16       $0.00     $0.00
         Drywall tape joint/repair - per LF                        10.00 LF            $73.18           $12.20             $73.18       $0.00     $0.00
        TOTAL DRYWALL                                                                 $414.54           $69.08            $414.54       $0.00     $0.00

       FEN        FENCING

         R&R Welded-wire mesh fence - fabric only - 4'             80.00 LF           $347.24           $57.88            $347.24       $0.00     $0.00
         high - 12 gauge
         R&R Post & rail fence - 3 rail - cedar or equal           80.00 LF         $2,176.96         $362.82        $2,176.96          $0.00     $0.00
        TOTAL FENCING                                                               $2,524.20         $420.70        $2,524.20          $0.00     $0.00

       FNC        FINISH CARPENTRY / TRIMWORK

         R&R Brick mold - paint grade softwood -                   31.42 LF           $105.32           $17.58            $105.32       $0.00     $0.00
         finger jointed
         R&R Crown molding - 5 1/4"                                16.50 LF           $121.89           $20.32            $121.89       $0.00     $0.00
         Finish carpentry labor minimum                              1.00 EA          $100.84           $16.80            $100.84       $0.00     $0.00
        TOTAL FINISH CARPENTRY / TRIMWORK                                             $328.05           $54.70            $328.05       $0.00     $0.00

       FRM        FRAMING & ROUGH CARPENTRY

         2" x 8" x 12' #2 & better Fir / Larch (material             6.00 EA          $152.18           $25.36            $152.18       $0.00     $0.00
         only)
         Carpenter - General Framer - per hour                     16.00 HR         $1,577.08         $262.84        $1,577.08          $0.00     $0.00
        TOTAL FRAMING & ROUGH CARPENTRY                                             $1,729.26         $288.20        $1,729.26          $0.00     $0.00

       INS        INSULATION

         R&R Blown-in insulation - 14" depth - R38                200.00 SF           $518.50           $86.42            $518.50       $0.00     $0.00
        TOTAL INSULATION                                                              $518.50           $86.42            $518.50       $0.00     $0.00

       PNT        PAINTING

         Paint crown molding, oversized - one coat                 16.50 LF            $19.13            $3.18              $7.66       $0.00    $11.47

     Note: Slight variances may be found within report sections due to rounding
     Date:   3/8/2021 6:15 PM                                                                                                                     Page: 14


Copy from re:SearchGA
15
                            Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 89 of 172

                                                                        Trade Summary
                                                 Includes all applicable Tax, General Contractor O&P, and Labor Minimums


       DESCRIPTION                                             LINE ITEM        REPL. COST           GCO&P                   ACV     NON-REC. MAX ADDL.
                                                                  QTY             TOTAL                                               DEPREC.   AMT
                                                                                                                                               AVAIL.
       PNT        PAINTING
         Paint door/window trim & jamb - Large - 2                    1.00 EA           $39.98            $6.66             $15.99       $0.00     $23.99
         coats (per side)
         Prime & paint exterior fascia - wood, 6"- 8"               35.17 LF            $81.10           $13.50             $55.51       $0.00     $25.59
         wide
         Painter - per hour                                         16.00 HR         $1,285.24         $214.20        $1,285.24          $0.00      $0.00
         Paint - molding - ornate or multi-member - one               2.00 LF             $2.76           $0.46              $1.10       $0.00      $1.66
         coat
         Paint - molding - ornate or multi-member - two             31.42 LF            $60.64           $10.10             $24.26       $0.00     $36.38
         coats
         Paint - one coat                                          547.74 SF           $398.71           $66.46            $159.48       $0.00    $239.23
         Prime & paint exterior soffit - wood                       62.83 SF           $151.72           $25.30             $60.68       $0.00     $91.04
         Paint exterior soffit - wood - 1 coat                        1.75 SF             $2.74           $0.46              $1.09       $0.00      $1.65
         Seal/prime then paint (2 coats)                            49.00 SF            $51.16           $8.52           $51.16          $0.00      $0.00
        TOTAL PAINTING                                                               $2,093.18         $348.84        $1,662.17          $0.00    $431.01

       RFG        ROOFING

         Laminated - comp. shingle rfg. - w/ felt                     8.00 SQ        $2,208.59         $368.10        $1,546.03          $0.00    $662.56
         Tear off, haul and dispose of comp. shingles -               6.24 SQ          $382.64           $63.78            $382.64       $0.00      $0.00
         Laminated
         Asphalt starter - universal starter course                 28.08 LF            $64.53           $10.76             $35.49       $0.00     $29.04
         Drip edge                                                  28.08 LF            $73.34           $12.22             $54.48       $0.00     $18.86
         Additional charge for high roof (2 stories or                8.00 SQ          $160.52           $26.76            $160.52       $0.00      $0.00
         greater)
         Remove Additional charge for high roof (2                    6.24 SQ           $34.15            $5.70             $34.15       $0.00      $0.00
         stories or greater)
         Ridge cap - composition shingles                           28.17 LF           $124.84           $20.82             $79.90       $0.00     $44.94
         R&R Sheathing - plywood - 1/2" CDX                         96.00 SF           $348.48           $58.08            $348.48       $0.00      $0.00
         R&R Sheathing - plywood - 3/8" CDX                        128.00 SF           $401.14           $66.86            $401.14       $0.00      $0.00
         Additional charge for steep roof - 10/12 - 12/12             8.00 SQ          $571.30           $95.22            $571.30       $0.00      $0.00
         slope
         Remove Additional charge for steep roof -                    6.24 SQ          $142.42           $23.74            $142.42       $0.00      $0.00
         10/12 - 12/12 slope
        TOTAL ROOFING                                                                $4,511.95         $752.04        $3,756.55          $0.00    $755.40

       SFG        SOFFIT, FASCIA, & GUTTER

         R&R Fascia - 1" x 8" - #1 pine                             35.17 LF           $292.40           $48.72            $194.94       $0.00     $97.46
         R&R Gutter guard - one piece seamless gutter               16.67 LF           $569.15           $94.86            $313.02       $0.00    $256.13
         system
         R&R Gutter guard - one piece seamless gutter               18.50 LF           $631.62         $105.26             $347.40       $0.00    $284.22
         system
         R&R Soffit - wood                                          62.83 SF           $404.17           $67.38            $372.18       $0.00     $31.99


     Note: Slight variances may be found within report sections due to rounding
     Date:   3/8/2021 6:15 PM                                                                                                                      Page: 15


Copy from re:SearchGA
16
                          Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 90 of 172

                                                                    Trade Summary
                                             Includes all applicable Tax, General Contractor O&P, and Labor Minimums


       DESCRIPTION                                         LINE ITEM        REPL. COST           GCO&P                   ACV     NON-REC. MAX ADDL.
                                                              QTY             TOTAL                                               DEPREC.   AMT
                                                                                                                                           AVAIL.
       SFG        SOFFIT, FASCIA, & GUTTER
         Soffit vent                                              4.00 EA          $179.14           $29.84            $179.14       $0.00      $0.00
         R&R Soffit - box framing - 2' overhang                 31.42 LF           $288.56          $48.10          $265.73          $0.00     $22.83
        TOTAL SOFFIT, FASCIA, & GUTTER                                           $2,365.04         $394.16        $1,672.41          $0.00    $692.63

       TMP        TEMPORARY REPAIRS

         emergency tarp                                           1.00 EA          $500.00            $0.00            $500.00       $0.00      $0.00
         Temporary toilet (per month)                             0.50 MO           $63.70           $10.62             $63.70       $0.00      $0.00
        TOTAL TEMPORARY REPAIRS                                                    $563.70           $10.62            $563.70       $0.00      $0.00

        TOTALS                                                                  $24,740.66       $2,473.48       $22,861.62          $0.00   $1,879.04




     Note: Slight variances may be found within report sections due to rounding
     Date:   3/8/2021 6:15 PM                                                                                                                   Page: 16


Copy from re:SearchGA
17

     Dwelling - Roof              Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 91 of 172




                                                                                                                                                                        20' 3"
                                                                                                30'                                                                     15' 7"
                                                            6' 6"                              23' 1"                           38' 7"
                                                               9' 9"                                                  16' 6"
                                                               7' 6"
                                                   1' 7"




                                                                                                                                                          3' 11"
                                                                                                                                                          5' 1"
                                                   1' 6"




                                              2' 7"
                                       R28 (17)                                                                                                                                                   3' 11"




                                                2'
                                                                                                                                                                       10' 8"
                                     R29 (18)4'



                                    4'




                                                              2'
                                               F26                             2
                                                                              1 1' 4
                                                                            21 8' 5" "                                 25                      F8 (D)




                                         16' 11"
                                                                                                                         '6




                                           13'
                                                                              '4                                            "




                                                                                                                                                                            "
                                                                                 "




                                                                                                                                                                        '1
                                                                                                                                                                       19
                                                               F19                                                                                                                                                           8'
                                                                                                                                                                                                                                                        6' 1




                                                                                                                                                                                                                      22'
                                                                                                                                                                                                                                                            "
                                                                  R15 (9)
                                            26'




                                                                                                                                                                                                                              7' 6"


                                                                                                                                                                                                                                                7' 710" "
                                                                                                                                                                                                                              9' 9"
                                                                                                                                                                                                                          R26
                                                                                                                                                                                                                           (7)




                                                                                                                                                                                                                                                9'10' 1

                                                                                                                                                                                                                                                7' 111""
                                                                                                                                                                                                                   F2 (B) F12




                                                                                                                                                                                                                                                 10"'
                                                                                                                                                                                                                                                              "




                                                                                                                                                                                                                                                                     7' 1"
                                                                                                                                                                                                                                                         0' 7 "




                                                                                      14 6' 6 "
                                                               F20 (B)                                                                                                                                                 R25 (6)


                                                                                       1 6' 6
                                                                                                                                Roof                                                                                                                  110'83' 6




                                                                                        '3 "
                                                                                                                                                                                                               R27
                                                                                                                                                                                                                 5' 7 (2)




                                                                                                                                                                                                                                        15'
                                                                                           "
                                            16' 11"




                                                                                          1
                                                                                                                                F6 (A)                                          F7                                                                    8' 1"   "
                                                                                                                                                                                                                                                   9 F11




                                                                                                                                                                                                                                  3' 11"
                                              13'


                                                                                                                                                                                                                     "    5' 2                   7' ' 7"




                                                                                                                                                                                                                            2' 6" 3'
                                                                                                                                                                                                                                  "                3"
                                                                                                                                                                                                                         F1 (A)




                                                                                                                                                                                                                              7' 6"
                                                                                                                                                                                                                                 9"
                                                                                                                                                                                                                                   10' 11"
                                                                                                                                                                                                        R23 (4)R24 (5)
                                                                    1' 6"




                                                                                                                                                                                                                                    7'
                                                                            4' 11"                                                                                                                                                                     9' 9"



                                                                                               1' 6"
                                                                                                                                                                                                                  5'                             F107' 6"




                                                                                                                                                                                                                         2' 9'
                                                                                                                                                                                                                                       1"
                                                                                                                                                                                                                 4' 6"




                                                                                                                                                                                                                                                                8"
                                             R30  (19)
                                                           4'
                                                          3"




                                                                                                                                                                                                                    3" 2' 7"
                                                                                                                                                         22' 9"
                                                      1' 7" 4' 5"
                                               R16
                                              F27         (12)




                                                                                                                                                                                                                                                            6'
                                                                                                                                                                                                               F9 5'
                                                            4'




                                                      1' 6" 3' 5"                                                                                                                                                4' 6"
                                                                    14
                                                  F233                 '7                                                                                                                                                                      3' 7"
                                                                                                       15' 10"
                                                                                    2' 6"
                                                                                       3"




                                                                                                                                                                                                                 " ' 1"
                                                                                                        12' 2"




                                                                                                                                                                                                                  9' 4"
                                               R212' 2"3(16)
                                                                    6"




                                                        '                 "
                                                                                                                                                                                                   F4 (B)
                                                                       3' 11" 3' 6" 3'
                                                                 3'




                                                          "




                                                                                                                                                                                                    18' 7" 312

                                                                                                                                                                                                                 5'
                                                  F24           F18




                                                                                                                                                                                                       '2 " 1
                                                   3' 11"




                                                                                                                                                                                                               '
                                                                                                                                                                                                            15
                                                       11"
                                               R19  3' 3'
                                                          (14)             25




                                                                                                                                                                                              "



                                                                                                                                                                                                     13 ' 3
                                                  F333'




                                                                                                                                                                                                         "
                                                                                                                                                                                          11
                                                                              '6                                                         10




                                                                                                                                                                                                      15
                                                                                 "                                                            '1                                                  R4 (3) F5 (C)




                                                                                                                                                                                      5'
                                                                        2' ' 3"




                                                                                                             24' 3"

                                                                                                                                                   1"
                                                                          2"
                                                                          3'




                                               R20    7" (15)  R10   (11)
                                                                          3




                                                   1'F32                                                                                 8'
                                                   1' 6"                                                                                      3"                                                   115
                                                                                                                                                                                                  13 5' '33"




                                                                                                                                                                                                               12' 1"
                                                                                                                                                                                                                9' 4"
                                                                              3' 6"




                                                                                                                                                                                                    '2 "
                                                                             2' 6"




                                                                                                                                                         8"
                                                                                6"




                                              R17 (13)
                                                                            8' 6"




                                                                                                                                                                                                       " F3 (A)
                                                                          5' 8"
                                                                             4"




                                                                                                                                                        2'
                                                            F22
                                                                             6'




                                                                                                         15' 10"




                                                                                                                                                             3' 1"
                                                                                                          12' 2"




                                                              F30
                                                             7' 4" 11' 3" 7'




                                                               F28 (A)
                                                          R11
                                                            1' 8" (10)
                                                              5' 8"



                                                                2'




                                                                                                                                              R8 (8)
                                                           3' 6"




                                                          R18
                                                           F31 (1)                                        F15 (A)
                                                      2' 2"
                                                        1"
                                                        2'




                                                                                                                                                                                                                                      15' 8"
                                                                                                                                                                                 28
                                                                                                                                                                                     '2
                                                                                                                                                    F17 (C)                               "
                                                                                      13' 2"




                                                                                                                                                                  8"




                                                                                                                                                        R7 (20)
                                                                                                                                                            6'




                                                                                                                                                                                  1' 9"




                                                                                                                                                                                                   11' 5"
                                                                                                                                                             F13 (A)
                                                                                                                                                        F14 (B)
                                                                                                                      14' 11"
                                                                                                                                                           5' 3"        5' 3"         22' 4"
                                                                                                                            22' 4"                         344'' 4"       4'          17' 2"
                                                                                                                            17' 2"




                                                                                                                                                                                                                                                                             Roof
       Date:   3/8/2021 6:15 PM                                                                                                                                                                                                                                              Page: 17
Copy from re:SearchGA
18

     Dwelling - Interior          Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 92 of 172




                                                                        12' 1"
                                                                    x
                                                                        11' 5"




                                                    6' 1"

                                                            6' 1"
                                            2' 4"




                                                                                                      12' 8"
                                                                                               12'
                                                                        Bedroom
                                                2' 4"
                                  3' 10"

                                            3' 5"3'
                                                    7"
                                           3'




                                                                        11' 3"
                                            10
                                                "




                                                                        11' 8"



                                                                                                               Interior
       Date:   3/8/2021 6:15 PM                                                                                  Page: 18
Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 93 of 172




                        EXHIBIT C




Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 94 of 172
                                                                                                                            Corporate Office
                                                                                                 404 Billings Farm Drive, Canton GA 30115
                                                                                                                  Telephone: (404) 323-6846
                                                                                                        Email: HunterAdjusting@Gmail.com
                                                                                                           Public Adjuster License #3252220
                                                                                                     GA Contractor License #GCCO00453

                                           Final Warning- Demand Letter
      Insurance Company                                                                                            01/04/2021
      State Farm Insurance
      One State Farm Plaza
      Bloomington, IL 61710

      Insured/ Policyholder
      Insured: Fishel-Brown, Benjamin & Stephanie (“Policy Holder”)
      Claim #: 11-12Z2-61F
      Property Address: 602 Bentley Falls Ct, Canton GA 30114
      Policy #: 11-EP-Y526-4
      Date of Loss: 10/29/2020

      Attn: Claims Manager

              Please review the “Notice of Representation” on the claim file, I am licensed by the State of Georgia,
      Department of Insurance Under GA Code § 33-23-43 (2014). The undersigned (the Insured) hereby retained
      Hunter Public Adjusting Corp to be there representative regarding the settlement of a claim or claims under the
      policy for damages to real and personal property, including any related loss of income and living expense losses.

             Attached is Insureds Reasonable Valuation in an Effort to Reach a Settlement. State Farm’s previous
      estimate dated 11/28/2020 and 12/30/2020 respectively; attempts to remove coverage afforded by the loss.
      State Farm Insurance to this point has not provided any factual explanations of any policy coverages, provisions,
      or exceptions; excluding the damages, consequential damages, or any proper explanation allowing for any
      reduction of coverage other than inhouse estimating guidelines that are not part of the policy language. We
      have provided our valuation using the same software used by State Farm, depreciation has been
      properly calculated, and the scope of work was completed by a licensed General Contractor and Public
      Adjuster.

              The estimates provided by State Farm representatives whom do not hold any advanced training
      or licenses in construction, and does not properly indemnify the insured for the scope and costs
      necessary to complete the work with a properly licensed and insured contractor to follow Georgia ICC
      Building Codes----Also Known as MINIMUM Acceptable Industry Standard of Performance, Federal OSHA
      Requirements, Proper Workers Comp Classification, and Construction Industry Best Business Practices. Instead
      it promotes breaking State and Federal Laws and hiring unlicensed contractors in an effort to lower costs. There
      Is A Legal Requirement Placed Upon ALL Contractors To Perform To A Minimum..... (Read That Again), To A
      MINIMUM Acceptable Industry Standard Of Performance.....

              Based upon the results of our site inspection, discussions, and investigation, it was determined the loss
      is covered by the policy, and the term and conditions of the policy shall dictate how the loss is covered in
      addition to Georgia’s Unfair Claims Settlement Practices requires the following;
      33-6-34. Unfair claims settlement practices
      (1) Knowingly misrepresenting to claimants and insureds relevant facts or policy provisions relating to
      coverages at issue;

      (2) Failing to acknowledge with reasonable promptness pertinent communications with respect to claims
      arising under its policies;


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                                                     (404) 323-6846 | Claims@GoHpac.com
                                                                     Page 1 of 5

Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 95 of 172
      (3) Failing to adopt and implement procedures for the prompt investigation and settlement of claims arising
      under its policies;

      (4) Not attempting in good faith to effectuate prompt, fair, and equitable settlement of claims submitted
      in which liability has become reasonably clear;

      (5) Compelling insureds or beneficiaries to institute suits to recover amounts due under its policies by offering
      substantially less than the amounts ultimately recovered in suits brought by them;

      (6) Refusing to pay claims without conducting a reasonable investigation;

      (7) When requested by the insured in writing, failing to affirm or deny coverage of claims within a reasonable
      time after having completed its investigation related to such claim or claims;

      (10) When requested by the insured in writing, failing in the case of claims denial or offers of
      compromise settlement to provide promptly a reasonable and accurate explanation of the basis for
      such actions. In the case of claims denials, such denials shall be in writing;


               Indemnity is defined as a contractual obligation of one party (indemnifier) to compensate the loss incurred
      to the other party (indemnity holder) due to the acts of the indemnitor or any other party. The insurance contract
      is built around this principle. The following reasonable demand is for indemnity. This is not a retail bid for
      construction and not a race to the bottom to see who can do it the cheapest. This is compliance with an insurance
      contract to make the insured whole and bring them to pre-loss condition. Our reasonable valuation is to make
      the insured whole and bring the insured to a pre-loss condition. To bring an insured to pre-loss condition, all the
      obligations of the insurance contract, building code, manufacturer's instructions, OSHA and other requirements
      must be met and are reflected in the reasonable payment demand. These are not upgrades and are not the cost
      of doing business. After reading the contract, I have not seen anywhere that specifically says any of my
      line items are not paid for and since all of the items are reasonable, they should be paid in accordance
      with the principle of indemnity.

               The estimator has met all requirements, experience and training for a Georgia Public Adjusting license,
      Georgia General Contractor’s license, a Florida Building Contractor's license, a Florida Mold Remediation
      license, and Certified by the IICRC as WRT, ASD, FRST, OCT, CCT, and by the ACAC (Indoor Air Quality
      Association) as MRS. This estimate was prepared accordingly. The estimator understands what overhead and
      profit is and how it applies to business, OSHA standards and the consequences of not adhering to their
      requirements, as well as general construction processes and time involved in the construction. The estimator
      understands that skilled labor and licensing is required for specific trades such as roofing, electrical and plumbing
      so the estimate will accurately reflect the appropriate labor codes. The estimator also understands that the
      increase in the cost of the line item is justified due to the necessity for skilled labor and the increased costs in
      worker's compensation rates for workers involved in these trades.


      The following is from the “National Association of Home Builders” and INFORMS
      Residential Construction Performance Guidelines
      Consumer Reference Fourth Edition
      NAHB Remodelers Single Family Small Volume Builders Committee

      READ FURTHER TO SEE WHAT "INDUSTRY STANDARDS" ACTUALLY MEAN, AND REQUIRE..........

      “It is this arena of “Industry Standards” where the terrain has become rocky and uncharted. Consider the various
      allegations that have historically been included in construction defect complaints seeking damages for alleged
      deviations from industry standards which are asserted as a measure of a contractor’s performance:

      1. Violation of the Regulatory Laws; the building codes and local building ordinances.

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                                                      (404) 323-6846 | Claims@GoHpac.com
                                                                      Page 2 of 5
Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 96 of 172
      2. Failure to Adhere to Local Customs and Practice; a collection of unwritten standards that all contractors in a
      given area are expected and required to comply with.

      3. Disregard of Trade Associations Preferred Practices; a collection of recommendations for higher levels of
      workmanship that are created by and for the members of private trade associations.

      4. Deviation from the Standard of Care; unwritten, but recognized obligations that apply to contractors during the
      process of construction.

      5. Manufacturers’ Written Specifications for Listed and Non-Listed Products; the precise requirements for the
      installation of listed and non-listed products specified by the manufacturer.

      To adequately evaluate the merits of the various allegations involving a contractor’s performance in a
      construction defect case, consider the legal effect of the alleged industry standards at issue:

      1. REGULATORY LAWS: This standard for compliance is based upon the building codes that have been
      adopted by the state and the ordinances that have been created by local communities. When any state adopts
      a body of codes to regulate building activities, methods and materials, it can only be superseded by local
      communities that create more restrictive provisions than the state adopted codes. In Georgia the body of law
      that comprises the building codes is known as Uniform Codes Act is codified at chapter 2 of title 8 of The Official
      Code of Georgia Annotated. O.C.G.A. Section 8-2-20(9)(B) of Regulations. Although acknowledged as the
      minimum requirements for construction performance, it is a collection of formidable requirements that must be
      complied with and are the only enforceable standards that contractors must adhere to. The operative word is
      “enforceable.”

      2. LOCAL CUSTOMS AND PRACTICE: Many experts and attorneys have attempted to make this concept stand
      up as a recognized “standard.” Customs and practices are similar to when an employer will allow its workers to
      come to work on Fridays in casual clothes. For that company, “Casual Fridays” has become a local custom and
      practice. If a worker did not want to dress down on Friday, there is no adverse consequence; it is unenforceable.
      The concept that in certain communities all of the contractors have universally established informal practices
      that then become enforceable within their locality is simply a fabrication of wishful thinkers. There are no practical
      examples of when this ever takes place. If local conditions require regional variations, special action or attention,
      the governing authority incorporates the requirement into a local ordinance…a law, and that becomes the
      enforceable standard. Local customs and practices are not standards.

      3. TRADE ASSOCIATIONS PREFERRED SPECIFICATIONS: There are numerous professional construction
      associations that solicit contractor membership in order to establish a more elite group of practitioners. Typically,
      the trade associations will establish higher standards of performance for their members as a “value added”
      reason to hire a member contractor over another. The concept is similar to General Motors’ “Mr. GoodWrench.”
      And even though a contractor might be a member of a “roofers’ association” or a “plumbers’ association” that
      has preferred practices for its members, there is still no legal requirement for any member (or non-member) to
      adhere to that association’s standards. Consequently, private association practices are not industry standards.

      4. STANDARD OF CARE: Standard of care claims have no application against contractors. Typically, these
      claims are based upon the legal doctrine of negligence and apply and refer to professionals performing design
      services for clients. Within the construction industry, a standard of care complaint is usually brought against the
      project engineer or architect. Violation of the standard of care is defined as negligent conduct required by law for
      the protection of persons or property from foreseeable risks of harm. Such claims might include failure to consider
      the bearing capacity of the soil for the intended structure or specifying a window system that did not meet the
      wind load conditions at the site. Architects and other design professionals are held to this standard by virtue of
      their education, knowledge, training and experience. The problem for all that assert this claim (or even defense)
      is that the “standard” is often a subjective issue upon which reasonable people can disagree. The application of
      this standard to design professionals can only come from expert testimony since, as a custom and practice, it is
      not committed to writing.

      a. In light of the above definition, contractors are not considered “professionals” in the sense of registered
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                                                                      Page 3 of 5
Copy from re:SearchGA
                     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 97 of 172
      architects and engineers and cannot be held to a standard of care for construction activities. In many cases,
      contractors lack the education and certification to perform any service other than the mechanical process of
      construction. (Some states do not even require that contractors be licensed. California has no education
      requirement for license applicants and no continuing education requirements for licensees.) For the most part,
      every direction or instruction that a contractor needs to execute the specifications for a given project is provided
      in writing. Prior to bidding a job, contractors are given drawings, specifications, project manuals, schedules of
      fixtures, appliances, windows and doors. They are even told what size nails to use and how they are to be
      spaced. Additionally, they are given a copy of the contract, general conditions of the contract, a sample of the
      invoice to be used and a list of insurance coverage to be provided. Contractors are even given instructions on
      the process of how to fill out the bidding forms. Nothing is left to the discretion of the contractor.

      b. During the course of the project other professionals including the architect, the building authority, public utility
      inspectors, lenders, manufacturers’ representatives, OSHA agents and others inspect and verify that the written
      instructions are faithfully adhered to. In this environment, construction contractors are little more than mechanics
      of the process adhering to the only standards that applies – the adopted building codes and manufacturers’
      specifications. It might be argued that a general contractor has the responsibility to manage the execution of the
      various trades contributing to the project. The only foreseeable consequence to the failure to properly manage
      the work is the nonconformance of the work with the plans, building codes or manufacturers’ specifications. That
      takes the claim back to the written laws and rules…

      5. MANUFACTURERS’ PRECISE SPECIFICATIONS: The manufacturers of appliances, equipment, fixtures
      and devices that are used in the construction of a building create specific installation instructions that guarantee
      compliance with the building codes or are requisites for a warranty. Prior to distribution of products,
      manufacturers must secure an International Code Commission Evaluation Service (ICC-ES) report and
      certification. ICC-ES is a nonprofit, public-benefit corporation that does technical evaluations of building products,
      components, methods, and materials. The evaluation process culminates with the issuance of technical reports
      that, because they directly address the issue of code compliance, are used by both regulatory agencies and
      building-product manufacturers. Additionally, numerous accrediting agencies, working under the authority of
      OSHA establish accepted standards that are incorporated into the body of the building codes by reference.
      These standards can be found in the appendices of the code volumes. Building authorities use evaluation reports
      to help determine code compliance and enforce building regulations; manufacturers use reports as evidence that
      their products meet code requirements and warrant regulatory approval. All of these entities look to the various
      agencies’ evaluation reports for evidence that products and systems are code-compliant. Consequently, the
      manufacturer’s specifications for use, installation and configuration are incorporated within the codes as
      enforceable industry standards.

      There are also products used in construction which do not require certification but nonetheless, have very precise
      specifications for the proper use and installation. Quite often, the manufacturer will withdraw their warranties if
      their instructions are not followed. Solid wood or wood product doors, for example, carry a manufacturer’s
      warranty for stability and assembly. That warranty is voided if the contractor does not paint all six sides of the
      door as indicated in the product literature that comes with the door. The application of elastomeric paint, for
      example, is not a code issue, but the manufacturer will withdraw its warranty for longevity if the contractor does
      not apply the product in strict conformance with the instructions on the container. Even though this product
      specification is not enforceable under the code, it is a standard that universally applies to every contractor who
      installs a particular product; listed or not. Most often, this type of claim falls under the breach of contract
      complaints for failing to perform the work in a “workmanlike manner.” Thus it is a contract issue, not a standard
      issue…...”


              Incurred cost is a basic accounting principle and is defined as a cost that a company becomes liable for.
      If there is agreement that the loss is covered by the contract, the insurer becomes liable for this loss as it is an
      incurred cost. The insured and an insurer have an insurance contract, not a construction contract. The insured
      incurred cost in the amount of our estimate when the loss occurred. We have met our obligations of the
      contract by fulfilling our “Section 1 Conditions, Your Duties After Loss”. Now, State Farm must meet their
      duties of indemnity as stated in “Section 1, Loss Settlement” …, “Section 1, Conditions” ... State Farm has
      not invoked their option to undertake the repairs themselves under “Section 1 Conditions, 7. Our Option” ...
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                                                       (404) 323-6846 | Claims@GoHpac.com
                                                                       Page 4 of 5
Copy from re:SearchGA
                    Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 98 of 172
      We have provided State Farm Insurance with necessary documentation to that a reasonable person would agree
      that damages have occurred that are covered under the policy. The insured has now completed their
      requirements under; "Your Duties After Loss", and demand the payment of the reasonable valuation as submitted
      by Hunter Public Adjusting Corp for the loss for $71,445.79, within 7 days to properly indemnify the insured per
      the policy and proper method of repair/ replacement as outlined in the reasonable valuation.


      If payment is not issued within 7 days additional action will be taken; so, there are no further
      misrepresentations, delays, and unfair claims handling.

      This final demand shall serve as 60 Days’ Notice Pursuant to OCGA § 33-4-6, as the insured plans to
      take legal action for bad faith if the claim is not paid.


      Public Insurance Adjuster                                                 Policy Holder(s)
      Hunter Public Adjusting Corp.

      By:                                      Date: ___________
      Matthew John Hunter, President                                            (Printed Name of Policyholder)

                                                                                By:                                Date: ___________
                                                                                (Policyholder’s Signature)




      Enclosures:   FISHEL-BROWN_SPOL_120420
                    FISHEL-BRN_HPAC_EST2_120220 (repriced Dec)




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                                                       (404) 323-6846 | Claims@GoHpac.com
                                                                       Page 5 of 5
Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 99 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 100 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 101 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 102 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 103 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 104 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 105 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 106 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 107 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 108 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 109 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 110 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 111 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 112 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 113 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 114 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 115 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 116 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 117 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 118 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 119 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 120 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 121 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 122 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 123 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 124 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 125 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 126 of 172




Copy from re:SearchGA
                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 127 of 172




Copy from re:SearchGA
 Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 128 of 172




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                                                                                                    CLERK OF SUPERIOR COURT
                                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                                                21-A-02388-3
                                                                                                          3/30/2021 10:19 AM
                              IN THE SUPERIOR COURT OF GWINNETT COUNTY
                                           STATE OF GEORGIA

             BENJAMIN FISHEL-BROWN and                           )
             STEPHANIE FISHEL-BROWN,                             )
                                                                 )
                    Plaintiffs,                                  )
                                                                 )      CIVIL ACTION FILE NO.:
             v.                                                  )      _______________________
                                                                 )
             STATE FARM FIRE AND CASUALTY                        )         21-A-02388-3
             COMPANY,                                            )
             a foreign corporation,                              )
                                                                 )
                    Defendant.                                   )

                                             CERTIFICATE OF SERVICE
                    This is to certify that I have served the foregoing upon the Defendant State Farm Fire and
             Casualty Company (“State Farm”) by serving them with the Summons, Complaint and Exhibits,
             as well as Plaintiffs’ First Set of Interrogatories and Request for Production of Documents in
             accordance with the Court’s rules to the Defendant State Farm at the address listed below:
                                            Corporation Service Company
                                      Registered Agent for Defendant State Farm
                                       40 Technology Parkway South, Suite 300
                                                 Norcross, GA 30092

                    Respectfully submitted, this the 30th day of March, 2 0 2 1.

                                                                 For: The Huggins Law Firm, LLC


                                                                 ____________________________________
                                                                 J. Remington Huggins, Esq.
                                                                 Georgia Bar No.: 348736
                                                                 Michael D. Turner, Esq.
                                                                 Georgia Bar No.: 216414
                                                                 Foster L. Peebles, Esq.
                                                                 Georgia Bar No.: 410852
                                                                 Attorneys for the Plaintiffs
                                                                 110 Norcross Street
                                                                 Roswell, GA 30075
                                                                 (o) (770) 913-6229
                                                                 (e) remington@lawhuggins.com




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                   Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 130 of 172




                                                      (e) mdturner@lawhuggins.com
                                                      (e) fpeebles@lawhuggins.com




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 Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 131 of 172




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                                                                                                                CLERK OF SUPERIOR COURT
                                                                                                               GWINNETT COUNTY, GEORGIA
                                 IN THE SUPERIOR COURT OF GWINNETT COUNTY                                                 21-A-02388-3
                                                      STATE OF GEORGIA                                              3/30/2021 10:19 AM


         Benjamin Fishel-Brown and
         Stephanie Fishel-Brown
         602 Bentley Falls Ct.                                                             21-A-02388-3
         Canton, GA 30114                                            CIVIL ACTION NUMBER: ________________

                                           PLAINTIFFS

                  VS

         State Farm Fire and Casualty Company
         RA: Corporation Service Company
         40 Technology Pkwy South, Suite 300
         Norcross, GA 30092

                                           DEFENDANT


                                                             SUMMONS


                 TO THE ABOVE NAMED DEFENDANT:

                 You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff(s)
         attorney, whose name and address is:

                                                   MICHAEL D. TURNER
                                              ATTORNEYS FOR THE PLAINTIFFS
                                               THE HUGGINS LAW FIRM, LLC
                                                    110 Norcross Street
                                                     Roswell, GA 30075
                                                       770-913-6229
                                                     mdturner@lawhuggins.com

         an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon
         you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the relief
         demanded in the complaint.

                       30TH
                 This ____________         MARCH
                                   day of _______________, 2 0 2 1.

                                                                             Tiana P. Garner,
                                                                             Clerk of Superior Court



                                                                             BY: ___________________________________
                                                                             Deputy Clerk




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 Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 133 of 172




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     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 135 of 172
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                                                                       GWINNETT COUNTY, GEORGIA
                                                                                 21-A-02388-3
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                                                                          TIANA P. GARNER, CLERK




           IN THE SUPERIOR COURT OF GWINNETT COUNTY
                        STATE OF GEORGIA

BENJAMIN FISHEL-BROWN                  )(
and STEPHANIE FISHEL-BROWN,            )(
                                       )(
              Plaintiffs,              )(
                                       )(   CIVIL ACTION FILE
      v.                               )(   NO. 21-A-02388-3
                                       )(
STATE FARM FIRE AND                    )(
CASUALTY COMPANY,                      )(
a foreign corporation,                 )(
                                       )(
              Defendant.               )(

      DEFENDANT STATE FARM FIRE AND CASUALTY COMPANY’S
              ANSWER AND AFFIRMATIVE DEFENSES

      COMES NOW State Farm Fire and Casualty Company (“State Farm”),

Defendant in the above-styled action and, by and through the undersigned counsel,

files this Answer and Affirmative Defenses to Plaintiffs Benjamin Fishel-Brown

and Stephanie Fishel-Brown’s (“Plaintiffs’”) Complaint, showing this Court as

follows:

                            FIRST AFFIRMATIVE DEFENSE

      State Farm has not breached any duty owed, or contract with Plaintiffs and,

therefore, Plaintiffs may not recover from State Farm in any sum or manner

whatsoever.
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 136 of 172




                     SECOND AFFIRMATIVE DEFENSE

      State Farm is not indebted to Plaintiffs for the sum sought or in any amount

whatsoever.

                      THIRD AFFIRMATIVE DEFENSE

      State Farm denies that the injuries and damages alleged in the Complaint

were proximately caused by any conduct on the part of State Farm.

                     FOURTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek to assert a breach of contract claim against

State Farm for the loss which is the subject of Plaintiffs’ Complaint, Plaintiffs’

action should be dismissed because State Farm did not breach its contract with

Plaintiffs and, at all times relevant to this action, acted in accordance with the

terms and conditions of the policy number 11-EP-Y526-4 (“Policy”) and all

applicable Georgia law.

                      FIFTH AFFIRMATIVE DEFENSE

      Plaintiffs waived their right to insist upon State Farm’s compliance with the

Policy due to their own failure to comply with the Policy terms and conditions.




                                   Page 2 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 137 of 172




                          SIXTH AFFIRMATIVE DEFENSE

     Plaintiffs’ action is barred and they may not recover because Plaintiffs failed

to comply with the Policy provisions before initiating this action. The Policy

provides at SECTION I – CONDITIONS:

            ...

            6. Suit Against Us. No action will be brought against us unless there
               has been full compliance with all of the policy provisions. Any action
               by any party must be started within one year after the date of loss
               or damage.
               However, if the action results from a loss caused by fire or lightning,
               the action must be started within two years after the date of loss or
               damage.
            ….

                       SEVENTH AFFIRMATIVE DEFENSE

      Plaintiffs are barred from bringing suit against State Farm based upon the

doctrines of waiver and estoppel.

                        EIGHTH AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred and they may not recover due to their violation

of the policy terms which state at SECTION I – CONDITIONS:

            2. Your Duties After Loss. After a loss to which this insurance may
               apply, you must cooperate with us in the investigation of the claim
               and also see that the following duties are performed:
                  a. give immediate notice to us or our agent and also notify:



                                          Page 3 of 27
Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 138 of 172




            (1) the police if the loss is caused by theft, vandalism, or any
                other criminal act; and
            (2) the credit card company or bank if the loss
                involves a credit card or bank fund transfer card;
         b. protect the property from further damage or loss and also:
            (1) make reasonable and necessary temporary repairs required
                to protect the property; and
            (2) keep an accurate record of repair expenses;
         c. prepare an inventory of damaged or stolen personal property:
            (1) showing in detail the quantity, description, age, replacement
                cost, and amount of loss; and
            (2) attaching all bills, receipts, and related documents that
                substantiate the figures in the inventory;
         d. as often as we reasonably require:
            (1) exhibit the damaged property;
            (2) provide us with any requested records and documents and
                allow us to make copies;
            (3) while not in the presence of any other insured:
                (a) give statements; and
                (b) submit to examinations under oath; and
            (4) produce employees, members of the insured’s household,
                or others for examination under oath to the extent it is
                within the insured’s power to do so; and
         e. submit to us, within 60 days after the loss, your signed, sworn
            proof of loss that sets forth, to the best of your knowledge and
            belief:
            (1) the time and cause of loss;

                                 Page 4 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 139 of 172




                   (2) interest of the insured and all others in the property
                       involved and all encumbrances on the property;
                   (3) other insurance that may cover the loss;
                   (4) changes in title or occupancy of the property during the
                       term of this policy;
                   (5) specifications of any damaged building and detailed
                       estimates for repair of the damage;
                   (6) an inventory of damaged or stolen personal property
                       described in 2.c.;
                   (7) receipts for additional living expenses incurred and records
                       supporting the fair rental value loss; ….
Plaintiffs violated conditions 2.b. and 2.d.(2) and therefore cannot recover in this

action.

                      NINTH AFFIRMATIVE DEFENSE

      Plaintiffs cannot recover the amounts claimed because the loss they alleged

was not the result of a direct and accidental physical loss to the property located at

602 Bentley Falls Ct, Canton, Georgia 30114 (“Property”).

                      TENTH AFFIRMATIVE DEFENSE

      Plaintiffs cannot recover the damages set forth in their Complaint because

the amount of said damages does not reflect the reasonable cost to replace and/or

repair the damaged and covered property with equivalent construction for

equivalent use and to return Plaintiffs to their pre-loss condition. The damages



                                       Page 5 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 140 of 172




sought in Plaintiffs’ Complaint were for repairs that were not in accordance with

the standard and custom of the industry.

                    ELEVENTH AFFIRMATIVE DEFENSE

      Plaintiffs are not entitled to recover to the extent that Plaintiffs’ alleged

damages were not proximately caused by an act or occurrence which is a covered

loss under the terms of the insurance contract.                      The Policy provides at

SECTION I – LOSSES NOT INSURED:

            1. We will not pay for any loss to the property described in Coverage A
               that consists of, or is directly and immediately caused by, one or
               more of the perils listed in items a. through m. below, regardless of
               whether the loss occurs abruptly or gradually, involves isolated or
               widespread damage, arises from natural or external forces, or
               occurs as a result of any combination of these:
                …
                g. wear, tear, decay, marring, scratching, deterioration, inherent
                   vice, latent defect, or mechanical breakdown;
                …
                However, we will pay for any resulting loss from items a. through l.
                unless the resulting loss is itself a Loss Not Insured as described in
                this Section.
            2. We will not pay for, under any part of this policy, any loss that would
               not have occurred in the absence of one or more of the following
               excluded events. We will not pay for such loss regardless of: (a) the
               cause of the excluded event; or (b) other causes of the loss; or (c)
               whether other causes acted concurrently or in any sequence with
               the excluded event to produce the loss; or (d) whether the event
               occurs abruptly or gradually, involves isolated or widespread
               damage, occurs on or off the residence premises, arises from any

                                         Page 6 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 141 of 172




                natural or external forces, or occurs as a result of any combination
                of these:
                …
                d. Neglect, meaning neglect of the insured to use all reasonable
                   means to save and preserve property at and after the time of a
                   loss, or when property is endangered.
            …
            3. We will not pay for, under any part of this policy, any loss consisting
               of one or more of the items below. Further, we will not pay for any
               loss described in paragraphs 1. and 2. immediately above regardless
               of whether one or more of the following: (a) directly or indirectly
               cause, contribute to, or aggravate the loss; or (b) occur before, at
               the same time, or after the loss or any other cause of the loss:
                …
                b. defect, weakness, inadequacy, fault or unsoundness in:
                    (1) planning, zoning, development, surveying, siting;
                    (2) design, specifications, workmanship, construction, grading,
                        compaction;
                    (3) materials used in construction or repair; or
                    (4) maintenance;
                    of any property (including land, structures, or improvements of
                    any kind) whether on or off the residence premises; ….


                     TWELFTH AFFIRMATIVE DEFENSE

      Plaintiffs may not recover from State Farm because the allegations in

Plaintiffs’ Complaint are not covered by the Policy terms. The Policy provides at

SECTION I AND II – CONDITIONS:

            …

                                         Page 7 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 142 of 172




             12. Right to Inspect.
                a. We have the right but are not obligated to perform the following:
                    (1) make inspections and surveys of the insured location at any
                        time;
                    (2) provide you with reports on conditions we find; or
                    (3) recommend changes.
                    Any inspections, surveys, reports, or recommendations relate
                    only to insurability and the premiums to be charged.
                    b. We do not:
                        (1) make safety inspections;
                        (2) undertake to perform the duty of any person or
                            organization to provide for the health or safety of
                            workers or the public;
                        (3) warrant that conditions are safe or healthful; or
                        (4) warrant that conditions comply with laws, regulations,
                            codes, or standards.
                        This condition applies to us and to any rating, advisory, rate
                        service, or similar organization that makes insurance
                        inspections, surveys, reports, or recommendations on our
                        behalf.
                   THIRTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs fail to state a claim in their Complaint against State Farm for the

alleged breach of any duty other than the duties created by the Policy that are the

subject of Plaintiffs’ Complaint.




                                         Page 8 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 143 of 172




                 FOURTEENTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiffs seek to assert a cause of action against

State Farm based upon the breach of any duty other than those duties set forth in

the Policy, Plaintiffs fail to state a claim upon which relief can be granted since

Georgia law does not impose duties on State Farm other than those set forth in the

Policy and Georgia law does not recognize any other cause of action aside from a

breach of contract action for the allegations contained in Plaintiffs’ Complaint.

Moreover, at all times relevant thereto, State Farm acted in good faith and in

accordance with the terms and conditions of the Policy.

                   FIFTEENTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek to recover under O.C.G.A. § 33-4-6, Plaintiffs

fails to state a claim under O.C.G.A. § 33-4-6 since State Farm acted reasonably

and with probable cause in response to the claim asserted by Plaintiffs.

                   SIXTEENTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs assert any extra-contractual claims other than those

permitted   by   O.C.G.A.     §   33-4-6,    Plaintiffs   cannot   recover   because

O.C.G.A. § 33-4-6 is the exclusive remedy for any alleged wrongful failure to pay

an insurance claim.      Further, State Farm specifically denies any liability to

Plaintiffs under O.C.G.A. § 33-4-6.


                                      Page 9 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 144 of 172




                 SEVENTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs fail to state a claim with respect to any extra-contractual damages,

including statutory and/or bad faith damages under O.C.G.A. § 13-6-11,

O.C.G.A. § 33-4-6, O.C.G.A. § 51-12-5.1, or any other statutory or other cause of

action.

                    EIGHTEENTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs’ Complaint seeks damages under O.C.G.A. § 33-4-6,

such damages are not available inasmuch as Plaintiffs failed to strictly comply with

the statute and applicable law. The Policy states:

                                   SECTION I – CONDITIONS
                …

                9. Loss Payment. We will adjust all losses with you. We will pay
                   you unless some other person is named in the policy or is legally
                   entitled to receive payment. Loss will be payable 60 days after
                   we receive your proof of loss and:
                    a. reach agreement with you;
                    b. there is an entry of a final judgment; or
                    c. there is a filing of an appraisal award with us.

Although the State Farm denies that Plaintiffs made a proper demand for payment

as required by law, Plaintiffs’ demand, if any, was made at a time when payment

was not due.


                                        Page 10 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 145 of 172




                  NINETEENTH AFFIRMATIVE DEFENSE

      Plaintiffs’ Complaint fails to state a claim against State Farm for violation of

the Unfair Settlement Practices (O.C.G.A. § 33-6-30) upon which relief can be

granted.

                   TWENTIETH AFFIRMATIVE DEFENSE

      To the extent that Plaintiffs seek to establish a cause of action against

State Farm based on the provisions of Georgia’s Unfair Claims Settlement

Practices Act contained in O.C.G.A. § 33-6-34, Plaintiffs fail to state a claim upon

which relief could be granted. By its express terms, the Unfair Claims Settlement

Practices Act does not create a private cause of action. O.C.G.A. § 33-6-37.

                 TWENTY-FIRST AFFIRMATIVE DEFENSE

      The facts and circumstances forming the basis of Plaintiffs’ Complaint were

brought about by and as a result of Plaintiffs’ own conduct and Plaintiffs,

therefore, are estopped and precluded from recovery herein.

               TWENTY-SECOND AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek damages against State Farm other than

contractual damages or damages under O.C.G.A. § 33-4-6, such damages are not

available to Plaintiffs inasmuch as State Farm owed Plaintiffs no duty independent

of the State Farm Policy, Plaintiffs failed to allege the breach of duty independent


                                   Page 11 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 146 of 172




of the Policy, and Plaintiffs failed to allege harm independent of the failure to pay

Plaintiffs’ insurance claim. Further, O.C.G.A. § 33-4-6 is the exclusive remedy

available to Plaintiffs for any alleged failure to pay an insurance claim and State

Farm specifically denies any liability to Plaintiffs under O.C.G.A. § 33-4-6.

                 TWENTY-THIRD AFFIRMATIVE DEFENSE

      Plaintiffs are not entitled to recover any replacement cost benefits for the

structural repairs to the Property because they did not comply with the provisions

of the Policy regarding how to recover these benefits. Specifically, the Policy

provides at SECTION I – LOSS SETTLEMENT:

             Only the Loss Settlement Provisions shown in the Declarations apply.
             We will settle covered property losses according to the following.
             However, the valuation of any covered property losses does not include,
             and we will not pay, any amount for diminution in value.
             COVERAGE A – DWELLING
             1. A1 – Replacement Cost Loss Settlement – Similar Construction.
                a. We will pay the cost to repair or replace with similar
                   construction and for the same use on the premises shown in the
                   Declarations,                                              the
                   damaged part of the property covered under SECTION I –
                   PROPERTY COVERAGES, COVERAGE A – DWELLING, except for
                   wood fences, subject to the following:
                    (1) until actual repair or replacement is completed, we will pay
                        only the actual cash value of the damaged part of the
                        property, up to the applicable limit of liability shown in the
                        Declarations, not to exceed the cost to repair or replace
                        the damaged part of the property;


                                        Page 12 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 147 of 172




                   (2) when the repair or replacement is actually completed, we
                       will pay the covered additional amount you actually and
                       necessarily spend to repair or replace the damaged part of
                       the property, or an amount up to the applicable limit of
                       liability           shown                in            the
                       Declarations, whichever is less;
                   (3) to receive any additional payments on a replacement cost
                       basis, you must complete the actual repair or replacement
                       of the damaged part of the property within two years after
                       the date of loss, and notify us within 30 days after the work
                       has                                                      been
                       completed; and
                   (4) we will not pay for increased costs resulting from
                       enforcement of any ordinance or law regulating the
                       construction,                 repair,              or
                       demolition of a building structure or other structure,
                       except as provided under OPTIONAL POLICY PROVISIONS,
                       Option OL – Building Ordinance or Law.
                b. Wood Fences: We will pay the actual cash value for loss or
                   damage to wood fences, not to exceed the limit of liability shown
                   in the Declarations for COVERAGE A – Other Structures.
Plaintiffs did not submit proof that any structural repairs to the Property were

completed or that the replacement expenses were incurred. Thus, Plaintiffs cannot

recover replacement cost benefits.

               TWENTY-FOURTH AFFIRMATIVE DEFENSE

      State Farm expressly reserves the right to assert any and all affirmative

defense(s) and matter(s) in avoidance as may be disclosed during the course of

additional investigation and discovery. Subject to and without waiving any of its



                                       Page 13 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 148 of 172




other respective rights, State Farm responds to the specific averments contained in

the individual and enumerated paragraphs of the Complaint as follows:

                                         1.

      Upon information and belief, State Farm admits the allegations contained in

paragraph 1 of Plaintiffs’ Complaint.

                                         2.

      In response to paragraph 2 of Plaintiffs’ Complaint, State Farm admits that it

transacts business and insures properties in the State of Georgia, subject to the

terms and conditions of its policies and all applicable law. In further response,

State Farm admits that it has appointed a registered agent for service of process in

Georgia and does not dispute subject matter jurisdiction of this Court. All other

allegations contained in paragraph 2 of Plaintiffs’ Complaint not admitted are

denied.

                         JURISDICTION AND VENUE

                                         3.

      In response to paragraph 3 of Plaintiffs’ Complaint, State Farm admits that

this Court has subject matter jurisdiction over this matter. In further response to

paragraph 3 of Plaintiffs’ Complaint, State Farm specifically denies that this case

involves a “. . . breach of contract and bad faith denial of [an] insurance


                                   Page 14 of 27
      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 149 of 172




claim . . . [.]”   All    other   allegations    contained   in     paragraph    3   of

Plaintiffs’ Complaint not admitted are denied.

                                         4.

       In response to paragraph 4 of Plaintiffs’ Complaint, State Farm admits that it

does not dispute venue in this Court.            All other allegations contained in

paragraph 4 of Plaintiffs’ Complaint not admitted are denied.

                                         5.

       In response to paragraph 5 of Plaintiffs’ Complaint, State Farm admits that it

does not dispute jurisdiction and venue in this Court.            All other allegations

contained in paragraph 5 of Plaintiffs’ Complaint not admitted are denied.

                                  THE POLICY

                                         6.

       In response to paragraph 6 of Plaintiffs’ Complaint, State Farm admits that it

issued policy number 11-EP-Y526-4 to Plaintiffs for the property (dwelling and

contents) located at 602 Bentley Falls Court in Canton, Georgia (the “Insured

Property” or the “home”). In further response to paragraph 6, State Farm admits

that the Policy insured against loss as defined by the terms and conditions of the

Policy and all applicable law. In further response to paragraph 6, State Farm

admits that Exhibit A is a complete copy of the subject Policy and that the terms


                                    Page 15 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 150 of 172




and conditions of the Policy speak for themselves and any interpretation or

characterization of the Policy terms and conditions to the contrary is expressly

denied. All other allegations contained in paragraph 6 of Plaintiffs’ Complaint not

admitted are denied.

                                        7.

      In response to paragraph 7 of Plaintiffs’ Complaint, State Farm admits that a

true and correct copy of the Policy is attached to Plaintiffs’ Complaint as

Exhibit A. State Farm states that the terms and conditions of the Policy speak for

themselves and that any interpretation or characterization of the Policy terms and

conditions to the contrary is expressly denied.        The remaining allegations

contained in paragraph 7 of Plaintiffs’ Complaint are legal conclusions or

argument to which no response is required. To the extent a response is required,

these allegations are denied.

                                        8.

      In response to paragraph 8 of Plaintiffs’ Complaint, State Farm admits that a

true and correct copy of the Policy is attached to Plaintiffs’ Complaint as

Exhibit A. State Farm states that the terms and conditions of the Policy speak for

themselves and that any interpretation or characterization of the Policy terms and

conditions to the contrary is expressly denied.        The remaining allegations


                                  Page 16 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 151 of 172




contained in paragraph 8 of Plaintiffs’ Complaint are legal conclusions or

argument to which no response is required. To the extent a response is required,

these allegations are denied.

             STORM DAMAGE TO THE INSURED PROPERTY

                                          9.

      In response to paragraph 9 of Plaintiffs’ Complaint, State Farm admits that,

on October 29, 2020, the Policy was in effect subject, however, to all terms and

conditions of the Policy and all applicable law. All other allegations contained in

paragraph 9 of Plaintiffs’ Complaint not herein admitted are denied.

                                         10.

      In response to paragraph 10 of Plaintiffs’ Complaint, State Farm admits that

it received timely notice of an alleged weather-related incident (“Loss”) that

Plaintiffs alleged caused damage to the Property for which Plaintiffs intended to

make a claim under the Policy. In further response to paragraph 10, State Farm

admits that it assigned an adjuster the evaluate Plaintiffs’ claim. The remaining

allegations contained in paragraph 10 of Plaintiffs’ Complaint contain legal

conclusions or argument to which no response is required.         To the extent a

response is required, these allegations are denied.




                                    Page 17 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 152 of 172




                                         11.

      State Farm denies the allegations contained in paragraph 11 as stated.

State Farm admits that it inspected Plaintiffs’ Property with Plaintiffs’ consent.

State Farm denies the remaining allegations contained in paragraph 11 of

Plaintiffs’ Complaint.

                                         12.

      State Farm denies the allegations contained in paragraph 12 as stated.

State Farm admits that, at various times, it examined Plaintiffs’ Property following

notice of the Loss.         State Farm denies all other allegations contained in

paragraph 12 of Plaintiffs’ Complaint.

                                         13.

      The allegations contained in paragraph 13 of Plaintiffs’ Complaint are legal

conclusions and/or argument to which no response is required. To the extent that a

response is required, State Farm denies the allegations contained in paragraph 13

of Plaintiffs’ Complaint.

                                         14.

      In response to paragraph 14 of Plaintiffs’ Complaint, State Farm admits that

a true and correct copy of its March 8, 2021 estimate of repair costs is attached to

Plaintiffs’ Complaint as Exhibit B. The content of Exhibit B speaks for itself. The


                                     Page 18 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 153 of 172




remaining allegations contained in paragraph 14 of Plaintiffs’ Complaint are legal

conclusions and/or argument to which no response is required. To the extent that a

response is required, State Farm denies all other allegations contained in paragraph

14 of Plaintiffs’ Complaint.

                                          15.

      The allegations contained in paragraph 15 of Plaintiffs’ Complaint are legal

conclusions and/or argument to which no response is required. To the extent that a

response is required, State Farm denies the allegations contained in paragraph 15

of Plaintiffs’ Complaint.

                                          16.

      In response to paragraph 16 of Plaintiffs’ Complaint, State Farm admits that

a true and correct copy of Plaintiffs’ January 4, 2021 letter is attached to Plaintiffs’

Complaint as Exhibit C. The content of Exhibit C speaks for itself. The remaining

allegations contained in paragraph 16 of Plaintiffs’ Complaint are legal

conclusions and/or argument to which no response is required. To the extent that a

response is required, State Farm denies all other allegations contained in paragraph

16 of Plaintiffs’ Complaint.




                                     Page 19 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 154 of 172




                                         17.

      In response to paragraph 17 of Plaintiffs’ Complaint, State Farm admits that

a true and correct copy of Plaintiffs’ January 4, 2021 letter is attached to

Plaintiffs’ Complaint as Exhibit C. The content of Exhibit C speaks for itself. The

remaining allegations contained in paragraph 17 of Plaintiffs’ Complaint are legal

conclusions and/or argument to which no response is required. To the extent that a

response is required, State Farm denies all other allegations contained in

paragraph 17 of Plaintiffs’ Complaint.

                                         18.

      State Farm denies the allegations contained in paragraph 18 of

Plaintiffs’ Complaint.

                                         19.

      State Farm denies the allegations contained in paragraph 19 of

Plaintiffs’ Complaint.

                                         20.

      State Farm denies the allegations contained in paragraph 20 of

Plaintiffs’ Complaint.




                                  Page 20 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 155 of 172




                                         21.

      State Farm denies the allegations contained in paragraph 21 of

Plaintiffs’ Complaint.

                     COUNT I: BREACH OF CONTRACT

                                         22.

      State Farm hereby incorporates by reference its answers to Paragraphs 1

through 21 as if each were fully set forth herein.

                                         23.

      State Farm denies the allegations contained in paragraph 23 of

Plaintiffs’ Complaint.

                                         24.

      State Farm denies the allegations contained in paragraph 24 of

Plaintiffs’ Complaint.

                                         25.

      State Farm denies the allegations contained in paragraph 25 of

Plaintiffs’ Complaint.

                                         26.

      State Farm denies the allegations contained in paragraph 26 of

Plaintiffs’ Complaint.


                                    Page 21 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 156 of 172




                                       27.

      State Farm denies the allegations contained in paragraph 27 of

Plaintiffs’ Complaint.

                                       28.

      State Farm denies the allegations contained in paragraph 28 of

Plaintiffs’ Complaint.

                                       29.

      State Farm denies the allegations contained in paragraph 29 of

Plaintiffs’ Complaint.

                                       30.

      State Farm denies the allegations contained in paragraph 30 of

Plaintiffs’ Complaint.

                                       31.

      Paragraph 31 of Plaintiffs’ Complaint contains legal conclusions or

argument to which no response is required. To the extent a response is required,

State Farm denies paragraph 31 of Plaintiffs’ Complaint.




                                  Page 22 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 157 of 172




                             COUNT II: BAD FAITH

                                         32.

      State Farm hereby incorporates by reference its answers to Paragraphs 1

through 31 as if each were fully set forth herein.

                                         33.

      State Farm denies the allegations contained in paragraph 33 of

Plaintiffs’ Complaint.

                                         34.

      State Farm denies the allegations contained in paragraph 34 of

Plaintiffs’ Complaint, including all subparts.

                                         35.

      State Farm denies the allegations contained in paragraph 35 of

Plaintiffs’ Complaint.

                                         36.

      State Farm denies the allegations contained in paragraph 36 of

Plaintiffs’ Complaint.

                                         37.

      State Farm denies the allegations contained in paragraph 37 of

Plaintiffs’ Complaint.


                                    Page 23 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 158 of 172




                                         38.

      State Farm denies the allegations contained in paragraph 38 of

Plaintiffs’ Complaint.

                                         39.

      State Farm denies the allegations contained in paragraph 39 of

Plaintiffs’ Complaint.

                                         40.

      State Farm denies the allegations contained in paragraph 40 of

Plaintiffs’ Complaint.

                                         41.

      State Farm denies the allegations contained in paragraph 41 of

Plaintiffs’ Complaint.

                                         42.

      State Farm denies the allegations contained in paragraph 42 of

Plaintiffs’ Complaint.

                         COUNT III: ATTORNEY’S FEES

                                         43.

      State Farm hereby incorporates by reference its answers to Paragraphs 1

through 42 as if each were fully set forth herein.


                                    Page 24 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 159 of 172




                                         44.

      State Farm denies the allegations contained in paragraph 44 of

Plaintiffs’ Complaint.

                                         45.

      State Farm denies the allegations contained in paragraph 45 of

Plaintiffs’ Complaint.

                         DEMAND FOR JURY TRIAL

                                         46.

      The allegations contained in paragraph 46 of Plaintiffs’ Complaint do not

require a response from State Farm. To the extent any response is due, State Farm

denies the allegations contained in paragraph 46 of Plaintiffs’ Complaint.

                            PRAYER FOR RELIEF

                                         47.

      State Farm denies the allegations contained in paragraph 47 of Plaintiffs’

Complaint, including all subparts.

                              GENERAL DENIAL

                                         48.

      State Farm denies each and every remaining allegation of the Complaint not

specifically and expressly admitted herein.


                                     Page 25 of 27
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 160 of 172




      WHEREFORE, having fully answered the Complaint, State Farm prays that

the Complaint be dismissed with prejudice, that each and every prayer for relief in

the Complaint be denied, that judgment be entered in favor of State Farm with

costs cast upon Plaintiffs, and that State Farm be awarded such other and further

relief as this Court may deem just and proper.

      Respectfully submitted this 28th day of April, 2021.

                                      SWIFT, CURRIE, McGHEE & HIERS

                                      /s/ Kristen M. Vigilant
                                      Thomas D. Martin
                                      Georgia State Bar No. 475535
                                      Kristen M. Vigilant
                                      Georgia State Bar No. 191460
                                      Attorneys for Defendant State Farm
                                      Fire and Casualty Company
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kristen.vigilant@swiftcurrie.com




                                   Page 26 of 27
      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 161 of 172




                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have electronically filed the foregoing

Defendant State Farm Fire and Casualty Company’s Answer and Affirmative

Defenses with the Clerk of Court using the Odyssey E-FileGA system which will

automatically send e-mail notification of such filing to counsel of record:

                               J. Remington Huggins, Esq.
                                 Michael D. Turner, Esq.
                                  Foster L. Peebles, Esq.
                                 Huggins Law Firm LLC
                                   110 Norcross Street
                                 Roswell, Georgia 30075
                              remington@lawhuggins.com
                               mdturner@lawhuggins.com
                                fpeebles@lawhuggins.com
                                  Attorneys for Plaintiffs

       This 28th day of April, 2021.

                                           SWIFT, CURRIE, McGHEE & HIERS

                                           /s/ Kristen M. Vigilant
                                           Thomas D. Martin
                                           Georgia State Bar No. 475535
                                           Kristen M. Vigilant
                                           Georgia State Bar No. 191460
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                                       Page 27 of 27
 Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 162 of 172




This page inserted to separate pleadings
                                                                                  E-FILED IN OFFICE - MB
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 163 of 172
                                                                    CLERK OF SUPERIOR COURT
                                                                           GWINNETT COUNTY, GEORGIA
                                                                                      21-A-02388-3
                                                                                 4/29/2021 8:30 AM
                                                                                TIANA P. GARNER, CLERK




           IN THE SUPERIOR COURT OF GWINNETT COUNTY
                        STATE OF GEORGIA

BENJAMIN FISHEL-BROWN                    )(
and STEPHANIE FISHEL-BROWN,              )(
                                         )(
             Plaintiffs,                 )(
                                         )(   CIVIL ACTION FILE
      v.                                 )(   NO. 21-A-02388-3
                                         )(
STATE FARM FIRE AND                      )(
CASUALTY COMPANY,                        )(
a foreign corporation,                   )(
                                         )(
             Defendant.                  )(

                           NOTICE OF FILING REMOVAL

TO: J. Remington Huggins, Esq.
    Michael D. Turner, Esq.
    Foster L. Peebles, Esq.
    Huggins Law Firm LLC
    110 Norcross Street
    Roswell, Georgia 30075

      Please take notice that State Farm Fire and Casualty Company, Defendant in

the above-styled action, has on this date filed its Notice of Removal, a copy of

which is attached hereto as Exhibit 1, in the Office of the Clerk of the United

States District Court for the Northern District of Georgia, Atlanta Division.
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 164 of 172




      This 29th day of April, 2021.

                                        Respectfully submitted,

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Kristen M. Vigilant
                                        Thomas D. Martin
                                        Georgia State Bar No. 475535
                                        Kristen M. Vigilant
                                        Georgia State Bar No. 191460
                                        Attorneys for Defendant State Farm
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                                      Page 2 of 3
        Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 165 of 172




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have electronically filed the foregoing Notice

of Filing Removal with the Clerk of Court using the Odyssey E-FileGA system

which will automatically send e-mail notification of such filing to counsel of

record:

                                   J. Remington Huggins, Esq.
                                     Michael D. Turner, Esq.
                                      Foster L. Peebles, Esq.
                                     Huggins Law Firm LLC
                                       110 Norcross Street
                                     Roswell, Georgia 30075
                                  remington@lawhuggins.com
                                   mdturner@lawhuggins.com
                                    fpeebles@lawhuggins.com
                       Attorneys for Plaintiffs Benjamin Fishel-Brown and
                                     Stephanie Fishel-Brown

         This 29th day of April, 2021.

                                            SWIFT, CURRIE, McGHEE & HIERS

                                            /s/ Kristen M. Vigilant
                                            Thomas D. Martin
                                            Georgia State Bar No. 475535
                                            Kristen M. Vigilant
                                            Georgia State Bar No. 191460
                                            Attorneys for Defendant State Farm
                                            Fire and Casualty Company
1355 Peachtree St., N.E., Suite 300
Atlanta, Georgia 30309
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4833-0608-5094, v. 1



                                          Page 3 of 3
Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 166 of 172




                   EXHIBIT

                               1
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 167 of 172




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

BENJAMIN FISHEL-BROWN                )(
and STEPHANIE FISHEL-BROWN,          )(
                                     )(
           Plaintiffs,               )(    CIVIL ACTION FILE
                                     )(    NO. _________________
     v.                              )(    [On removal from Superior Court
                                     )(    Court of Gwinnett County, Civil
STATE FARM FIRE AND                  )(    Action File No. 21-A-02388-3]
CASUALTY COMPANY,                    )(
a foreign corporation,               )(
                                     )(
           Defendant.                )(

                          NOTICE OF REMOVAL

      COMES NOW State Farm Fire and Casualty Company (“State Farm”),

Defendant in the above-styled action, and hereby files this Notice of Removal

pursuant to 28 U.S.C. §§ 1441 and 1446, respectfully showing this Court as

follows:

                                      1.

     On March 30, 2021, Benjamin and Stephanie Fishel-Brown (“Plaintiffs”)

filed a Complaint against State Farm in the Superior Court of Gwinnett County,

Georgia, styled as Benjamin Fishel-Brown and Stephanie Fishel-Brown v. State

Farm Fire and Casualty Company, and assigned CAFN 21-A-02388-3 (the
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 168 of 172




“Superior Court Action”). True and correct copies of all filings to date in the

Superior Court action are collectively attached hereto as Exhibit “1”.

                                          2.

      The Complaint and Summons in this action were served upon State Farm on

March 31, 2021.        This Notice of Removal is filed within thirty days of

March 31, 2021, the date on which State Farm first received the Complaint and

notice of the subject lawsuit. This Notice of Removal is also filed within one year

of the commencement of the action.             Thus, removal is timely under

28 U.S.C. § 1446(b).

                                          3.

      The United States District Court for the Northern District of Georgia,

Atlanta Division, embraces Gwinnett County, Georgia. Thus, removal to this

Court is proper under 28 U.S.C. § 1441(a).

                                          4.

      Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, State Farm will give written notice to Plaintiff by notifying her attorney

of record, Remington Huggins, Esq. of Huggins Law Firm, LLC, and will file a

copy of this Notice of Removal with the Clerk of Superior Court of Gwinnett

County, which shall effect the removal.


                                    Page 2 of 6
      Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 169 of 172




                            DIVERSITY JURISDICTION

                                           5.

       This Court possesses diversity jurisdiction over this matter pursuant to

28 U.S.C. § 1332.

                                           6.

       Upon information and belief, Plaintiffs were residents of Georgia on the date

that the Complaint was filed. Thus, Plaintiffs are citizens of the State of Georgia.

                                           7.

       State Farm is a corporation organized under the laws of the State of Illinois,

with its principal place of business in the State of Illinois. Thus, State Farm is a

citizen of the State of Illinois.

                                           8.

       Because Plaintiffs and State Farm are citizens of different States, complete

diversity exists between Plaintiffs and State Farm in accordance with

28 U.S.C. § 1332(a)(1).

                                           9.

       In Plaintiffs’ Complaint, Plaintiffs seek recovery of insurance proceeds

allegedly owed under a policy of insurance for damage to real property located at

602 Bentley Falls Court in Canton, Georgia. See generally Dkt. 1-1, Complaint.


                                     Page 3 of 6
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 170 of 172




Plaintiffs assert a claim against State Farm for breach of contract, bad faith, and

attorneys’ fees. According to the Plaintiff, the damages to the subject property

were $71,445.79. Dkt. 1-1, Complaint, ¶ 16. Accordingly, and including penalty

(50%) under O.C.G.A. § 33-4-6, the amount in controversy exceeds $75,000.00,

exclusive of interest and costs, as required by 28 U.S.C. § 1332(a).

                                           10.

      Venue is proper in this Court for purposes of removal under

28 U.S.C. § 1441(a), but not necessarily for purposes of 28 U.S.C. § 1391 or any

other applicable venue provision. By filing this Notice of Removal, State Farm

does not waive any of its jurisdictional objections or affirmative defenses.

      Respectfully submitted this 29th day of April, 2021.

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Kristen M. Vigilant
                                        Thomas D. Martin
                                        Georgia State Bar No. 475535
                                        Kristen M. Vigilant
                                        Georgia State Bar No. 191460
                                        Attorneys for Defendant State Farm
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                                      Page 4 of 6
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 171 of 172




                     LOCAL RULE 5.1C CERTIFICATION

        By signature below, counsel certifies that the foregoing pleading was

prepared in Times New Roman, 14-point font in compliance with Local Rule

5.1C.

        Respectfully submitted this 29th day of April, 2021.

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Kristen M. Vigilant
                                        Thomas D. Martin
                                        Georgia State Bar No. 475535
                                        Kristen M. Vigilant
                                        Georgia State Bar No. 191460
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                                      Page 5 of 6
     Case 1:21-cv-01768-MLB Document 1-1 Filed 04/29/21 Page 172 of 172




                         CERTIFICATE OF SERVICE

       We hereby certify that we electronically filed the foregoing Notice of

Removal with the Clerk of Court via the CM/ECF system, through which the

Court will send notification to the following attorneys:

                           J. Remington Huggins, Esq.
                             Michael D. Turner, Esq.
                              Foster L. Peebles, Esq.
                             Huggins Law Firm LLC
                               110 Norcross Street
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                          remington@lawhuggins.com
                           mdturner@lawhuggins.com
                            fpeebles@lawhuggins.com
               Attorneys for Plaintiffs Benjamin Fishel-Brown and
                             Stephanie Fishel-Brown

      This 29th day of April, 2021.

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Kristen M. Vigilant
                                        Thomas D. Martin
                                        Georgia State Bar No. 475535
                                        Kristen M. Vigilant
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4812-0572-2086, v. 1

                                      Page 6 of 6
